      Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 1 of 181 PageID #:40



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION



 CHRISTOPER MANHART,


          Plaintiff,                                     No. 24-cv-8209

 v.

 AJP EDUCATION FOUNDATION, d/b/a/
 AMERICAN MUSLIMS FOR PALESTINE,
 WESPAC FOUNDATION, INC.,
 STUDENTS FOR JUSTICE IN PALESTINE,
 DISSENTERS,
 EDUCATION FOR A JUST PEACE IN
 THE MIDDLE EAST, d/b/a US
 CAMPAIGN FOR PALESTINIAN RIGHTS,
 JEWISH VOICE FOR PEACE,
 TIDES CENTER, d/b/a COMMUNITY
 JUSTICE EXCHANGE,
 JINAN CHEHADE,
 SUPERIOR MURPHY,
 RIFQA FALANEH, and
 SIMONE TUCKER,


          Defendants.


                                    Declaration of Neville Hedley

         I, Neville S. Hedley, declare as follows:

         1.      I have personal knowledge of the facts set forth herein and that the Exhibits to this

Declaration are true and accurate copies of internet sites and social media accounts that I personally

accessed and viewed, and, if called as a witness, could and would testify competently thereto.

         2.      My full legal name is Neville Spencer Hedley. I reside in North Carolina and my

business address is Hamilton Lincoln Law Institute, 1629 K Street, NW, Suite 300, Washington, DC,

20006. My email address is ned.hedley@hlli.org. I am also licensed to practice in Illinois and I am a
member of the Northern District of Illinois Trial Bar. My colleague M. Frank Bednarz works at the




                                                     1
   Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 2 of 181 PageID #:41




Chicago office of the Hamilton Lincoln Law Institute, which has a business address of 1440 W.

Taylor St. # 1487, Chicago, IL 60607.

                            IRS EXEMPT ORGANIZATIONS FILE

         3.    On or about June 26, 2024, I searched the Internal Revenue Service website,

www.IRS.gov, which contains an Exempt Organization Business Master File Extract (EO BMF);

www.IRS.gov/charities-non-profits/exempt-organizations-business-master-file-extract-eo-bmf. The

file “provides information about an organization from the Internal Revenue Service’s Business Master

File.” This list functions as a Tax-Exempt Organization Search tool.

         4.    The tax-exempt organization list is broken out by state and by region. The regions are:
Region 1 Northeast area; Region 2, mid-Atlantic and Great Lakes area; Region 3, Gulf Coast and

Pacific Coast areas; and Region 4, including International areas and Puerto Rico.

         5.    States and Regions are determined by the filing address and represent the location of

an organization’s headquarters. The records are also sorted by the Employee Identification Number

(EIN).

         6.    The version of the Tax-Exempt Organization Search tool I reviewed noted that it had

been updated on February 13, 2024.

         7.    Each State or Region exempt organization list can be downloaded into an Excel

spreadsheet from the tool on the IRS website.

         8.    The Internal Revenue Service permits organizations that are exempt under Internal

Revenue Code (I.R.C.) Section 501(c)(3) to sponsor other organizations, entities, or programs that are

not formal legal, nonprofit entities. It is a contractual relationship between the sponsoring tax-exempt

organization and the entity or program being sponsored, thereby allowing the latter to obtain tax

deductible donations without having to formally become a tax-exempt organization. The sponsoring

entity maintains control over the donated funds, but such funds are restricted and dedicated to

furthering the sponsored entity’s purpose and goals. See Gene Takagi, Fiscal Sponsorship: A Balanced

Overview, Nonprofit Quarterly (Jan. 28, 2020). (Exhibit 1)




                                                   2
   Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 3 of 181 PageID #:42




       9.      WESPAC Foundation maintains a website, www.wespac.org. WESPAC Foundation

describes itself as “a leading force for progressive social change in Westchester County, New York

since 1974” and that it has “been educating, agitating and organizing for a more just and peaceful

world, an end to militarism and racism and a more fair economy that works for all.” (Exhibit 2)

       10.     The bottom of the webpage lists the address of the WESPAC Foundation as 77

Tarrytown Rd., White Plains, NY 10607. (Exhibit 2 at 8)

       11.     WESPAC Foundation, Inc., is a tax-exempt organization under I.R.C. § 501(c)(3).

During the relevant time, WESPAC Foundation acted as the fiscal sponsor and served as the formal

legal entity for tax-exempt donations for affiliates such as National Students for Justice in Palestine

(NSJP or SJP) and similar organizations such as the Palestinian Youth Movement (PYM) and the US

Palestinian Community Network (USPCN).

       12.     WESPAC acted as the fiscal sponsor for NSJP during the relevant time, and has

promoted     NSJP     events    on   through     its   own    social   media    accounts.    See,   e.g.

www.instagram.com/p/CzKAX7ZRzsv/. (Exhibit 3) WESPAC’s Executive Director, Nada Khader,
admitted in a press interview that WESPAC served as the fiscal sponsor for NSJP.

www.algemeiner.com/2016/11/03/mysterious-westchester-foundation-collects-cash-for-this-

weekends-national-campus-bds-convention/ (Exhibit 4)

       13.     NSJP is an unincorporated association with no formal principal place of business or

publicly disclosed leadership structure. On information and belief, NSJP is directed by a national

steering committee. An article in The New Yorker magazine from 2023 profiled the organization and

identified two individuals, Carrie Zaremba and Sean Eren, as members of the steering committee. See

Emma Green, How A Student Group Is Politicizing A Generation On Palestine, THE NEW YORKER (Dec.

15, 2023). A post on NJSP’s X account dated September 2, 2024 also referenced Zaremba as a steering

committee member.. (Exhibit 5) A graduate student in California, Dylan Kupsh, identified himself as

an NJSP steering committee member in union campaign materials, www.rnfdu.org/dylan. (Exhibit 6)

       14.     A search for WESPAC Foundation on the exempt organization list for New York

State shows that WESPAC Foundation, Inc., is an exempt organization under Internal Revenue Code


                                                  3
   Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 4 of 181 PageID #:43




(I.R.C.) Section 501(c)(3), and the address on file with the IRS is 77 Tarrytown Road, Suite 2W, White

Plains, NY 10607.

       15.     Jewish Voice for Peace (JVP) maintains a website, www.jewishvoiceforpeace.org. The

website includes a web page for donations and includes an EIN XX-XXXXXXX and an address of P.O.

Box 589, Berkeley, California, 94701. (Exhibit 7)

       16.     A search for JVP on the exempt organization list for California shows that Jewish

Voice for Peace, Inc., is an exempt organization under I.R.C. Section 501(c)(3), and the address on

file with the IRS is 2418 High Street, Apartment 5, Oakland, California, 94601-4886, and an EIN of

XX-XXXXXXX, the same EIN as listed on the JVP website.

       17.     Dissenters maintains a website, www.wearedissenters.org. A search for Dissenters on
the IRS exempt organization list for Region 2, which includes Illinois, shows that Dissenters is an

exempt organization under I.R.C. Section 501(c)(3), and the address on file with the IRS is 637 South

Dearborn Avenue, Chicago, Illinois, 60505, and an EIN of XX-XXXXXXX.

       18.     Tides Center maintains a website, www.tides.org. The Tides Center sponsors and

financially supports several projects, including the Community Justice Exchange. The Community

Justice Exchange (CJE) has a website, www.communityjusticeexchange.org, which has a web page for

donations. That web page states that CJE is a nonprofit 501(c)(3) project of the Tides Center and lists

an EIN of XX-XXXXXXX. It also states that donations by check to support CJE may be mailed to Tides

Center, P.O. Box 889385, Los Angeles, California 90088-9385. (Exhibit 8)

       19.     The Tides Center website includes a web page related to non-profit disclosures, which

contains links to IRS Form 990s for the Tides Center, and states that the primary mailing address is

1012 Torney Avenue, San Francisco, California, 94129. The Form 990 for 2022 for the Tides Center

reflects the same address and EIN XX-XXXXXXX, which is the same as listed on the CJE website.

(Exhibit 9)

       20.     A search for Tides Center on the IRS exempt organization list for California reflects

that Tides Center is an exempt organization under I.R.C. Section 501(c)(3), and shows the same EIN

and address as referenced in ¶ 19.


                                                    4
   Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 5 of 181 PageID #:44




       21.     US Campaign for Palestinian Rights (USCPR) maintains a website, www.uscpr.org,

which includes links to IRS Form 990s for the organization. The Form 990s show that the name of

the organization is Education for Just Peace in the Middle East, and that it does business as US

Campaign for Palestinian Rights. It lists the address as P.O. Box 3609, Washington, DC 20027, and

its EIN as XX-XXXXXXX. (Exhibit 10)

       22.     USCPR’s website includes a page to make donations, including a link to make

donations by mail. The address provided is the same as above and includes the EIN XX-XXXXXXX.

(Exhibit 11)

       23.     A search of the IRS’s exempt organization list for Region 2, which includes

Washington, DC, lists Education for Just Peace in the Middle East as an exempt organization under

I.R.C. § 501(c)(3) with an address of 1628 16th Street, NW, Washington, DC, 20009-3064 and reflects

the same EIN as in ¶¶ 21 and 22.

       24.     Americans for Justice in Palestine (AMP) has a website, www.ampalestine.org. The
webpage has a link to a donation page which notes that donations are directed to AJP Educational

Foundation (AJP) which is the fiscal sponsor for AMP. (Exhibit 12)

       25.     AJP is a 501(c)(3) non-profit corporation incorporated in California with its principal

place of business in Falls Church, Virigina. According to the donation web page for AMP/AJP, AJP’s

EIN is XX-XXXXXXX. A search of the IRS’s tax exempt organization database for Region 2 has a listing

for AJP with the above referenced EIN and an address of 6404 Seven Corners Place, Suite N, Falls

Church, VA 22044-2034, which is the address listed at the bottom of the AMP donation webpage.

               A15ACTION WEBSITE, TIDES CENTER/CJE AND SOCIAL MEDIA

       26.     Based on internet searches and media reports, I learned that there was an informal

organization calling itself A15 Action. A15 Action maintains a website, www.a15action.com, which

states that the objective of the organization was a “Coordinated Economic Blockade to Free

Palestine.” (Exhibit 13)

       27.     An internet search indicates that the A15 Action website was registered on March 22,

2024 at squarespace.com. (Exhibit 14)


                                                 5
   Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 6 of 181 PageID #:45




        28.     The A15 Action website includes a proposal which states that the purpose of the

organization was “to coordinate a multi-city economic blockade on April 15th in solidarity with

Palestine.” The stated purpose was to block “the arteries of capitalism and jam[] the wheels of

production.” The proposal further stated that participating individuals and organizations would

“identify and blockade major choke points in the economy, focusing on points of production and

circulation with the aim of causing the most economic impact.” (Exhibits 13)

        29.     The proposal on the A15 Action website continued by stating that the goal of the

planned action for April 15, 2024 was to “cause pain to the economy” and “to disrupt and blockade

economic logistical hubs and the flow of capital.” (Exhibit 13)

        30.     The A15 Action website also included a reference to “Anti-Repression Resources”

one of which was a “U.S. Bail & Legal Defense Fund.” (Exhibit 13) The website included a link to

donate in advance to a bail fund in the event that activists were charged with criminal conduct. The

donation tab on the website linked (and still links) to an ActBlue donation page,

secure.actblue.com/donate/a15solidarity. However, the page currently states that “This fundraiser is
not currently accepting any donations,” but notes that the fundraiser is Community Justice Exchange

and has a link to a website, www.communityjusticeexchange.org/nbfn-directory/. (Exhibit 15) An

archived version of the page taken on April 17, 2024 indicates that donations went “to the Community

Justice Exchange, a project of Tides Center.” archive.ph/czvZV (Exhibit 16)

        31.     Act Blue LLC, also known as ActBlue Civics, Inc., is a tax-exempt entity under I.R.C.

§ 501(c)(4) and is a registered Political Action Committee.

        32.     The ActBlue website referenced in ¶ 30 allowed individuals to donate to support the

A15 Bail & Legal Defense Fund and specified that the donation would be for the benefit of the

Community Justice Exchange. The web page noted that ActBlue Charities is a tax-exempt entity under

I.R.C. § 501(c)(3). (Exhibit 16)

        33.     The A15 Action website listed regional and local contacts, stating that “[d]ue to the

sensitive nature of this action, some folks organizing for April 15th prefer to remain anonymous, or

embedded solely within their existing communities.” The website goes on to list email addresses


                                                  6
   Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 7 of 181 PageID #:46




and/or Instagram links for connecting with the organizers of the actions in the different cities. The

contact for the Chicago action is listed as A15Chicago@proton.me. (Exhibit 17)

       34.     A15 Action also maintains an account on the social media platform X,

www.x.com/a15action, with a username of @A15action. The A15 Action website has an X (formerly

Twitter) icon that links to this account. (Exhibit 13) On April 13, 2024, that X account published a

post with text stating “[d]onate here to support community members who are criminalized in the U.S.

for their solidarity with Palestine,” and included a link to the donation page for CJE referenced in

¶ 30. The post included a picture with text stating “Coordinated Economic Blockade to Free Palestine

United States Bail & Legal Defense Fund.” x.com/a15action/status/1779188080768852054
(Exhibit 18)

       35.     On May 13, 2024, the same @a15action X account reposted an item from the X

account of Cocktails & Capitalism. The post included text stating “Recognizing the global economy’s

complicity in genocide, folks in 82 cities & 19 countries blockaded economic choke points on April

15th.” The post included a video with narration and included video clips of activists blockading

Interstate 190 (I-190) as it enters O’Hare International Airport and narrator noted that three

international airports were blockaded that day. (Exhibit 19)

       36.     A15 Action maintains an Instagram account, www.instagram.com/a15actions/ with a

username @a15action. The A15 Action website has an Instagram icon that links to this Instagram

account. (Exhibit 13) The Instagram account contains several posts, many in collaboration with other

Instagram accounts, dated April 15, 2024 highlighting the blockade of traffic on I-190 at the entrance

of O’Hare International Airport. The posts include videos and pictures of activists blockading traffic

with traffic in the background at a standstill. (Exhibit 20) Subsequently, on July 19, the Instagram

account for A15 Action posted in collaboration with @wearedissenters, @chicagodissenters, and

@sjpchicago, among others, posted “A Letter to Mayor Brandon Johnson From the O’Hare 40”

urging the city to drop charges against those arrested for blocking traffic to the airport.

www.instagram.com/p/C9nk-HsvcPQ/ (Exhibit 21) And on July 29, the Instagram account for A15

Action posted another collaboration with @chicagodissenters and @sjpchicago, a graphic that reads


                                                  7
   Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 8 of 181 PageID #:47




“The Ohare 40 Need Your Support at Court,” which asked readers to “Join us and send a message to

the City” regarding a routine status call for the 40 people arrested on April 15 for their blockade.

www.instagram.com/p/C-Bf59bvPRM/ (Exhibit 22)

       37.       The @a15action Instagram account also has posts dated April 10 and 15, 2024

promoting the bail fund referenced in ¶ 30 with links to the CJE donation web page. The post on

April 15, 2024 has text stating “Support A15 Arrestees In The United States.” (Exhibit 23) Also on

April 15, 2024, A15 Action used its Instagram account to publish a joint post with

@directactions4palestine and @uscpr a post that showed a picture of activists blocking traffic on I190

and asking supporters to call the Chicago Police Department and demand the release of the 40 activists

were arrested for participating in the blockade of O’Hare airport. The post included the hashtag

“#A15Action.” www.instagram.com/p/C5y5mdDSxsI/ (Exhibit 24)
                                SJP, AMP AND WESPAC FOUNDATION

       38.       National Students for Justice in Palestine (“NSJP” of “SJP”) is a student organization

that according to its website, nationalsjp.org/about, states that its purpose is “to empower, unify, and

support student organizers as they push forward the demands for Palestinian Liberation & self-

determination on their campuses.” (Exhibit 25)

       39.       In 2010, at a conference for the pro-Palestinian Boycott, Divestment and Sanctions

movement, AMP established National SJP as an umbrella organization for the various SJP chapter

spread across the country. See archived page for Students for Justice in Palestine National Convention

2010         web.archive.org/web/20111221040517/http://ussf.palestineconference.org/sjp-national-

conference/      (Exhibit 26) AMP has continued to direct the actions of SJP student groups.

www.ampalestine.org/about-amp/faqs (Exhibit 27) This includes using Instagram, in collaboration

with defendants USCPR and NJSP, to promote a general strike on April 15, 2024 as part of the A15

Action campaign. www.instagram.com/p/C5ZvInUAL8O/ (Exhibit 28) The U.S. Congress

Committee on Oversight and Accountability also has asserted that SJP was founded and is controlled

by AMP (oversight.house.gov/wp-content/uploads/2024/05/Letter-to-National-SJP-5.29.24.pdf).




                                                   8
   Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 9 of 181 PageID #:48




        40.     The NSJP website, at the time of the April 15, 2024 action, had a link to a web page

to make donations. That webpage noted that all donations are tax deductible and allowed individuals

who donate by credit card to elect to cover the transaction fee so more of donation went directly to

WESPAC Foundation, Inc., which acted as SJP’s financial sponsor. See archive of donation page from

July 1, 2024. web.archive.org/web/20240701005742/https://nationalsjp.org/donate. (Exhibit 29)

SJP removed the donation link on its website sometime after June 2024 following Congressional

investigations related to SJP and AMP.

        41.     SJP maintains an account on Instagram, www.instagram.com/nationalsjp/, with a
username of @nationalsjp, and the SJP website has icon that links to this Instagram account. SJP also

has an account on the social media platform X, www.x.com/NationalSJP, with a username

@NationalSJP.

        42.     SJP has multiple chapters at college campuses across the United States. It has one or

more Chicago affiliates active on campuses at Northwestern University, the University of Chicago,

DePaul University and the School of the Art Institute. (Exhibit 30)1

        43.     The         Chicago   affiliate   of   SJP     has     an     Instagram     account,

www.instagram.com/sjpchicago/, and a username of @chicagosjp, which states that it is “[a] unified

front of Chicagoland SJPs, supporting and uplifting on another in the struggle for Palestinian

liberation.” (Exhibit 31)

        44.     On April 15, 2024 the Instagram account for the Chicago affiliate of SJP published a

joint post with the Instagram accounts @palestineactivismcollective, @a15actions, and @uscpr, that

showed pictures and a video of activists blockading traffic on I-190 at the entrance of O’Hare

International Airport and included text stating the activists were “uniting and blocking access to

O’Hare.” One of the pictures in the post showed a traffic map indicating that traffic was backed up



        1
         National SJP recently changed its homepage to remove the map of “Popular University for
Gaza Solidarity Encampments.” This image was taken from a prior version of the page, e.g.
archive.ph/BYJiA.


                                                   9
   Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 10 of 181 PageID #:49




as far as Interstate 90 and Interstate 294 and the feeder ramps from those highways into I-190 into

O’Hare. (Exhibit 20)

        45.     Also on April 15, 2024, the same Instagram account, along with the Instagram

accounts @chicagodissenters, @wearedissenters, @a15actions, and @directactions4palestine,

published a post with two slides. The first slide showed a picture of activists sitting on I-190, linked

together blocking traffic with a caption reading “BREAKING: CHICAGOANS JOIN GLOBAL

ECONOMIC BLOCKADE TO FREE PALESTINE. MONDAY APRIL 15 TAX DAY

CHICAGO, O’HARE INTERNATIONAL AIRPORT.” The second slide included a video showing

approximately 16 activists linked together using PVC piping blocking traffic and surrounded by

activists chanting slogans. The video showed that traffic was blocked behind the activists. The text

accompanying the video stated “HAPPENING NOW Chicagoans are BLOCKING the

ENTRANCE to O’Hare International Airport, baring flyers from accessing Terminals 1-3. On this

Tax Day, when millions are paying taxes which fund the ongoing US and Israeli bombardment of

Gaza, protestors seek to take dramatic action, alongside other @a15actions organizers worldwide.”

(Exhibit 32)

        46.     The same SJP Instagram account, along with the same four accounts referenced in

¶ 41 posted on April 15, 2024, a video of activists blockading traffic on I-190 and travelers being

forced to walk from their stopped vehicles towards to terminals. The text accompanying the post

stated “HAPPENING NOW Travelers are walking to their gates as drivers are prevented from

entering the drop-off site for all domestic terminals at O’Hare, stopping travelers from reaching their

flights.” (Exhibit 33)

        47.     On April 16, 2024, the Instagram account of SJP’s Chicago affiliate, along with the

Instagram accounts @chicagodissenters, @wearedissenters, @boeingarmsgenocide, @a15actions,

and @directactions4palestine, published a post with six separate slides. The first slide contained a

video of activists blockading traffic on I-190 at the entrance of O’Hare and included a caption stating

“On Tax Day, Chicagoans took part in a worldwide economic blockade to free Palestine, known as




                                                  10
   Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 11 of 181 PageID #:50




A15, blocking I-190 highway entrance to O’Hare International Airport for 1 hour and 20 minutes

resulting in 40 arrests.” (Exhibit 34)

        48.     The remaining slides on the April 16, 2024 post described that O’Hare was selected as

a target of the A15 Action because (1) O’Hare is a major international airport; and (2) Boeing

Corporation was headquartered in Chicago and O’Hare serves as a hub for two major U.S. airlines,

United Airline and American Airlines, both of which are major customers of Boeing. The post

continued by noting that Boeing was a target because it is a weapons manufacturer and supplies

armaments to the Israeli Defense Forces that are used by the Israeli military in actins in Gaza and

Lebanon. (Exhibit 34)

        49.     A story by the Associated Press about the illegal blockade at O’Hare identified Rifqa

Falaneh as one of the organizers of the blockade, who stated that the action was part of a global

“economic blockade to free Palestine.” apnews.com/article/protests-chicago-ohare-palestinian-war-
traffic-30da0602309a1645a5c59e10bce83b9c. (Exhibit 35)

        50.     Falaneh is the Michael Ratner Justice Fellow at the public interest at the public interest

law firm Palestine Legal, which is sponsored by Tides Center. According to her biography on the

Palestine Legal website, palestinelegal.org/staff, Falaneh had been president of SJP’s affiliate at

DePaul University in Chicago and helped establish the Chicago affiliate of SJP in 2019. (Exhibit 36)

        51.     Jinan Chehade is an activist who helped organize the April 15, 2024 blockade at

O’Hare and was one of 40 activists arrested. Chehade posted a picture of her being arrested on April

15, 2024 to her Instagram account. (Exhibit 37) Chehade is an attorney with the Muslim Legal Fund

of American, mlfa.org/teams/jinan-chehade/, and a graduate of Georgetown University Law School

where she was the co-founder of the SJP chapter. (Exhibit 38)

                          JVP AND RELATED SOCIAL MEDIA ACCOUNTS

        52.     Jewish Voice for Peace (JVP) maintains a website, www.jewishvoiceforpeace.org,

where it describes itself as “the largest progressive Jewish anti-Zionist organization in the world.”

(Exhibit 39)




                                                   11
  Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 12 of 181 PageID #:51




        53.       JVP maintains an account on X, www.x.com/jvplive, with a username of @jvplive,

and an account on Instagram, www.instagram.com/jewishvoiceforpeace/, with a username of

@jewishvoiceforpeace. The JVP website has icons that link directly to these social media accounts.

        54.       The JVP website includes a map showing local chapters. One of the chapters listed is

Chicago, www.jewishvoiceforpeace.org/join-us/#local. (Exhibit 40)

        55.       JVP’s Chicago chapter maintains a website, www.jvpchicago.org, and also has an

account, and an account on Instagram, www.instagram.com/jvpchicago/, with a username of

@jvpchicago, and the website has an icon that links directly to this account. JVP Chicago also has an

account on X, www.x.com/JVPchicago, with a username @JVPChicago. (Exhibit 41)
        56.       On April 15, 2024, JVP’s Chicago chapter used its Instagram account to publish a post

that contained two videos and 4 slides with pictures. One video shows approximately 16 activists

linked together with PVC piping blocking inbound traffic to O’Hare on I-190 along with several other

activists assisting those linked together while chanting slogans. The other video shows dozens of

travelers on foot with luggage by-passing the activists to make their way to the terminals. The slides

are pictures of activists blocking traffic and a headline and text from a Chicago Tribune news story

which identifies Rifqa Falaneh as one of the blockade organizers. The text accompanying the

Instagram post states “As part of the #A15ForPalestine international day of action, protestors shut

down traffic into three O’Hare international airport terminals for two hours this morning! No business

as usual during a genocide!” The text accompanying the post references the Instagram accounts

@chicagodissenters, @sjpchicago, @a15actions, and @directactions4palestine. (Exhibit 42)

        57.       A media report regarding the O’Hare blockade from WLS, the ABC affiliate in

Chicago, quoted an activist, Defendant Simone Tucker, stating “Enough is enough. The U.S.

government has given us no choice but to disrupt business as usual.” (Exhibit 43)

        58.       The LinkedIn profile for Simone Pass Tucker indicates that she is a Student Organizer

for JVP in Chicago, Illinois. www.linkedin.com/in/simone-pass-tucker/ (Exhibit 44)

        59.       JVP’s website includes a page dedicated to an action organized by JVP to shut down

Grand         Central    Station    in     New      York     City     on     October      27,    2023;


                                                   12
   Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 13 of 181 PageID #:52




www.jewishvoiceforpeace.org/2023/10/30/wire-grand-centralaction/. The page highlights that the

group “shut down Grand Central Station” during a Friday rush hour, completing shutting down the

station. The page also notes that over 350 people were arrested.

         60.     JVP’s website also includes a page highlighting that JVP organized actions in eight

different      cities     where      activists     shut   down      eight     bridges      to     traffic;

www.jewishvoiceforpeace.org/2023/12/18/wire-8-bridges/. The blockades coincided with the

eighth night of Hanukkah and noted that thousands of activists blocked traffic in Philadelphia,

Washington, D.C., Atlanta, Chicago, Minneapolis, Seattle, Portland, Los Angeles, and San Diego.

                           DISSENTERS AND SOCIAL MEDIA ACCOUNTS
         61.     Dissenters maintains a website, www.wearedissenters.org, and describes itself as

“leading a new generation of young people to reclaim our resources from the war industry, reinvest in

life-giving services, and repair collaborative relationships with the earth and people around the world.”

(Exhibit 45)

         62.     Dissenters maintains an account on X, www.x.com/wearedissenters, with a username

of @wearedissenters, and also has an Instagram account, www.instagram.com/wearedissenters/, with

a username @wearedissenters. The wearedissetners.org website has icons that link directly to these

respective social media accounts. (Exhibit 45)

         63.     Dissenters is headquartered in Chicago and has a chapter in Chicago which maintains

an Instagram account, www.instagram.com/chicagodissenters/, with a username @chicagodissenters.

         64.     On April 15, 2024, Dissenters posted on its X account, @wearedissenters, several

posts related specifically to the O’Hare blockade. One of the posts has been pinned at the lead post

on its X account. The posts included pictures and videos of the blockade of traffic on I-190 at the

entrance of O’Hare and the post that was pinned included text stating “BREAKING: Organizers are

blockading the road entering O’Hare Airport in Chicago!! !! NO business as usual while the US green

lights   the   genocide    of     Palestinians.”   x.com/wearedissenters/status/1779857163806023936

(Exhibit 46)




                                                     13
   Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 14 of 181 PageID #:53




       65.     A post on April 16, 2024 from the same X account provided an update on activists

arrested during the O’Hare blockade stating “UPDATE: All 40 protesters arrested have been

released.” (Exhibit 47)

       66.     On April 15, 2024, the Instagram account for @chicagodissenters published several

posts related to the O’Hare blockade, one of which is pinned as lead items on its Instagram page.

Several of the posts were done in collaboration with the Instagram accounts @wearedissenters,

@sjpchicago, @a15actions, and @directactions4palestine, and @boeingarmsgenocide, an Instagram

account affiliated with @wearedissenters.

       67.     The pinned post from April 15, 2024, shows the activists blocking traffic while

travelers are walking around the blockade to get to the terminals. The text accompanying the post

states “HAPPENING NOW Travelers are walking to their gates as drivers are prevented from

entering the drop-off site for all domestic terminals 1-3 at O’Hare, stopping travelers from reaching

their flights. ON THIS TAX DAY, THERE WILL BE NO BUSINESS AS USUAL WHILE

GAZANS ARE DYING.” (Exhibit 33)

       68.     One of the April 15, 2024 posts has two slides, the first of which includes a picture of

activists sitting on I-190 linked together with PVC piping blockading traffic at the entrance of O’Hare.

The picture has a caption that reads “BREAKING: CHICAGOANS JOIN GLOBAL ECONOMIC

BLOCKADE TO FREE PALESTINE MONDAY, APRIL 15 | TAX DAY CHICAGO, O’HARE

INTERNATIONAL AIRPORT.” The post includes text that states “HAPPENING NOW

Chicagoans are BLOCKING the ENTRANCE to O’Hare International Airport, barring flyers from

accessing Terminals 1-3. On this Tax Day, when millions are paying taxes which fund the ongoing US

and Israeli bombardment of Gaza, protestors seek to take dramatic action, alongside other

@a15actions organizers worldwide.” The second slide includes a video showing approximately 16

activists linked together by PVC piping blocking I-190 along with other activists assisting them and

chanting slogans. A long line of stopped traffic can be seen in the background. (Exhibit 20).

       69.     Another post from @chicagodissenters on April 15, 2024, includes a video with

Defendant Superior Murphy on camera narrating that activists are blockading traffic at O’Hare airport


                                                  14
   Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 15 of 181 PageID #:54




with video capturing activists blocking traffic and touting that the blockade was part of a global

movement. (Exhibit 20)

        70.     On April 16, 2024, the @chicagodissenters Instagram account published a post in

collaboration with @directactions4palestine, @sjpchicago, and @a15actions highlighting that all 40

activists arrested during the O’Hare blockade had been released. (Exhibit 48)

        71.     Also on April 16, 2024, the @chicagodissenters Instagram account in collaboration

with     @sjpchicago,       @wearedissenters,        @boeingarmsgenocide,         @a15actions,        and

@directactions4palestine published a post with six slides. This post is also pinned at the top of

@chicagodissenters Instagram account. The first slide includes a video showing the activists linked

together with PVC piping sitting on I-190 blocking traffic with fellow activists surrounding them and

chanting slogans with stopped traffic in the background. The caption accompanying the post stated

“On Tax Day, Chicagoans took part in a worldwide economic blockade to free Palestine, known as

A15, blocking the I-190 highway entrance to O’Hare International Airport for 1 hour and 20 minutes

resulting in 40 arrests. Drivers were blocked from entering the drop-off site for all domestic terminals

1-3 at O’Hare, preventing travelers from reaching their flights. Banners dropped at sites across the

city, coincided with the action.” (Exhibit 34) The other five slides in the April 16, 2024, post explained

that O’Hare was targeted because it is one of the busiest airports in the nation, and because it serves

as a hub for United and American Airlines, both of which are major clients of Boeing. The post

explained that Boeing was targeted because it manufactures weapons systems and armaments that are

used by Israel in Gaza and Lebanon. (Exhibit 34)

        72.     Dissenters has continued to collaborate with A15 Action after the April 15 blockade.

For example, on July 7, the Instagram account for A15 Action posted in collaboration with

@wearedissenters and @chicagodissenters, among others, a video of activists who had chained

themselves to a fence in order to delay the NASCAR race that occurred in Chicago that day.

www.instagram.com/p/C9Iw0OcPFSj/ (Exhibit 49) Arrest records suggest that Dissenters’ listed

principal officer, Timothy Rose, was arrested on this date at 1100 S. Lake Short Drive, which appears

consistent with site depicted in the video posted by A15 Action.


                                                   15
   Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 16 of 181 PageID #:55




                              USCPR AND SOCIAL MEDIA ACCOUNTS

        73.     USCPR’s website states that it is the “political home for all who believe that freedom

for the Palestinian people is an integral part of achieving our collective liberation.” (Exhibit 50)

        74.     USCPR maintains an Instagram account, www.instagram.com/uscpr with a username

of @uscpr. It also maintains an X account, www.x.com/uscpr, with a username @uscpr_. The USCPR

website has icons that link directly to these two social media accounts. (Exhibit 50)

        75.     On April 11, 2024, the @uscpr Instagram account posted a flyer promoting a

#Strike4Gaza with text stating “On this upcoming Tax Day, Monday, April 15 join the #Strike4Gaza.

www.instagram.com/p/C5ok53eszqM/ On April 15, 2025, the same Instagram account posted a
similar flyer promoting the #Strike4Gaza and noting that “protesting & disrupting” was one of the

ways to participate. www.instagram.com/p/C5yKHwPM9Mz/?hl=en&img_index=5 (Exhibit 51)

        76.     On April 15, 2024, USCPR’s Instagram account, @uscpr, in collaboration with the

Instagram accounts @sjpchicago, @a15actions, and @palestineactivsimcollective, posted five pictures

and a video that showed activists blockading traffic and a traffic map showing traffic on highways

leading into O’Hare backed up. The text accompanying the post stated “Chicagoans and neighbors

are uniting and blocking access to O’Hare! When our tax dollars are being used to fund the genocide

of Palestinians we take actions—especially on Tax Day! No justice, no peace!” (Exhibit 20)

        77.     Later, on April 15, 2024, USCPR used its Instagram account @uscpr to publish a joint

post with @directactions4palestine and @a15actions a post that showed a picture of activists blocking

traffic on I-190 and asking supporters to call the Chicago Police Department and demand the release

of the 40 activists were arrested for participating in the blockade of O’Hare airport. The post included

the hashtag “#A15Action.” (Exhibit 24)

        78.     Also on April 15, 2024, USCPR used its Instagram account @uscpr to publish a post

advocating for individuals to “SUPPORT A15 ARRESTEES IN THE UNITED STATES” and

directed them to “Donate at bit.ly/a15fund.” The post noted that the funds would be “used for bail,

legal defense, and support for defendants.” The post directed individuals to the CJE fund sponsored

by the Tides Center. (Exhibit 52)


                                                   16
  Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 17 of 181 PageID #:56




       I declare under penalty of perjury under the laws of the United States that the forgoing is true

       and correct.



Executed on September 9, 2024, in Charlotte, North Carolina.



                                              Neville Hedley




                                                 17
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 18 of 181 PageID #:57




                          EXHIBIT 1




                                     18
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 19 of 181 PageID #:58




  NP.
 Fiscal Sponsorship: A Balanced Overview
          ~gi
         January 28, 2020




 This article was first posted online on January 19, 2016.

 Fiscal sponsorship is an option that may be available to a person, group, or business to attract charitable funding
 without starting a nonprofit. It may allow an individual artist to fund the creation of a mural, a group to hold a
 crowdfunding campaign for pediatric cancer research, or a manufacturer to create and distribute products to regions
 devastated by a recent natural disaster.

 When done right, fiscal sponsorship is a valuable alternative to starting a nonprofit that produces private and public
 efficiencies through shared administration and fewer nonprofits requiring fiduciary and regulatory oversight.


 But when done wrong, fiscal sponsorship may result in an individual or for-profit company inappropriately deriving a
 private benefit from charitable contributions. This may occur when the fiscal sponsor acts as a mere conduit for
 contributions to flow to the individual or company without exercising the required control and oversight.


 A Definition
 The term fiscal sponsorship broadly refers to a number of contractual relationships that allow a person, group, or
 business to advance charitable or other exempt activities with the benefit of the tax-exempt status of a sponsor
 organization. These relationships are cogently described in Greg Colvin's seminal book, Fiscal Sponsorship: Six Ways to
 Do It Right. The most widely used models of fiscal sponsorship for charitable projects are:

  •   Comprehensive (referred to by Colvin as "Model A"), in which the assets, liabilities, and exempt activities
      collectively referred to as the project are housed within the fiscal sponsor; and




                                                             19
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 20 of 181 PageID #:59


  •   Pre-approved grant relationship (referred to by Colvin as "Model C"), in which the project is run by a separate
      entity funded by the fiscal sponsor.


 How Fiscal Sponsorship Works
 Donations to fiscally sponsored projects are directed to a tax-exempt fiscal sponsor. Most commonly, the fiscal sponsor
 is a public charity exempt under Section 501 (c)(3) of the Internal Revenue Code and a qualified recipient of charitable
 contributions that are deductible to the donor. The donations intended to support a particular project are treated as
 restricted funds dedicated to furthering that project's charitable purpose.

The fiscal sponsor must then decide how to use those funds. It may not cede its ultimate control and decision-making
 authority over the funds to the project leaders. But the fiscal sponsor may delegate management of the funds to
 specific employees, contractors, or volunteers of the fiscal sponsor (comprehensive fiscal sponsorship). Alternatively, it
 may grant the funds to a suitable grantee that it vetted earlier (pre-approved grant relationship fiscal sponsorship).


 Comprehensive Fiscal Sponsorship
 In the comprehensive model, the party entering into the fiscal sponsorship agreement with the fiscal sponsor is
 generally giving up all ownership and control of the project to the sponsor and retaining only the right to enforce,
 amend, or terminate the agreement and have the project transferred to another qualified fiscal sponsor. In contrast to
the fiscal sponsor, the other party to the agreement is not a tax-exempt entity able to directly receive deductible
 charitable contributions and is likely not properly registered to solicit charitable funds or assets. Most often, it's just
 some form of steering committee with minimal activity of its own, which helps minimize any risk that might otherwise
 be borne by its members.

When working on the fiscally sponsored project, the individuals associated with the other party to the agreement serve
 as employees, volunteers, or other agents of the fiscal sponsor. Accordingly, if they are fundraising for the project, they
 are fundraising on behalf of the fiscal sponsor as agents of the fiscal sponsor. Similarly, if they are managing the
 activities and affairs of the project, they are doing so as agents of the fiscal sponsor, which may afford them the
 protection of the sponsor's insurance.

 In the comprehensive model, the assets and liabilities of the project are the assets and liabilities of the fiscal sponsor.
The fiscal sponsor takes on the project, and all of its risks, because it advances the sponsor's own charitable mission.
Typically, in light of all of the administrative burdens and costs associated with the project and to ensure its own
 organizational health, the fiscal sponsor charges an intra-organizational administrative fee to the restricted fund
 dedicated to the project's charitable purposes.

A fiscal sponsor providing comprehensive sponsorship can serve as an effective and efficient vehicle for incubating a
 new charitable project, testing an innovative idea, implementing a program with a fixed time frame, and hosting a
 collaborative effort among charities or funders.


 Pre-Approved Grant Relationship
 In the pre-approved grant relationship model, the party entering into the fiscal sponsorship agreement with the fiscal
 sponsor is the sponsor's grantee. Unlike with the comprehensive model, the project is owned by the grantee, not by
the fiscal sponsor. Accordingly, the project's assets and liabilities belong to the grantee, which is responsible for its
 own tax and filing obligations.

 Generally, the individuals associated with the grantee serve as agents of the grantee when working on the project. But
when they are fundraising for the project, they are doing so as agents of the fiscal sponsor. The fundraising must be
 carried on by the fiscal sponsor because the grantee lacks the tax status to allow for deductible contributions or
 private foundation qualifying distributions.

The key to this model is to ensure the fiscal sponsor is not serving as a mere conduit for donors and foundations to
 direct contributions and grants to the fiscal sponsor's grantee. While the fiscal sponsor can accept contributions and
 grants with a purpose restriction on how they are used, the fiscal sponsor must have ultimate discretion and control on
whether to use such contributions and grants itself or re-grant them out to another entity, not limited to the grantee
whose representatives may have raised such funds in the capacity as agents of the fiscal sponsor.




                                                              20
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 21 of 181 PageID #:60


The intended grantee is vetted and pre-approved by the fiscal sponsor prior to any fundraising for the purposes of the
 project. So long as the grantee has not breached the fiscal sponsorship agreement, the fiscal sponsor will ordinarily
 grant the funds raised for the project to the grantee, less some agreed upon amount it retains as an administrative fee.
While the fiscal sponsor has the variance power to direct such funds to another organization to advance the same
 charitable purposes, it has a business reason not to exercise such power except under egregious circumstances.

A fiscal sponsor providing pre-approved grant relationship fiscal sponsorship can facilitate broader grantmaking to
 individual artists producing works to be introduced to the public for noncommercial purposes, nonprofits without an
 IRS determination of 501 (c)(3) status, and discrete charitable programs of for-profit social enterprises. Unlike the fiscal
 sponsor, such grantees may not be qualified recipients of deductible charitable contributions.

 In addition, many, if not most, private foundations have internal rules prohibiting them from making grants to such
 grantees in part because complex tax laws require them to exercise certain due diligence procedures and threaten
them with stiff penalties for a failure to properly comply. In contrast, a private foundation may more safely make a
 grant to a qualified fiscal sponsor so long as it does not require the sponsor to act as a mere conduit for its grants to
flow to a non-exempt grantee.


 Fiscal Sponsorship Administration Fee
A portion of the funds raised to advance a particular project's purpose is typically retained by the fiscal sponsor as an
 administrative fee. But the fiscal sponsor must account for the significant administrative burdens and costs and the
 risks associated with acting as a fiscal sponsor to a project. For comprehensive fiscal sponsors, such burdens generally
 include the management and/or administration of charitable solicitations, donations, grants, human resources
 (including payroll and benefits), volunteers, financial reporting, audits, government filing requirements, and appropriate
 risk management tools (e.g., insurance, legal counsel).

 In many cases, particularly with smaller projects, the costs associated with fiscally sponsoring a project are higher than
the administrative fee. This may be acceptable so long as the fiscal sponsor believes that the project's value in
 advancing the sponsor's mission is worth such net expense. But regardless of whether the administrative fee covers the
 additional costs, the fiscal sponsor must provide proper management and oversight over the project.


Where Things Go Wrong
 Some nonprofits offer fiscal sponsorship as a means for generating additional revenue without adequately managing or
 overseeing their projects. In a comprehensive fiscal sponsorship, the fiscal sponsor should have the appropriate
 infrastructure and resources one would reasonably expect of the legal operator of the project. Consistent with such
 expectation, the fiscal sponsor's delegation of duties to the project leaders should follow only after sufficient due
 diligence of such individuals and their planned activities. Additionally, the fiscal sponsor should ensure it has
 appropriate policies to guide the project leaders' actions, maintain oversight of the operations, and protect the
 charitable assets.

Where a fiscal sponsor neglects its responsibilities, a project can be operated in a manner inconsistent with applicable
 laws and/or beyond the sponsor's capacity. This scenario can easily come back to haunt a fiscal sponsor and its leaders
 if the project's activities (1) result in an unexpected liability, like one stemming from a lawsuit, penalty, or fine; (2)
trigger additional registration, licensing, or reporting requirements; (3) fall outside of the sponsor's stated purpose in
 its governing documents; or (4) attract significant negative publicity.

 Oversight of a project's activities by regulators and, indirectly, by donors, also becomes more challenging if the
 sponsor consolidates all of its projects in its information returns and other reports. Accordingly, while the onus is on
the fiscal sponsor to properly manage its comprehensively sponsored projects, the additional layer of protection
 against misuse of charitable assets can be compromised if the sponsor does not keep proper records and the project
 becomes "hidden" among all of its other projects.

A fiscal sponsor without sufficient capacity may also jeopardize the assets raised for each of its programs by misusing
 or misdirecting those assets to pay for its general administrative costs or other inappropriate expenses. NPQ has
 weviously covered such scenarios .




                                                               21
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 22 of 181 PageID #:61


Accordingly, a project's founders seeking fiscal sponsorship should be as selective in choosing an appropriate fiscal
sponsor as a fiscal sponsor is in choosing a project. But it would be a mistake to use a fiscal sponsor's administrative
fee as the primary selection criteria. More important are the fiscal sponsor's financial health, key personnel, and
understanding of its legal responsibilities as a fiscal sponsor. The National Network of Fiscal Sponsors' g uidelines for
both comprehensive and pre-approved grant relationship fiscal sponsorship are outstanding resources to help assess
whether a fiscal sponsor's practices and agreements reflect such proper understanding.


Conclusion
 From a legal perspective, a comprehensively sponsored (Model A) project of a fiscal sponsor is generally no different
from an internal program of any nonprofit with the exception of the rights the parties may have to transfer the
program to another qualified successor nonprofit. And a pre-approved grantee of a fiscal sponsor housing the
sponsored (Model C) project is generally no different from a grantee of any nonprofit that elects to grant funds to an
individual or nonexempt entity, which is a permissible form of grantmaking for any charity so long as it is done with
appropriate restrictions on use.

 Fiscal sponsorship, when appropriately structured and implemented, is a valuable alternative to formation of a
nonprofit organization, particularly where the sustainability of a separate entity is highly questionable, the charitable
endeavor has a relatively short life span, or the project founders lack the capacity to properly administer a compliant
nonprofit, tax-exempt organization. While there will always be stories of abuses, as is the case in every field, the
problem lies in the implementation and not the lawful practice of fiscal sponsorship done right. Fiscal sponsors must be
diligent in helping to educate the field and the broader community to preserve and best utilize this important and
often misunderstood form of collaboration.




  About the author


                Gene Takagi
                Gene Takagi is a Principal at NEO Law Group, contributing publisher of the Nonprofit La ...




                                                            22
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 23 of 181 PageID #:62




                          EXHIBIT 2




                                     23
9/5/24, 12:21 PM              Case: 1:24-cv-08209 DocumentWESPAC
                                                           #: 1-1Foundation
                                                                  Filed: 09/09/24        PageAction
                                                                            | A Peace & Justice 24 of  181 PageID #:63
                                                                                                    Network



                                     Home     Who We Are     What We Do 3      Media Center 3    Support Us 3     Contact & Sign Up


                                                                                                                                  U




                       WESPAC
                       We have been a leading force for progressive social change in Westchester
                       County, New York, since 1974. We have been educating, agitating and
                       organizing for a more just and peaceful world, an end to militarism and racism
                       and a more fair economy that works for all.




             Welcome WESPAC




                                                                        24
https://wespac.org                                                                                                                    1/8
9/5/24, 12:21 PM                 Case: 1:24-cv-08209 DocumentWESPAC
                                                              #: 1-1Foundation
                                                                     Filed: 09/09/24        PageAction
                                                                               | A Peace & Justice 25 of  181 PageID #:64
                                                                                                       Network

 Support Us With A Donation
                        DONATE


 Upcoming Events
     SEP     4:30 pm - 6:30 pm

    11
             Cooking Up Community with Chef Green

     SEP     7:00 pm - 8:30 pm

    11
             WESPAC Liberation Book Club

     SEP     1:30 pm - 4:30 pm

    15
             We Refuse to Remain Enemies: Meet Israelis and Palestinians Who Are Still Working Together Symposium

     SEP     6:00 pm

    17
             The Devil We Know Screening at Greenburgh Public Library


 View Calendar




           The Latest
               Membership Appeal 2024
                                                                           25
https://wespac.org                                                                                                          2/8
9/5/24, 12:21 PM                     Case: 1:24-cv-08209 DocumentWESPAC
                                                                  #: 1-1Foundation
                                                                         Filed: 09/09/24        PageAction
                                                                                   | A Peace & Justice 26 of  181 PageID #:65
                                                                                                           Network

               Sep 4, 2024

               Hello WESPACers! As we enter September, it is time for our annual Membership Appeal. You can find a digital copy of the appeal letter here. In
               our 50th year, we particularly reflect in gratitude on the support of this wonderful community. Thank you in advance for your...
               read more




               WESPAC August 2024 Solidarity Newsletter
               Aug 9, 2024

               If you missed it in your inbox, here is this month's newsletter: WESPAC August 2024 Solidarity Newsletter!
               read more




               Support University Students and the Struggle for Food Sovereignty!
               Jun 4, 2024

               WESPAC has had the pleasure of working with Sarah Lawrence College students over the last semester period. A couple of these students have
               created a community fridge in Yonkers for the Sarah Lawrence community. Learn more about it at the below links: Website:...
               read more




               TOMORROW: Volunteers needed in Mount Vernon Garden
               Aug 16, 2024


               read more




                                                                                     26
https://wespac.org                                                                                                                                              3/8
9/5/24, 12:21 PM                     Case: 1:24-cv-08209 DocumentWESPAC
                                                                  #: 1-1Foundation
                                                                         Filed: 09/09/24        PageAction
                                                                                   | A Peace & Justice 27 of  181 PageID #:66
                                                                                                           Network


               US Corporations Pump Aquifers Dry as Police Kill Water Defenders
               Jul 30, 2024

               Excellent (and lengthy) article about the devastating environmental and human effect of NAFTA and neoliberal policies on a community in
               Mexico. Persisting even under AMLO and possibly Sheinbaum… ...
               read more




               Public Banking Act Support
               Jun 4, 2024

               This legislative session, New York has a historic opportunity to bring public banking to our state! After years of campaigning to pass the New
               York Public Banking Act we now have a chance to bring public banking to Rochester which would be the first public bank in the...
               read more




               H2OO New Youth Cohort Application
               Aug 16, 2024

               Heirs To Our Ocean (H2OO) is recruiting youth aged 16–25 for the 5th Cohort of the U.S. Youth Action Council for the UN Ocean Decade (U.S.
               YAC UNOD). H2OO is an official UN Ocean Decade partner, and this Council is endorsed as a Decade Action in collaboration with the...
               read more




               WESPAC June 2024 Solidarity Newsletter
               Jun 12, 2024

               If you missed it over email, check out the June 2024 Solidarity Newsletter!
               read more
                                                                                      27
https://wespac.org                                                                                                                                              4/8
9/5/24, 12:21 PM                           Case: 1:24-cv-08209 DocumentWESPAC
                                                                        #: 1-1Foundation
                                                                               Filed: 09/09/24        PageAction
                                                                                         | A Peace & Justice 28 of  181 PageID #:67
                                                                                                                 Network




               WESPAC Annual Awards! Sunday, June 2nd at 2pm in Rye, NY!
               Apr 16, 2024

               read more




           « Older Entries

                     WESPAC on Facebook
                              Explore WESPAC
                              1 week ago


                     This Wednesday, WESPAC is hosting Osama Iliwat and Rotem Levin for a conversation about Palestinian and Israeli peace
                     activism. Please RSVP at wespacfoundation@gmail.com, and read more above!

                       Photo

                     View on Facebook · Share




                              Explore WESPAC
                              2 weeks ago


                     This Wednesday, WESPAC is hosting Osama Iliwat and Rotem Levin for a conversation about Palestinian and Israeli peace
                     activism. Please RSVP at wespacfoundation@gmail.com, and read more below:

                       Photo

                     View on Facebook · Share




                              Explore WESPAC
                              2 weeks ago



                                                                                     28
https://wespac.org                                                                                                                           5/8
9/5/24, 12:21 PM                       Case: 1:24-cv-08209 DocumentWESPAC
                                                                    #: 1-1Foundation
                                                                           Filed: 09/09/24        PageAction
                                                                                     | A Peace & Justice 29 of  181 PageID #:68
                                                                                                             Network

                     The organizers are planning a nonviolent civil disobedience component. If you would like to participate in the civil disobedience,
                     please let me know and I will connect you:

                       Photo

                     View on Facebook · Share




                             Explore WESPAC
                             1 month ago


                     Good morning, all,

                     I have checked with Lana and she is happy for me to share this write up about her and her family. Her father is from the ancient
                     Christian Palestinian Shawa family in Gaza. They have lost 92 members of their extended family in Israel's bombing of Gaza.
                     Lana was introduced to WESPAC after October 7th last year:

                     www.greenwichtime.com/news/article/ct-greenwich-palestinian-american-1 ... See More

                     View on Facebook · Share




                             Explore WESPAC
                             2 months ago



                       Photo

                     View on Facebook · Share




                                Explore WESPAC
                                    Follow Page   1.6K followers




                     WESPAC on Twitter
                                WESPAC Foundation                  Follow


                                                                                      29
https://wespac.org                                                                                                                                        6/8
9/5/24, 12:21 PM             Case: 1:24-cv-08209 DocumentWESPAC
                                                          #: 1-1Foundation
                                                                 Filed: 09/09/24        PageAction
                                                                           | A Peace & Justice 30 of  181 PageID #:69
                                                                                                   Network
                      WESPAC has been working for #peace & #socialjustice for 48 years. We work for a #progressive agenda for the planet & its
                      peoples. wespacfoundation@gmail.com


                                 WESPAC Foundation Retweeted

                     Frack Action @frackaction · 22 Aug
                     “This new, experimental form of gas drilling is highly untested and poses a lot of the same threats to our air, water and
                     communities as the conventional, high-volume hydraulic #fracking," Renee Vogelsang, NY Director at Frack Action
                     @GovKathyHochul

                             7        9    Twitter




                                 WESPAC Foundation Retweeted

                     UAW @uaw · 22 Aug

                     If we want the war in Gaza to end, we can’t put our heads in the sand or ignore the voices of the Palestinian Americans
                     in the Democratic Party. If we want peace, if we want real democracy, and if we want to win this election, the
                     Democratic Party must allow a Palestinian…

                             8212         30659      Twitter




                                 WESPAC Foundation Retweeted

                     IfNotNow🔥✡️ @ifnotnoworg · 22 Aug
                     “We have enough tears to cry for two peoples. Freedom for Palestinians does not put Jews in danger.” -@Junesfinalrose

                     #LetPalestineSpeak #NotAnotherBomb

                             575          1668    Twitter




                     WESPAC Foundation @wespac_ny · 22 Aug
                     The organizers are planning a nonviolent civil disobedience component. If you would like to participate in the civil
                     disobedience, please let me know and I will connect you:

                             1        1    Twitter




                                 WESPAC Foundation Retweeted

                     The Saviour @stairwayto3dom · 20 Aug
                                                                                30
https://wespac.org                                                                                                                               7/8
9/5/24, 12:21 PM                    Case: 1:24-cv-08209 DocumentWESPAC
                                                                 #: 1-1Foundation
                                                                        Filed: 09/09/24        PageAction
                                                                                  | A Peace & Justice 31 of  181 PageID #:70
                                                                                                          Network

                            THIS VIDEO IS THE REASON WHY THEY REMOVED BASSEM YOUSSEF’S ACCOUNT

                                     20021       51313    Twitter




                                        WESPAC Foundation Retweeted

                             Dr Mohammed Al Najjar 🇵🇸🇵🇸 @m7madnajar · 20 Aug
                            I haven't bathed with shampoo or soap for 4 months because they've blocked them from entering Gaza. We are slowly
                            dying from infections.Death here doesn't come just from the bombs.This case one of thousand have severe skin
                            disease without available treatment
                            World must know

                                     618       778   Twitter




                                        WESPAC Foundation Retweeted

                             Librarians and Archivists with Palestine @librarians2pal · 20 Aug

                            Calling all citizen archivists! Check out these crowdsourced archival initiatives working to preserve Palestinian heritage,
                            memory, and narratives, compiled by Librarians and Archivists with Palestine. (1/3)

                                     269       403   Twitter



                                                                                Load More




                     WESPAC Foundation                Home
                     77 Tarrytown Rd.
                                                      Who We Are
                     White Plains, NY 10607
                                                      Donate
                     914-449-6514
                     wespacfoundation@gmail.com       Contact & Directions


                                                                                                                                                  



                                                                                      31
https://wespac.org                                                                                                                                        8/8
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 32 of 181 PageID #:71




                          EXHIBIT 3




                                     32
       Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 33 of 181 PageID #:72




                                                         wespacfoundation • Follow


                                                         wespacfoundation 41w
                                                         We have chartered an additional bus
                                                         leaving from North White Plains! Leaving
                                                         for the National March on Washington for
                                                         Palestinian Freedom this Saturday, Nov 4.
                                                         The link to purchase a bus ticket is in the
                                                         bio on our Instargram profile.

                                                         https://www.eventbrite.com/e/two-buses-
                                                         to-washington-dc-from-n-white-plains-
                                                         tickets-748416633297?aff=oddtdtcreator




                                                  51 likes
                                                  November 2, 2023



                                                         Add a comment…




More posts from wespacfoundation




                                            33
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 34 of 181 PageID #:73




                                     34
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 35 of 181 PageID #:74




                          EXHIBIT 4




                                     35
9/5/24, 6:28 PM Case: ‘Mysterious’
                       1:24-cv-08209        Document
                                   Westchester             #: 1-1the
                                               Foundation Collecting Filed:  09/09/24
                                                                       Cash for           Page
                                                                                This Weekend’s    36 of
                                                                                               National   181 BDS
                                                                                                        Campus PageID   #:75
                                                                                                                  Convention - Algemeiner.com




              NOVEMBER 3, 2016 4:46 PM



        ‘Mysterious’ Westchester
        Foundation Collecting
        the Cash for This
        Weekend’s National
        Campus BDS Convention
                  by Ira Stoll




         A WESPAC-sponsored protest in July against NY Gov. Cuomo, organized by the Freedom to Boycott
                                         Coalition. Photo: WESPAC website.


        Hundreds of anti-Israel student activists will convene this
        weekend in Fairfax, Va., for the annual national Students for
        Justice in Palestine (SJP) Conference, hosted by George
        Mason University Students Against Israeli Apartheid.

                                                                         36
https://www.algemeiner.com/2016/11/03/mysterious-westchester-foundation-collects-cash-for-this-weekends-national-campus-bds-convention/     1/6
9/5/24, 6:28 PM Case: ‘Mysterious’
                       1:24-cv-08209        Document
                                   Westchester             #: 1-1the
                                               Foundation Collecting Filed:  09/09/24
                                                                       Cash for           Page
                                                                                This Weekend’s    37 of
                                                                                               National   181 BDS
                                                                                                        Campus PageID   #:76
                                                                                                                  Convention - Algemeiner.com

        But the bills for the three-day event will be paid by an
        entity that may surprise even many close followers of the
        movement to isolate Israel via boycotts, divestment and
        sanctions (BDS).

        It’s not a traditional Arab-American hotbed like Dearborn,
        Michigan, or even a left-wing anti-Israel campus bastion like
        Berkeley, Calif. Instead, it’s a little-known foundation based
        in Westchester County, New York, a place known more for its
        golf courses and suburban synagogues than for hard-core
        anti-Zionist political agitation.

        Click the “donate” button of the national SJP website, and
        you reach a page with a fundraising thermometer showing
        $13,000 raised out of the $20,000 goal “to ensure that we
        have a successful conference this year.” A further click brings
        up a PayPal page that says, “Donate to WESPAC Foundation.”

        “We’re the fiscal sponsor of it,” the executive director of the
        WESPAC Foundation, Nada Khader, told The Algemeiner in a
        brief telephone interview this week. “It’s aligned with our
        mission.”

        She clarified that her organization doesn’t fund or donate to
        the conference from its own funds, but supports it with its
        organizational infrastructure by acting as a conduit for
        money the SJP raises and “managing the bookkeeping for the
        national conference,” which she said that the progressive
        nonprofit tracks separately in its accounting software.

        She said WESPAC has been serving in this role for “four or
        five years.”

        Over that period, the WESPAC’s revenues have soared to
        $677,548 in the year that ended in August 2014, from
        $311,213 in the prior year and $226,053 in the year before
        that. The numbers come from the foundation’s three most
        recent publicly available tax returns.
                                                                         37
https://www.algemeiner.com/2016/11/03/mysterious-westchester-foundation-collects-cash-for-this-weekends-national-campus-bds-convention/     2/6
9/5/24, 6:28 PM Case: ‘Mysterious’
                       1:24-cv-08209        Document
                                   Westchester             #: 1-1the
                                               Foundation Collecting Filed:  09/09/24
                                                                       Cash for           Page
                                                                                This Weekend’s    38 of
                                                                                               National   181 BDS
                                                                                                        Campus PageID   #:77
                                                                                                                  Convention - Algemeiner.com

        Guidestar, a nonprofit watchdog and data site, using
        information supplied by WESPAC, lists the group’s largest
        donor as the Elias Foundation, which says it “seeks to
        promote a more equitable and progressive society by
        supporting the development of emerging grassroots leaders.”

        Elias reported giving $130,000 for “general operating funding
        supporting WESPAC’s continuing growth and efforts to
        promote development of young leaders, peace and justice
        activism locally.” Federal campaign finance records show the
        president of the Elias Foundation, Jacqueline Mann of Mount
        Kisco, NY, gave $1017.16 to the 2016 presidential campaign of
        Democratic candidate Bernie Sanders.

        The WESPAC website says, “Our members are currently
        involved with food justice work, anti-fracking/anti-nuclear
        and pro-safe energy, solidarity with Indigenous Peoples, an
        end to militarism and drone warfare and a just resolution to
        the Israel/Palestine conflict.”

        The group’s website also openly discloses its support for BDS,
        declaring — in a section headed “militarism and foreign
        policy” — “WESPAC supports the call by over 200 Palestinian
        civil society organizations for punitive measures including
        boycotts, divestment, and sanctions to be maintained until
        Israel meets its obligation to recognize the Palestinian
        People’s inalienable right to self-determination and fully
        complies with the precepts of international law.”

        Khader’s bio describes her as a former Fulbright scholar in
        Tunisia, who also served as a consultant for the UN
        Development Program in the Gaza Strip.

        The vice president of research at the Foundation for Defense
        of Democracies, Jonathan Schanzer, testified earlier this year
        before the House Foreign Affairs Committee about the
        “corporate and fiscal structure of the BDS campaign’s major
        actors in the United States.” Schanzer, who worked from 2004
                                                                         38
https://www.algemeiner.com/2016/11/03/mysterious-westchester-foundation-collects-cash-for-this-weekends-national-campus-bds-convention/     3/6
9/5/24, 6:28 PM Case: ‘Mysterious’
                       1:24-cv-08209        Document
                                   Westchester             #: 1-1the
                                               Foundation Collecting Filed:  09/09/24
                                                                       Cash for           Page
                                                                                This Weekend’s    39 of
                                                                                               National   181 BDS
                                                                                                        Campus PageID   #:78
                                                                                                                  Convention - Algemeiner.com

        to 2007 as a terrorism finance analyst for the Treasury
        Department, told The Algemeiner that the WESPAC
        Foundation “remains something of a black box.”

        “They remain one of the more mysterious elements of the
        BDS network,” Schanzer said. “Nobody understands the role.”

        SJP didn’t respond to The Algemeiner‘s emailed questions
        about its sources of funding, the identity of its largest donors,
        or whether any of its funding came from overseas.

        WESPAC’s Khader offered to forward our questions to the
        students, and we sent a query about “how these activities are
        funded, who the donors are, if any of them are foreign, how
        much money is involved.” We never heard back; if we do, we’ll
        post an update.

        The surge of anti-Israel activity on campus has
        generated speculation about whether it’s being fueled by
        petrodollar potentates from overseas (who also might have
        an interest in fighting fracking or nuclear energy in the US,
        because it could undercut demand for imported oil). Some
        universities have accepted funding for Middle East studies or
        Islamic law programs from foreign royal families or
        businessmen. But previous investigative efforts to track the
        funding for student-led BDS movements have found that the
        amounts of money involved are relatively modest; one
        funding stream is student government grants of between
        $267 and $1,479 per academic year to individual SJP chapters
        on university campuses.

        The AJP Educational Foundation, Inc., which describes its
        goal as publishing “educational materials to raise awareness
        on Palestine and the Middle East,” listed revenues of
        $824,710 for 2014, up from $567,188 in 2013. It is the fiscal
        sponsor of American Muslims for Palestine (AMP), whose
        website says, “We are a strictly American organization
        working for Americans in America. We are donor-funded. All
                                                                         39
https://www.algemeiner.com/2016/11/03/mysterious-westchester-foundation-collects-cash-for-this-weekends-national-campus-bds-convention/     4/6
9/5/24, 6:28 PM Case: ‘Mysterious’
                       1:24-cv-08209        Document
                                   Westchester             #: 1-1the
                                               Foundation Collecting Filed:  09/09/24
                                                                       Cash for           Page
                                                                                This Weekend’s    40 of
                                                                                               National   181 BDS
                                                                                                        Campus PageID   #:79
                                                                                                                  Convention - Algemeiner.com

        of our fundraising is conducted within the United States; all
        of our funds and work is kept within the US.”

        AMP advertises that it “dedicates a large portion of its budget
        to support student activism on college campuses. We are here
        to offer free materials, information, speakers, infrastructure
        like the apartheid wall, and grants to help ensure your group
        has the best chance possible of achieving your goals.”

        AMP is having its own upcoming conference November 24-26
        in Chicago, a meeting that it is touted as “the largest
        gathering for Palestine in the US.” Tickets for college
        students are available at a discounted price.




                              Israeli Hostages Were Brutally Executed;
            Read More
                              The Media Told the World That They ‘Died’




                                                                         40
https://www.algemeiner.com/2016/11/03/mysterious-westchester-foundation-collects-cash-for-this-weekends-national-campus-bds-convention/     5/6
9/5/24, 6:28 PM Case: ‘Mysterious’
                       1:24-cv-08209        Document
                                   Westchester             #: 1-1the
                                               Foundation Collecting Filed:  09/09/24
                                                                       Cash for           Page
                                                                                This Weekend’s    41 of
                                                                                               National   181 BDS
                                                                                                        Campus PageID   #:80
                                                                                                                  Convention - Algemeiner.com




         Meet the        Woman Missing                                      Do You Know
         powerful tools  for Decades                                        What Follicular
         everyone needs… Found Alive in…                                    Lymphoma Is?…
         Learn how to create,              Loan Societies                   Topic | Search Ads
         edit, e-sign, and so…
         Adobe Systems Incorpo…




         Find Results For                  [Photos] Caitlin                 Find Results For
         Check Out                         Clark And Her                    Best Mattress For
         Delaware…                         Partner Who…                     Seniors With Ba…
         Discover the best                 Caitlin Clark Steps              Discover the secret to
         1031 exchange…                    Out With New Partn…              a perfect night's sle…
         Yahoo Search                      Daily Sports Reporter            Yahoo Search




         [Gallery]                         Find Results For Costco Shoppers
         Restaurant In                     Trusted Delaware Say This Wrinkle
         Texas Has The…                    Statutory Trust… Cream Is…
         magazine.todo                     Discover the best                brunchesncrunches.com
                                           1031 exchange…
                                           Yahoo Search
                                                             Recommended by




                                                                         41
https://www.algemeiner.com/2016/11/03/mysterious-westchester-foundation-collects-cash-for-this-weekends-national-campus-bds-convention/     6/6
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 42 of 181 PageID #:81




                          EXHIBIT 5




                                     42
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 43 of 181 PageID #:82




                                     43
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 44 of 181 PageID #:83




                          EXHIBIT 6




                                     44
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 45 of 181 PageID #:84


            RANK AND FILE FOR ADEMOCRATIC UNION




                                           DYLAN KUPSH FOR ASE STATEWIDE CHAIR

      FORMER UCSB BARGAINING TEAM MEMBER. STUDENT LABOR ACTION PRO ECT ORGANIZINGMEMBER. GRADUATE STUDENTSFOR

       !USTICE IN PALESTINE ORGANIZING MEMBER. NATIONAL STUDENTS FOR JUSTICEIN PALESTINE STEERING COMMITTEE MEMBER.

                                               FOUNDING UC DIVEST STEER INGCOMMITTEE MEMBER

      HI. my name Is Dylan Kupsh (he/him), and I'm a third-year PhD student In Computer Science
      running for ASE Statewide Chair with R!I!')<: •nd Fl_k o a l)pc!!'ocntlc 1,!nlon and R••fonn UC
      UAW. I was formerly the Santa Barbara Unit Chair and an active member of the International
      UAW refonn caucus, Umte All Worker,, for Democracy (UAWD).

      In the past years, our local's administrative caucus, or majority party, has gradually
      consolidated authority, eliminating meaningful rank-and-file participation, moving decision-
      making behind closed doors, and conceding on key Issues (like COLA, Access Needs, etc) faced
      by academic workers.

      By contrast, I'm running for ASE Statewide Chair to return our union's power to the
      membership and prioritize the demands of our most mart inallzed collear ues. I'm
      running to lead a union that will win, without concessions, a COLA4ALL contract that
      Includes:
                                                                                                        Reprioritlzlnit the demands of our
            ACost of Llvlnj Adjustment: Wage Increases, tied to the housing market, that
                                                                                                        most Jnal'ilnallzed members
            eliminate rent burden for all campus workers.
                                                                                                        Fl£htln£ for Palestine Liberation
            No Tiers: The highest-paid graduate worker makes around $15,000/year more than the
                                                                                                        and UC/UAW Divestment
            lowest-paid. We need a lm(ll!fied 'lstem that abolishes steps and brings everybody up
            to the highest payscale. No Step Tiers. No Appointment Length Tiers. No •prestige           COLA4ALL: Cost-of-Livinit
            Campus• Tiers. Abolish all tiers.                                                           Adjustment, Cops Off campus,
                                                                                                        Access Needs, Fee Remissions,
            Appointment Guarantees: With the current contract, the UC has subjected
                                                                                                        Support for Parent Workers and
            departments to punitive austerity measures, decreasing employment percentages,
                                                                                                        More
            Increasing workloads, and cutting available appointments. We need centralized funding
            that guarantees 12-month employment contracts to all academic workers.                      Community-focused barialninit- No
                                                                                                        Sidebars or backroom deals
            Cops Off campus: The abolition of UCPD and removal of police from campuses. An end
            to the uc·s mllitarlzed response to student protest and constant survelllance of students
            and employees.
           Divestment: Divestment of university finances from the oppression of Palestinians.
           Transitional funding for academic workers refusing to work under grants funded by
           military contractors.
            Fee Remissions: Abolition of NRSf, PDSf, and other university fees for ALL academic
            workers. We shouldn't have to pay to work at UC!
            Support for Parent Workers: Full childcare reimbursement, increased parental leave,
            and dependent healthcare coverage.
            And More!

      To achieve these ambitious demands, ou r u nion must:

            End Concessionary and Closed-Door Bargaining: All contract bargaining sessions
            must be open to all members, no exceptions. We must oppose sidebars and back-room,
            off-the-record negotiations between UC Administration and the bargaining team, or the
            pushing through major hasty decisions over academic breaks.
            Build Joint Struggle: Building coalitions, communities, and solidarity with affinity
            organizations {like Students for Justice in Palestine, Environmental Justice
            organizations, graduate and undergraduate student associations, etc) across our
            campuses, incorporating their demands into our campaigns and strengthening each
            other in turn.
           Taking Strategic Action: Our demands aren't won through symbolic marches,
            speeches, and walking in circles. We need to take strategic action that engages our
            membership, while maximizing disruptive and material impact on UC.

      Th ese next three years represent a pivotal moment for our union. Will we recenter our
      demands around marginalized workers or will we continue the current leadership's practice of
      paying lip service to their needs but then spinelessly bargaining them away?




      VOTE: DYLAN KUPSH FOR ASE STATEWIDE CHAIR
                                                                            45
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 46 of 181 PageID #:85




                          EXHIBIT 7




                                     46
  Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 47 of 181 PageID #:86
                                                                                                                                                               (l.Nr' • • 1,   News   Subsc ribe to t he Wire



Read: The truth about campuses
A look Into the largest student anti-war movement In a half--century.
                                                                                                                                                                         i Read Now

                 ~ ~ JEWISH
                     VOICE!                                           TAKE ACTION             THE WIRE                 ABOUT               JOIN US                  CONTRIBUTE
                 ~ ~ PEACE




                                                                                                Donate to JVP


                                        Jewish Voice for Peace is the largest progressive Jewish anti-Zionist organization in the world. We're organizing a
                                        grassroots, cross-class, Intergenerational movement of U.S. Jews into solidarity with the Palestinian freedom struggle,
                                        guided by a vision of justice. equality, and dignity for all people.

                                        1..... ful.Uf9 1Ct>On""'lhl • .,.i,tcltd.
                                            :C•" ot   ., ,..,brm:1Acdon                                                                              Gfastactlon 0

                                        Contribution Infor mation

                                       @0ne•ln'ne               O Monthly




                                       ----
                                        Consider giving monthly




                                        -                                           -                           [                                                    l
                                        D l'd like to help cover the t ranwction fees for my contnbut1on. Hy total amount wilt be $18.78

                                                                                              P.aiy with Card                Pay with Bank Account    •   PoyPol




                                        If you would like to designate this gift in honor or In memory of someone, please send an email with the particulars to
                                        info@jvp.org. so that we can notify whomever you designate.

                                        If you have any questions, please call us at (510) 465-1777 or send an email to 1nfo@jvp.org. Jewish Voice for Peace
                                        respects and guards your privacy.

                                       JVP EIN: XX-XXXXXXX.




                                                                                                         47
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 48 of 181 PageID #:87




                          EXHIBIT 8




                                     48
9/5/24, 6:41 PM Case: 1:24-cv-08209 Document #: 1-1 Filed:
                                                 Donate     09/09/24
                                                        — Community      Page
                                                                    Justice      49 of 181 PageID #:88
                                                                            Exchange



         COMMUNITY JUSTICE EXCHANGE                                                      English | Español




                                                         donate
                                      C om m un it y Justic e Exch ange is a
                                   n on pr of it 5 01 (c)3 proje ct of t he Tides
                                                        C enter.

                               You r gi f t may b e t ax-d educt ible pur sua nt
                               t o § 17 0 ( c ) of t h e I nter nal Re venue Cod e.
                                     P le as e v is it www.t ides.o rg/st at e-
                                   n on pro f it - d isclo sur es fo r a d dition al
                                                      info rm a ti on.


                                                     O u r EIN #: 94 - 32 1 31 0 0




                                              online donations
           To s u ppo rt p ay m en t of b ail and b ond b y lo ca l N BFN f und s:



                D O N AT E T O T H E E M E R G E N C Y R A P I D R E S P O N S E
                                           FUND



                                                                  49
https://www.communityjusticeexchange.org/en/donate                                                           1/2
9/5/24, 6:41 PM Case: 1:24-cv-08209 Document #: 1-1 Filed:
                                                 Donate     09/09/24
                                                        — Community      Page
                                                                    Justice      50 of 181 PageID #:89
                                                                            Exchange

           To s up po rt t he p aym en t of immigra ti on b ond by t he Na ti on a l
                                    B ail Fu nd Net wor k:



                                  D O N AT E T O T H E F R E E D O M F U N D



                  To su pport ou r w or k a t Co mm unity J ustice E xch ang e:



                                                     D O N AT E T O C J E




                                                check donations
                C he cks c a n b e m ad e p ayab le t o t he Tid es C enter (wit h
                       C om m u n it y J u s tic e Exch ang e in the m emo ):

                                                    T id es Cen t er
                                                  P.O Box 8 8 93 8 5
                                           Los An geles, CA 900 88 - 938 5




                                                              50
https://www.communityjusticeexchange.org/en/donate                                                       2/2
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 51 of 181 PageID #:90




                          EXHIBIT 9




                                     51
         Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 52 of 181 PageID #:91

                                                                              ** PUBLIC DISCLOSURE COPY**

                                                    Return of Organization Exempt From Income Tax                                                                                                                             0MB No. 1545·0047

Form      990                            Under section 501(c), 527, or 4947(a)(1) of the Internal Revenue Code (except private foundations)
                                                   Do not enter social security numbers on this form as it may be made public.
                                                                                                                                                                                                                                2022
Department of the Treasury
                                                                                                                                                                                                                               Open to Public
Internal Revenue Service                             Go to www.irs.gov/Form990 for instructions and the latest information.                                                                                                     Inspection
A For the 2022 calendar year, or tax year beginning                                                                                                      and ending
B Check if              C Name of organization                                                                                                                                         D Employer identification number
      applicable·

 IX]~~~~;~                  TIDES CENTER
         Name
                                                                                                                                                                                                  94 - 3213100
                                                                                                                                                                I
         cho.nge            Doino business as
         Initial
         return             Number and street (or P.O. box if mail is not delivered to street address)                                                             Room/suite          E Telephone number
         Final
         return/            1012 TORNEY AVENUE                                                                                                                                                    (415) 561 - 6300
         ter min-
         ated               City o r tow n, state or province, country, and ZIP or foreign post al code                                                                                G Gross receipts S   327.108 721.
 [X] ~~~ded                 SAN FRANCISCO, CA                                              94129                                                                                       H(a) Is t his a g roup return
         ~pplica-
         t1on            F Name and address of principal officer: JANIECE                                                 EVANS - PAGE                                                            for subordinates?                    Yes IX] No
         pending
               SAME AS C ABOVE                                                                                                                                                         H(b) Are all subord inates included?            Yes    No
 I Tax-exemot status: I X I 50Hcl{3l       501/cl{                                                   )         {insert no.l                   4947/aHtl or                     527                If "No, " attach a list. See instructions
 J Website:      WWW . TIDES.ORG                                                                                                                                                       Hie\ Grouo exemotion number
 K Form of oroanization: I X I Corporation   Trust                                                 Ass ociation                        Other                            I L Year of formation: 19 9 41 M State of leaal domicile: CA
I Part 11 Summary
  ., 1 Briefly describe t he org anizatio n's mission or most significant activities: TIDES CENTER ACCELERATES THE
  ., 2 Check
  I)
  C:
  C:
       PACE OF SOCIAL CHANGE, WORKING WITH INNOVATIVE PARTNERS TO SOLVE
             t his box if the organization d iscontinued its operations or d isposed of more t han 25% of its net assets.
  ~
  0
          3        Number of voting members of t he governing body (Part VI, line 1a)                                                                                                                               3                             8
  CJ
  at!
          4        Number of independent voting members of the governing body (Part VI, line 1b)                                                                                              .
                                                                                                                                                                 -·-· •· ···•··· . ... .. .. . . .                  4                             8
  ., 5 Total number of individuals employed in calendar year 2022 (Part V , line 2a)
  Ill                                                                                                                                                        ... .... ........ ...... ... , . ......... ......      5                        864
  .a
  '>      6        Total number of volunteers (estimate if necessary) . ... .. . . . . . ... . ... . . ... . .... . . .. . . . . . . . .. . . ......... .... ... ... ..... .... ....                                6                        810
  ~       7 a Total unrelated business revenue f rom Part VIII, column (C), line 12                                                                                                                                 7a                        0.
  c(
            b Net unrelated business taxable income from Form 990-T Part I line 11                                                                 .. . .. ...........               ......                         7b                        0.
                                                                                                                                                                                              Prior Year                      Current Year
  ., 8 Cont ributions and grants (Part VIII, line 1h)
  ::,
                                                                                                                      • •··   ..... .. ... .. ... ....... . ··· ··•····· · ·     501 815 757.                            240,178 205.
  ., 9
  C                Program service revenue (Part VIII, line 2g)                                                                                                                   14 391 645.                             37 628 314.
  ~      10        Investment income (Part VIII, column (A), lines 3, 4, and 7d).... ............. ............ .......                                                               29 562.                              3,382 268.
  a:                                                                                                                                                                                 336,880.                                285,985.
         11 Ot her revenue (Part VIII, column (A), lines 5, 6d, 8c , 9c, 1 0c, and 11 e)
         12 Total revenue - add lines8throuqh 11 (must equal Part VIII column/A\ line 12)                                                                                        516,573 , 844.                          281,474,772.
         13        Grants and similar amounts paid (Part IX, column (A), lines 1-3)                                                 ................... ..... .......                 79 981 825.                        205.996 418.
         14        Benefits paid to or for members (Part IX, column (A), line 4)                                                                                                               0.                                  0.
  ., 15 Salaries, other compensat ion, employee benefits (Part IX, column (A), lines 5-10)
  Ill                                                                                                                                                                                 91 429 314.                         94.394 656.
  ., 16ab Total
  Ill
  C
          Professional fundraising fees (Part IX, column (A), line 11e) .... .... .                                                                                                      120,335.                            293,157.
                fundraising expenses (Part IX, column (D) , line 25)              18,481,693.
 ! 17 Other expenses (Part IX, column (A), lines 11a-11 d, 11f-24e) .... ............                                                                                                 61 631 779. 115. 212 823.
         18 Total expenses. Add lines 13-17 (must equal Part IX, column V',), line 25)                                                                                           233 163 253. 415 897 054.
         19        Revenue less exoenses. Subtract Ii ne 18 from line 12                                                                                                         283 410 591. - 134 422 282.
 6:                                                                                                                                                                             Beginning of Current Year                     End of Year

 ~~
 ~c
    20 Total assets (Part X, line 16)                             . .. .... ...... .. .... ......... . · ··· · · ········· ·· •• ·· ·· ·· • ·· · · •• ·· .. . · ··· • · ·        538 607 810.                            431,562 198.
     21 Total liabilit ies (Part X, line 26)                                                                                                                                      32 385 686.                             69,687 000.
~1
z ., 22 Net assets or fund balances. Subt ract line 2 1 from line 20                                                   ......... ..... ... .. ..... ...... .. ...... ....        506,222,124.                            361,875,198,
I Part II I Signature Block
Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is
true correct and comolete Declaration of oreoarer {other than officer) is based on all information of which oreoarer has anv knowledoe


Sign                Signature of officer                                                                                                                                                             Date
Here               lJAMES LUM                       CFO/TREASURER
                    Type or print name and title

                                                                                                      I                                                                           Date                                   b
Paid
                    PrinVType preparer's name
         lJOCELYNE MILLER
Preparer Firm's name    DELOITTE TAX LLP
                                                         C, J/rdL.. 2/13/24        seW~molo"ed
                                                                                                         Preparer's signature
                                                                                               OO6 3 4 3 7 8
                                                                            Firm's EIM XX-XXXXXXX
                                                                                                                                                Ju+<                            I                           I
                                                                                                                                                                                                            Check
                                                                                                                                                                                                            ii
                                                                                                                                                                                                                              PTI II



Use Only Firm's address 12830 EL CAMINO REAL , SUITE 600
                        SAN DIEGO, CA 92130                                 Phone no, ( 619 ) 232 - 6500
May t he IRS d iscuss t his return with t he preparer show n above? See inst ructions                                                                                                                                     [X] Yes             No
232001 12- 1s-22             LHA For Paperwork Reduction Act Notice, see the separate instructions.                                                                                                                             Form 990 (2022)
              SEE SCHEDULE O FOR ORGANIZATION MISSION STATEMENT CONTINUATION



                                                                                                                              52
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 53 of 181 PageID #:92




                         EXHIBIT 10




                                     53
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 54 of 181 PageID #:93

                                                                 ---------------
                                                                 TAKI! ACTION TO STOP GAZA GENOCIDt! NOW



 ♦ US CAMPAIGN FOR
     PALESTINIAN RIGHTS
                                                                                                                          USCPR ACTION ~   Q.
                                                                                                                                                            ++iilii◄



          Finances

                                                                                                                                                EXPLORE USCPR
          USCPR is a 501(c)3 chari tabl e organizatlOn registered m the U.S Allcontnbutlons to USC PR are tax-
          deductible to the fullest extent allowed by law

          Our FGdoral ldo ntification (EIN) i s 4:z- 163659:z.

          Fr om boycott nnd diV<!"!.lmen t campi".1,lgns alm(."CI .'.lot holding occupation profltc,,o,s accountablo to
          grassroots pollhcal organi71n9 focused on ,mpternenting weapons sanctions on Israel we ar e WOl'klng
          in communit ies i'.ICross the country to educate. 019anlze. ttnd advocate ror PalE:>s.t1nian rights                               Aesources
                                                                                                                                           C ampaig n s
                                                                                                                                            Networks
          2023 Annual Report

                                                                                                                                           Local Groups




                                                                                                                                           M-1-iiliiM
                                                                                                                                           Ediii-iziHE




          Past Annual and Financial Reports

                   2022                          2021                       2020                           2019




                 Bwll.992                     Bwll.992                    f2ml..Q9.2                     fJ>!m..9.92




                               GuideStar                                               GrealNonprofits




            "To reach tho Platinum Lovet USCPR addod                 "Tho Groat N onprofits Top-Ratod Awards Is tho
           extonslvo Information to It~ Nonprofit Profile on           one and only pooplo's choice nward whoro
            GuideStar . By taking the time to provide this              volunteers. donors. and people served by
              information, USCPR has den,onstrated It s                  nonprofits are asked lo share $lories of
             commitment to transparency a nd to giving                 inspir.:ition. expres5 their appreciation. and
          donors and fundors meanin gful data to ovaluate             pot onUally holp nonpronts oarn a spot on th-0
                                USCPR.•                                  prestlgk>us GmatNonp,-oflt s Top-Ratod
                                                                                        N onprofits List •




                                                                                           54
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 55 of 181 PageID #:94




                         EXHIBIT 11




                                     55
   Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 56 of 181 PageID #:95


       ~.
               US Campaign for                                       Yes, I want to join you in
  ·~        i• Palestinian Rights                               working for Palestinian rights!
       ·~
                        TO DONATE BY MAIL, please fill out the form below.

                 TO DONATE BY PHONE with a credit card, call us at (703) 312-6360


Name                                                             Date

Street Address:

City--------------------------------------------              State __________ Zip ____________ _

Phone _ _________ _________ ________      Email -------------------------------------------



I would like to make (please fill in one option):

□ A one-time contribution of$ _____ _

□ Monthly contributions of$ ______ starting on (preferred date) ________________ _




I am donating by (please check one)

□ An enclosed check made out to either "US Campaign for Palestinian Rights" or "USCPR"

□ Credit card.    Please charge my (check one)      □ Visa   □ MasterCard □ AmEx    □ Discover

  Credit card number: ----- --- - ---- -- -- --- ---- ----- ------ --   Expiration date _____ ____ _
  3- or 4-digit CVV code ______________       Card holder name ___________________________ _

  Signature of card holder -----------------------------------------------------------
Other options (optional)

□ I would like to learn about including USCPR in my estate plan.

□ My employer will match my gift     My employer is _____________________________ _

□ My gift is in honor of/in memory of-------------------------------------------



                                    Please return th is form to
                                             USCPR
                                         P.O. Box 3609
                                     Washington, DC 20027

   USCPR is a 501(c)3 charitable organization and all contributions are tax-deductible to the
            fullest extent at/owed by law Our EIN (tax ID number) is 42 -1636592.




                                                 56
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 57 of 181 PageID #:96




                         EXHIBIT 12




                                     57
9/9/24, 2:19 PM Case: 1:24-cv-08209 Document #: 1-1 Filed:
                                                 Support      09/09/24
                                                         the work            Page
                                                                  for Palestine in the 58
                                                                                       US! of 181 PageID #:97




                             Support American Muslims for Palestine:
                                                           Stand With Gaza
       In these critical times, as Gaza faces profound challenges, the work of American Muslims for
       Palestine (AMP) becomes more vital than ever. Our commitment to advocating for justice,
       educating the public, and organizing at the grassroots level is unwavering. However, to sustain
       and expand our impact, we need your help.

       By supporting AMP, you become a vanguard of freedom and justice. Join us in our mission to
       promote justice, equality, and human rights. Your donation will empower our initiatives to
       educate, advocate, and organize — creating lasting change and advancing knowledge and
       understanding.


                                                     Support AMP Today!
        AJP Educational Foundation (AJP) is a tax-exempt, 501(c)(3) organization, and is the fiscal sponsor
           of The American Muslims for Palestine (AMP), EIN # XX-XXXXXXX. All donations to AJP are tax-
                                                  deductible. AMP is also Zakat-eligible!




       Your Gift Amount
                                                                    58
https://palestine.salsalabs.org/ampdonate2023/index.html                                                        1/3
9/9/24, 2:19 PM Case: 1:24-cv-08209 Document #: 1-1 Filed:
                                                 Support      09/09/24
                                                         the work            Page
                                                                  for Palestine in the 59
                                                                                       US! of 181 PageID #:98



              $25                 $50                $100          $250   $500          $1,000

            $2,500              $5,000              $      Other



            Make this donation recurring (select above)


            Increase my donation amount to cover fees




       Your Payment Details




       Card Number*




       Security Code*




       Expiration Month*

         MM


       Expiration Year*

         YYYY

       Name on Card*




       Your Info


       First Name*




                                                                    59
https://palestine.salsalabs.org/ampdonate2023/index.html                                                        2/3
9/9/24, 2:19 PM Case: 1:24-cv-08209 Document #: 1-1 Filed:
                                                 Support      09/09/24
                                                         the work            Page
                                                                  for Palestine in the 60
                                                                                       US! of 181 PageID #:99


       Last Name*




       Address, line 1*




       City*




       State*

         Choose one...


       Zip Code*




       Email Address*




       Phone

         555-555-5555


             I'd like to receive updates from this organization



                                                             DONATE NOW




                                       6404 Seven Corners Place STE N | Falls Church, VA 22044
                                                     703-534-3032 | info@ampalestine.org




                                                                     60
https://palestine.salsalabs.org/ampdonate2023/index.html                                                        3/3
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 61 of 181 PageID #:100




                         EXHIBIT 13




                                      61
       Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 62 of 181 PageID #:101

  Language •            PROPOSAL           AGREEMENT           RESOU RCES          CONTACT           ow@a


Coordinated Economic
Blockade to Free P.alestine
Monday, April 15, 2024
                                                                                                                      . . ~
                                                                                                                      • .A;
The global economy is complicit in                          USA;   v~              ,..           ~. UNTB>               ~

genocide. Join participating cities in
blocking the arteries of capitalism and
                                           = ~82CITIES
                                           CANADA; PEILWWW
                                                                                                 ORK CIT'< USA; DE I kOIT7
                                                                                                        "'IADA;IVIONTREAL,
                                                                                                         ~   LON:ION, UK;
jamming the wheels of production.
                                           = ~19COUITRIES ~
                                           ~=a=ecoNftlENIS
                                                C. ·-·
                                                           ~
                                                           •                        ~-~

                                               Im ARRESTS
                                           USA;   COFE]. iAGEN,                                                AUSTRAUA;

                                           ~
                                           -mu.AHASSEE,USA;
                                                        5mlN;                 '                                  AUSTRALIA;
                                                                                                          ISTRAUA;G:"ELONG,
                                           AUSmAUA; ~                                                     SRAN; BARCELONA,
                                                              l":'T:l.ANJl;NEDEU.JN,OOU:W.:          :=.TON,USA;ST.RIWL,USA;
                                                                   ~CANADA;"TUCSON,USA;A«:JENX,USA;IIIEXICOCIT'<
                                                                   X; LEEDS, UM; BillSIOL, UK; tE1IICAST1.E, UK;STOCKHOLM,
                                            Watch on DYoulube
                                                                      PEARL,    ~                      LAERADOR,    ~·




                                            PARTICIPATING CITIES INCLUDED:

 Sydney, Australia; Canberra, Australia; Kansas City, USA; Melbourne, Australia; Halifax, Canada; St. Louis, USA; Western
MA, USA+ Middleton, USA; Chicago, USA; Ho Chi Minh City, Vietnam; Miami, USA; Seattle, USA; Bay Area/San Francisco+
Metro, USA; Portland, USA; Eugene, USA; Philadelphia, USA; Vancouver, Canada; Kent, United Kingdom; Montreal, Canada;
 Hudson Valley, USA; NewYork City, USA; Detroit/Dearborn, USA; Brussels, Belgium; Rouyn-Noranda, Canada; Montreal,
  Canada; Peterborough, Canada; Johannesburg, SA; London, UK; Atlanta, USA; Adelaide, Australia; Seoul, South Korea;
San Antonio, USA; Long Beach, USA; Cincinnati, USA; Utrecht, Netherlands; Belfast, Ireland; Toronto, Canada; Providence,
   USA; Fremont, USA; Edmonton, Canada; Tampa, USA; Ceredigion, UK; Athens, Greece; Maui, USA; Ottawa, Canada;
   Dublin, Ireland; Genoa, Italy; Leicester, UK; Zurich, Switzerland; Newcastle, Australia; Manchester, UK; Elizabeth, USA;
 Maple Grove, USA; Copenhagen, Denmark; Rennes, France; Hume, Australia; Catalonia, Spain; Brisbane, Australia; Alice
   Springs, Australia; Tallahassee, USA; Hobart, Australia; Castlemaine, Australia; Geelong, Australia; Darwin, Australia;
 Nigeria; Tarragona, Spain; Barcelona, Spain; Shannon, Ireland; Medellin, Colombia; Houston, USA; St. Paul, USA; Calgary,
     Canada; Regina, Canada; Tucson, USA; Phoenix, USA; Mexico City, Mexico; Margate, UK; Leeds, UK; Bristol, UK;
                     Newcastle, UK; Stockholm, Sweden; Mount Pearl, Newfoundland; Labrador, Canada




A proposal to coordinate a multi-city economic blockade on April
15th in solidarity with Palestine recently received overwhelming
commitments to participate around the US and internationally.




                                                            62
       Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 63 of 181 PageID #:102


The proposal states that in each city, we will
identify and bloc kade majo r choke points
in the economy, focusing on points of
production and circulation with the aim of
causing the most economic impact, as did
the port shutdowns in recent months in
Oakland, California and Melbourne, Australia,
as just a few examples.

There is a sense in the streets in this recent
and unprecedented movement for Palestine
that escalation has become necessary: there
is a need to shift from symbolic actions to
those that cause pain to the economy.

As Yemen is bombed to secure global trade,
and billions of dollars are sent to the Zionist
war machine, we must recognize that the
global economy is complicit in genocide and
together we will coordinate to disrupt and
blockade economic logistical hubs and the
flow of capital.




                                                  63
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 64 of 181 PageID #:103



                      Anti-Repression Resources
                            Content will be updated daily! Click on the plus icon to open the tab.

   Every city should contact their local National Law)(ers Guild chai;iter to begin discussing what legal support they can
              provide, including legal observers, know your rights trainings, and access to a local bail fu nd.




       - U.S. Bail & Legal Defense Funds
         United States A15 Bail & Legal Defense Fund!
        Do nate here to su pport commu n ity m e mbers who are crim ina lize d in t he U.S . for their so lid arity w ith
        Palestine. Should the actions of the state result in the need for it, these funds will be used for bail, legal
        defense, and support for defendants.


            DONATE TO U.S. FUND



         Indianapolis A15 Bail & Legal Defense Fund
        Donate here to support community members who are criminalized in the U.S. for the ir solidarity with
        Palestine. Should the actions of the state resu lt in the need for it, these funds will be used for bail, legal
        defense, and support for defendants.


            DONATE TO INDIANAPOLIS FUND




       + Legal Resources

       + Graphics & Fliers




                            A Reminderfrom the
                           National LaWYer's Guild
                          ~                                ~                                ~




                                                                  64
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 65 of 181 PageID #:104




                    Regional and Local Contacts
      Due to the sensitive nature of this action, some folks organizing for April 15th prefer to remain anonymous, or
   embedded solely within their ex sting communities. If you are organizing within your community and would like your
                          email added here, please send it to A15Economic8lockade@;Qroton.me.

   Australia: lnstagram                                  Maui: lnstagram

   Austria: A15Austria@proton.me                         Melbourne: A15Melbourne@proton.me

   Belfast: A15Belfast@proton .me                        Mexico: lnstagram
   Brussels: A15Brussels@proton.me                       Minn/St Paul: A15mpls-sp@proton.me
   Canada: A15Can@proton.me                              Montreal: A15Mtl@proton.me / lnstagram
   Chicago: A15Chicago@proton.me
                                                         Netherlands: A15Netherlands@proton.me / lnstagram
   Detroit: A15Detroit@proton.me
                                                         Oakland: A150akland@prolon.me
   Dublin: A15Dublin@proton.me
                                                         Oregon: A150regon@proton.me
   Florida: A15Florida@proton.me
                                                         Ottawa: A150ttawa@proton.me / lnstagram
   Fremont: Al5Fremont@lproton.me
                                                         Philadelphia : Al 5 Philly@proton.me
   Halifax: A15HFX@proton.me / lnstagram
                                                         San Antonio: A15SanAntonio@proton.me / lnstagram
   Houston: A15Houston@proton.me
                                                         Seattle: Al5_Seattle@proton.me
   Indianapolis: A15lndy@protonmail.com
                                                         SoCal: Al 5SoCal@proton .me
   Londo n: A15London@proton.rre / Telegram
                                                         Toronto: A15Toronto@proton.me
   Massachusetts: A15WestMass@proton.me




                                                            65
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 66 of 181 PageID #:105




                                      66
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 67 of 181 PageID #:106




                         EXHIBIT 14




                                      67
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 68 of 181 PageID #:107



      WHOIS search results
      Domain Name: A15ACTION.COM
      Registry Domain ID: 2865726453_DOMAIN_COM -VRSN
      Registrar WHOIS Server: whois.squarespace.domains
      Registrar URL: http://squarespace.domains
      Updated Date: 2024-03-22T04:12:37Z
      Creation Date: 2024-03-22T04:12:37Z
      Registry Expiry Date: 2025-03-22T04:12:37Z
      Registrar: Squarespace Domains LLC
      Registrar IANA ID: 3827
      Registrar Abuse Contact Email: abuse-complaints@squarespace.com
      Registrar Abuse Contact Phone: 1-646-693-5324
      Domain Status: clientDeleteProhibited https:// icann.org/epp#clientDeleteProhibited
      Domain Status: clientTransferProhibited https://icann.org/ epp#clientTransferProhibited
      Name Server: NS- CLOUD- E1.GOOGLEDOMAINS.COM
      Name Server: NS-CLOUD-E2.GOOGLEDOMAINS.COM
      Name Server: NS-CLOUD-E3.GOOGLEDOMAINS.COM
      Name Server: NS-CLOUD-E4.GOOGLEDOMAINS.COM
      DNSSEC: unsigned
      URL of the ICANN Whois Inaccuracy Complaint Form: https://www.icann.org/ wicf/
      >>> Last update of whois database: 2024-08-05T18:49:01Z <<<




                                                  68
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 69 of 181 PageID #:108




                         EXHIBIT 15




                                      69
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 70 of 181 PageID #:109




                  This fundraiser is not currently accepting any donations.
                  Thank you for your interest in making a donation, At this time, the fundraiser is not accepting donations. This may be
                  temporary.

                  If you have any questions, please contact us and we'll do our best to help.




                      Fundraiser Information

                      Fundraiser. Community Justice Exchange

                      Website: https://www.communityjust iceexchange.org/nbfn-directory/ r!




         ActBlue Charities is a qualified 501 (c)(3) tax-exempt organization and donations are tax-deductible to the full extent allowed under the law.




                                                                             70
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 71 of 181 PageID #:110




                         EXHIBIT 16




                                      71
9/5/24, 7:11 PM Case: 1:24-cv-08209 DocumentCommunity
                                             #: 1-1 Filed:     09/09/24
                                                      Justice Exchange    Page
                                                                       — Donate via72 of 181 PageID #:111
                                                                                   AB Charities

 archive.today             Saved from https://secure.actblue.com/donate/a15solidarity                                             search                        17 Apr 2024 22:51:00 UTC
     webpage capture                                                                           no other snapshots from this url
                           All snapshots from host secure.actblue.com

      Webpage       Screenshot                                                                                                           share          download .zip      report bug or abuse




           Support the A15 Bail & Legal                                                 Choose an amount:

           Defense Fund!                                                                Your contribution will benefit Community Justice Exchange.


           On April 15th, people from over 30 cities around the world                          $25                      $100                     $250                   $1,000
           will take action to demand a free Palestine.

                                                                                           $
           Donate here to support community members who are
           criminalized in the U.S. for their solidarity with Palestine.
                                                                                        Make it monthly!
           Should the actions of the state result in the need for it,
                                                                                                  Yes, count me in!                               No, donate once
           these funds will be used for bail, legal defense, and support
           for defendants.
                                                                                        Checkout
                                                                                           Have an ActBlue Express account? Sign in to give faster.


                                                                                                                                      Pay with card

                                                                                                                                    Or




            Contribution rules
                1. This contribution is made from my own funds or the funds of an authorizing corporation or other entity, and the funds
                   are not being provided by any other person or entity.
                2. ActBlue Charities is a registered charitable organization formed to democratize charitable giving. All donations made
                   through our website are contributions to the organization(s) to which you've selected to contribute. A copy of our latest
                   financial report may be obtained by emailing info@actblue.com or calling (617) 517-7600. Alternatively, our report
                   detailing our programs, a financial summary, and the percentage of contributions dedicated to our charitable purpose,
                   along with a copy of our license, may be obtained from the following state agencies: FLORIDA (registration #CH46938)
                  – A COPY OF THE OFFICIAL REGISTRATION AND FINANCIAL INFORMATION MAY BE OBTAINED FROM THE
                  DIVISION OF CONSUMER SERVICES BY CALLING TOLL-FREE, 1-800-435-7352 (800-HELP-FLA) WITHIN THE

                                                                                 72
https://archive.ph/czvZV                                                                                                                                                                         1/2
9/5/24, 7:11 PM Case: 1:24-cv-08209 DocumentCommunity
                                             #: 1-1 Filed:     09/09/24
                                                      Justice Exchange    Page
                                                                       — Donate via73 of 181 PageID #:112
                                                                                   AB Charities
                 STATE OR VISITING www.FloridaConsumerHelp.com; GEORGIA (registration #CH012361) – contact ActBlue
                 Charities; MARYLAND (registration #29971) – For the cost of copies and postage, documents and information filed
                 under the Maryland charitable organizations laws can be obtained from the Office of the Secretary of State, State
                 House, Annapolis, MD 21401; MISSISSIPPI (registration #100024326) – Secretary of State’s Office 1-888-236-6167;
                 NEW JERSEY (registration #CH3867000) – INFORMATION FILED WITH THE ATTORNEY GENERAL CONCERNING
                 THIS CHARITABLE SOLICITATION AND THE PERCENTAGE OF CONTRIBUTIONS RECEIVED BY THE CHARITY
                 DURING THE LAST REPORTING PERIOD THAT WERE DEDICATED TO THE CHARITABLE PURPOSE MAY BE
                 OBTAINED FROM THE ATTORNEY GENERAL OF THE STATE OF NEW JERSEY BY CALLING (973) 504-6215 AND
                 IS AVAILABLE ON THE INTERNET AT http://www.state.nj.us/lps/ca/charfrm.htm; NEW YORK (registration #45-25-27) –
                 New York Attorney General’s Charities Registry at www.charitiesnys.com or, the Office of the Attorney General,
                 Charities Bureau, 28 Liberty Street, New York, NY 10005, or (212) 416-8686; NORTH CAROLINA (registration
                 #SL009830) – FINANCIAL INFORMATION ABOUT THIS ORGANIZATION AND A COPY OF ITS LICENSE ARE
                 AVAILABLE FROM THE STATE SOLICITATION LICENSING BRANCH AT 1-888-830-4989.; PENNSYLVANIA
                 (registration #104758) – Department of State, 800-732-0999; VIRGINIA – Virginia State Office of Consumer Affairs,
                 Department of Agricultural and Consumer Services, PO Box 1163, Richmond, VA 23218; WASHINGTON (registration
                 #37969) – Secretary of State, Charities Division, Olympia, WA 98504-0422, 800-332-4483; WEST VIRGINIA
                 (registration #9826) – Secretary of State, State Capitol, Charleston, WV 25305; WISCONSIN (registration #16203-800)
                 – contact ActBlue Charities. Registration with and reporting to these agencies does not imply endorsement, approval, or
                 recommendation of ActBlue Charities.

            Contributions to the Community Justice Exchange, a project of Tides Center, are tax deductible to the extent permitted by
            law pursuant to §170(c) of the Internal Revenue Code. Please visit www.tides.org/state-nonprofit-disclosures for more
            information. Tides Center is a 501(c)(3) nonprofit organization and the nation's largest fiscal sponsor. Our Federal Tax ID# is
            XX-XXXXXXX. Funds may be used for general support.


            By proceeding with this transaction, you agree to ActBlue's terms & conditions.




     ActBlue Charities is a qualified 501(c)(3) tax-exempt organization and donations are tax-deductible to the full extent allowed under the law.




                                                                          73
https://archive.ph/czvZV                                                                                                                             2/2
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 74 of 181 PageID #:113




                         EXHIBIT 17




                                      74
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 75 of 181 PageID #:114




                                Regional and Local Contacts
                  Due to the sensI1Ive nature of this action, some folks organmng for April 15th prefer 10 remain anonymous. or
               embedded solely w1th10 their e,osting communities If you are organizing w1thm your community and would like your
                                    email added here, please send It to A15EcooomicBlnckade@l212.LQn..m.e..

              Australia: l!Wi8Wll                                   Maul: l!Wi8lll01

              Austria: AlSAustria(J)proton me                       Melbourne: AlSMelbourne®proton me

               Belfast: AlSBeltast(J!)proton me                     Mexico: l!Wigr.am

               Brussels: Al5Brussels@proton.me                      Minn/St Paul: A!Smpls-sp(J)proton.me
               Canada: Al5Can@proton.me
                                                                    Montreal: AISMU(J!)proton me / JlWigr.am
              Chicago: AlSChIcago®proton.me
                                                                    Netherlands: Al5Netherlands@proton me / JlWigr.am
               Detroit: AlSDetro,t@proton me
                                                                    Oakland: Al50aklandlJ)proton me
               Dublin: Al6Dubhn@proton me
                                                                    Oregon : AlSOregonillproton.me
               Florida: AlSFlorida@proton me
                                                                    Ottawa: AlSOttawa(i)proton me / lJlliagWll
               Fremont: Al5Fremonl@proton .me
                                                                    Philadelphia: AlSPhilly@proton me
               Halllax: AlSHFX(ll)proton me i llWll8WD
                                                                    San Antonio: Al6SanAntonio@proton.me / J.nm.gmm
               Houston: AlSHouston®proton me
                                                                    Seattle: Al5_Seaule@proton.me
               Indianapolis: A!Slndy(i)protonmall .com
                                                                    SoCal: A!5SoCallJ)proton me
               London: A15London@proton me/ Il!lllgr.am
                                                                    Toronto: A15Toronto@)proton.me
               Ma11achuaett1: A15WestMass@proton.me




                                                                    75
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 76 of 181 PageID #:115




                         EXHIBIT 18




                                      76
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 77 of 181 PageID #:116


   ~~ A15EconomicBlockade


   Donate here to support community members who are criminalized in the
   U.S. for their solidarity with Palestine:



                             Coordinated Economic
                            Blockade to Free Palestine




             United States L
              Bail&Legal
             Defense Fund


                                  A15Action.com




                                      77
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 78 of 181 PageID #:117




                         EXHIBIT 19




                                      78
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 79 of 181 PageID #:118




                                      79
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 80 of 181 PageID #:119




                         EXHIBIT 20




                                      80
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 81 of 181 PageID #:120




                                    palestineactivlsmcollective
                                    Palestine Activism Collective


                                    sjpchicago



                                    a15action'!i




                                                                              palMtine:activismcolle:ctiv~ and 3 othe:rs
                                                                              Chicago o·Hare lntematt0rtal Alrpon



                                                                              palestineactivismcolle<tive Chicagoans and neighbors are
                                                                              uniting and blocking acc~s to O'Hare! When our tax dollars are
                                                                              being used to fund the genocide of Palestinians, we take bold
                                                                              actions-especially on Tax Day' No iust,ce. no peace! PS
                                                                              14w


                                                                              dabbym_ WOOOOOOOOOIIII you have so much supportlll ll                     o
                                                                              14w ~ I kN       Rrply


                                                                               imano__ People like you guys will get our voices ouL Great               0
                                                                              job!
                                                                               4w 3I,kes Reply




                                                                    •         themkmethod I was there' We were trying to get to the airport
                                                                              and very happily made to walk. Great way to talk to the kids
                                                                              more about Gaza. c~asefirell!
                                                                               4w a l•kc-s Reply


                                                                              caitlyn.edson The brav~t people •
                                                                                                                                                        0




                                                                                                                                                        0
                                                                               .,..,.. 5 likes Reply


                                                                              komziekomz16 Fucking fierce• So proud of y'allll! OSPSPS •            •
                                                                                                                                                        0
                                                                              •
                                                                              1•w lS l,kn      Reply


                                                                              groovyandradlcal ChKago will always stand wtlh Palestine •                0
                                                                              PS

                                                                              i•w 3 IAc-J Reply

                                                                    ~         a■,_.i,..,11- nra11inn f n r a u an, c innla nna nf un11r c11fatu -




                                                                    16,013 likes
                                                                    A '   '

                                                                    Q Add a comment

                                         81
    Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 82 of 181 PageID #:121
                                                                    palestineactivismcollective and 3 others
                                                                    Chicago O'Hare lntematio nal Airport



                                                                    palestineactivismcollective Chicagoans and neighbors are
                                                                    uniting and blocking access to O'Hare! When our tax dollars are
                                                                    being used to fund the genocide of Palestinians, we take bold
                                                                    actions-especially on Tax Day! No justice, no peace! Ps
                                                                    14w


                                                                    dabbym_ WOOOOOOOOO!!!! you have so much support!!!!!                                                0
                                                                    14w 56 lik~ Reply


                                                                    imano__ People like you guys \viii get our voices out_ Great                                        0
                                                                    job!
                                                                    14w 3 likes Reply


                                                                    themkmethod I was there! We were trying to get to the airport                                       0
                                                                    and very happily made to walk. Great way to talk to the kids
                                                                    more about Gaza. Ceasefire!!!
                                                                    14w 8 l1ke$ Reply


                                                                    caitlyn.edson The bravest people •                                                                  0
                                                                    14w S l1kH Reply


                                                                    komziekomz16 Fucking fierce! So proud of y'all!!! PSPSPS •                                      •   o
                                                                     •
                                                                    14w 35 likes Reply


                                                                    groovyandradical Chicago will a~vays stand with Palestine •                                         0
                                                                    PS

                                                                    14w 3 likes Reply




                                                           16,013 likes



                                                                 Add a comment.

                                                                    palestineactivismcollective and 3 others
                                                                    Chicago O'Hare lntematKlnal Airport



                                                                    palestineactivismcollective Chicagoans and neighbors are
                                                                    uniting and blocking access to O'Hare! When our tax dollars are
                                                                    being used to fund the genocide of Palestinians, we take bold
                                                                    actiom-especially on Tax Day! No j ustice, no peace! PS
                                                                    14w


                                                                    dabbym_ WOOOOOOOOO!!!! you have so much support!!II!                                                o
                                                                    14w 56 likes Reply


                                                                    imano_             People like-you guys will get our voices out. Great                              0
                                                                    job!
                                                                    14w 3 llkes Reply

 hicago
                                                                    themkmethod I was there! We were trying to get to the airport                                       0
O'Hare                                                              and very happily made to walk Great way to talk to the kids
                                                                    more about Gaza. Ceasefire!!!
 r11ational                                                         14w &like$ Rep!)'
  irport                                Nordstrom :',a<
                                                                    caitlyn.edson The bravest people •                                                                  0
                                                 St Jo              14w 5 likes Rep!)'

                                                      C             komziekomz16 Fucking fierce! So proud of y'all!!! PSPSPS •                                      •
                                                                                                                                                                        0
                                                                    •
                                                                    14w 35 likes Reply


                                                                    groovyandradical Chicago will always stand with Palestine •                                         0
                                                                    PS

                                                                    14w 3 likes Reply


                                                           ~        --.-1· ....11-- ...... , .....~ '   • .,..., . •...,.1............., ....... ... . ., ...., -




                                                           16,013 likes
                                                           Apn115


                                                 r _.,:/   Q     Add a comment .




                                          82
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 83 of 181 PageID #:122




                                                   palestineactivismcollective and 3 others
                                                   Chicago O'Hare lntematioMI Airport



                                                   palestineactivismcollective Chicagoans and neighbors are
                                                   uniting and blocking access to O'Hare! When our tax dollars are
                                                   being used to fund the genocide of Palestinians, we take bold
                                                   actions-especialty on Tax Day! No justice, no peace! PS
                                                   14w


                                                   dabbym_ WOOOOOOOOO!!I! you have so much support!!!!!              0
                                                   14w 56 liktt Reply


                                                   imano __ People like you guys will get our voices out. Great      0
                                                   job!
                                                   14w 3 likes Reply


                                                   themkmethod I was there! We were trying to get to the airport     0
                                                   and very happily made to walk. Great way to talk to the kids
                                                   more about Gaza. Ceasefire!!!
                                                   14w 8 likes Reply


                                                   caitlyn.edson The bravest people •
                                                   14w S likes Reply


                                                   komziekomz16 Fucking fierce! So proud of y'all!!! PSPSPS •   •
                                                                                                                     0
                                                    •
                                                   groovyandradical Chicago will always stand with Palestine •       0
                                                   PS

                                                   14w 3 likes Reply




                                      83
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 84 of 181 PageID #:123




                                chicagodissenters
                                Chicago o,ssenters [.


                                boeingarmsgenocide


                                sjpchicago


                                directactions4palestine




                                                     chicagodissenters and 5 others
                                                     Original &Udio


                                                     chicagodissenters a Chicagoans are currently blockmg the
                                                     entrance to O'Hare International Airport. •
                                                     To make that message clear, Chicagoans joined actions across
                                                     tho country thos Tax Day to·
                                                        ~ Disrupt Boeing s operations
                                                        ~ Demand an end t o the US government's arming of the
                                                     lsraeh regime

                                                     From the rrver to the sea. a Palesune wdl be free in OUR hfeumes

                                                     #StopArmmgGenoc:tde
                                                     #StopArmmglsrael
                                                     #ShutltDown4Palest1ne
                                                     #DivestfromDeath
                                                     #AlS
                                                     #EndTheS,ege
                                                        #StopArm,nglsrael
                                                     #Boe1ngArmsGenoc1de
                                                     #FREEPALESTINE



                                                     ahndreasprattling Sol1danty and be careful
                                                         4w      111,ku Rq,ly


                                                     shardofsunlight •             •   •
                                                         4w ,. hkc, Rt-pty


                                                     leLthem.eat.kake I'm seeing reports from ABC7 that traffic is
                                                     resuming, but the articles don't say where the protesters are
                                                     now Does anyone have more info?
                                                        14,.,.   5 l1kH   Rt-ply




                                               84
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 85 of 181 PageID #:124


                                 chicagod issenters
                                  and
                                 a15actions
                                 Original audio



                                 chicagod issenters ll HAPPENING NOW ll Travelers are w alking
                                 to their gates as drivers are prevented from entering the drop-off
                                 site for all domestic terminals 1-3 at O'Hare, stopping travelers
                                 from reaching their flights.

                                 ON TH IS TAX DAY, THERE WILL BE NO BUSINESS AS USUAL
                                 WHILE GAZANS ARE DYING

                                 #stoparminggenocide
                                 #StopArminglsrael
                                 #ShutltDown4Palestine
                                 #DivestfromDeath
                                 #A15
                                 #EndTheSiege
                                 #StopArming lsrael
                                 #BoeingArmsGenocide
                                 #FREEPALESTINE




                        14,913 likes
                        April 15




                                 directactions4palestine
                                  and
                                 a15actions
                                 Original audio



                                 directactions4palestine Copy: A HAPPEN ING NOW /l
                                 Chicagoans are BLOCKING the ENTRANCE to O'Hare
                                 International Airport, barring flyers from accessing Terminals 1-3.
                                 On this Tax Day, when millions are paying taxes v;hich fund the
                                 ongoing U.S and Israeli bombardment of Gaza, protesters seek to
                                 take dramatic action, alongside other @A 1Sactions organizers
                                 worldwide.
                                 4w


                                 unfav.andres y'all are braindead if you think i'm prioritizing the
                                 lives of people on the other side of the world before mine. i
                                 support the movement, i support stopping the war, and i
                                 support stopping the genocide on BOTH sides. w1at i don't
                                 support is having someone block the road for my flight that i
                                 PAID for to go see my family one last time before i have to fight
                                 another stupid war i don't want to get inv olved in. i get that




                         12, 523 likes




                                                  85
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 86 of 181 PageID #:125




                                chicagodissenters
                                Chicago Dissenters IL


                                sjpchicago


                                directactions4palestine




                                                          !..   chicagodlssenters and 4 others


                                                                chlcagodlsSlnters • HAPPENING NOW ~ Chicagoans are
                                                                BLOCKING the ENTRANCE to O Hare International Airport.
                                                                bamng flyers from access.ng Terminals 1· 3. O n this Tax Day,
                                                                when millions are paytng taxes wh1eh fund the ongoing US and
                                                                Israeli bombardment of Gaza, prot~ors seek t o take dramattc
                                                                action. alongs.de other @a 1Sacuons organizers wortdwtde

                                                                0 Hare lnl'ernattonal Airport ts one of the largest in the country,
                                                                and there w,11 be NO busini!Ss as usual wtule Palestinians suffer at
                                                                the hands of Amenc an funded bombmg by Israel.

                                                                IStopArm1ngGmoc:1de
                                                                #StopArm1nglsrael
                                                                IShuUt0own4Palest1ne
                                                                I01ves1FromDeath
                                                                •Al S
                                                                •EndTheStege
                                                                IStopArm1nglsrael
                                                                • Boe1ngArmsGenoc1de
                                                                #frttpalest1ne
                                                                ,.~
                                                                roomforthenlght Chicago ,s very proud of them
                                                                14-,,, 9 '-n Ri!ply


                                                                shaynesclub Oamnlll I wish I was down there w y'alll!11                0
                                                                14t¥ 19 hk~I lil~ly




                                                                smush2704 • • •       • •    •   No business as usual during           0
                                                                9ffi<Ktde




                                               86
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 87 of 181 PageID #:126




                         EXHIBIT 21




                                      87
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 88 of 181 PageID #:127




                             chicagodissenters
                             Chicago Dissenters C.




                             sjpchicago



                             wearedissent ers



                             shirien.creates




                                                             chicagodissenters and 5 others




       rn~'I
                                                             chicagodissenters A Letter t o the Mayor      (sent July 2, 2024)
                                                             . . bit.ly/ohare40 . .

                                                             Dear Mayor Jo hnson,



       \ fOjf · ~                         1
                                                             We are writing t o urge you to drop the City's cha rges against the
                                                             "O'Hare 40"'. We believe that t he City's Law Department pressing
                                                             crim inal misdemeanor charges o f obstructing traffic- even after
                                                             t he State's Attorney has dropped t heir charges- is an excessive


  JOT J1\J:j01\J                                             response t o non-violent protest and civil d iso bedience.

                                                             The frust ratio n and anger of the Palestinian people has reached a
                                                             boiling point, and several protesters, from Palest1 nlan, Arab,

  FROM THE O'HARE 4                                          Black, M uslim, Jewish and Anishinaabe communities, hold deep
                                                             connections t o the cause, with loved ones and fam ily members
                                                             impacted, and deep reverence for indigenous communities
                                                             everywhere.



             E WILL BE I
                                                             Following the radical tradition of civil diso bedience in Chicago,
                                                             from the Woodlaw n mental health clinic occupatio n of 2012 to
                                                             t he Dyett hunger strike of 2015 (that you participated in ! ), we


              E                                              believe in the powe r of direct action when no ot her tactics work
                                                             meaningfully. We exercised our First Amendment rights and
                                                             participated in non-violent protest. • t No flights were cancelled
                                                             as a result of t his protest on Tax Day, merely so me t ravelers
                                                             inconvenienced, while Gazans face a vastly different inconvenient
                                                             reality: American taxpayer funded gen0cide.

                                                             Targeting us will only further isolate liberation movements.
                                                             Add it io nallv. orosecutina and convictina the O"Hare 40 and all




                                                     1,467 likes
                                                     July 19


                                                     Q Add a comment...




                                                88
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 89 of 181 PageID #:128




                         EXHIBIT 22




                                      89
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 90 of 181 PageID #:129




                             chicagodissenters



                             sjpchicago




                                                               chicagodissenters and 2 others



                                                               chicagod issenters • CALL TO ACTION: The O'Hare 40 need your
                                                               support at court!

                                                                ~ Wednesday, July 31 at 9 am 5555 W. Grand Ave


                                                               Join us and send a message to the City: CHICAGO FIGHTS
                                                               GENOCIDE NOT PROTEST

                                                               ""
                                                               shiamo2023 All of America watches my sad, tearful and painful
                                                                                                                               0
                                                               stories. Yes, they are really painful.  11) It        0
                                                               .. .   .,         11)-
                                                               ':IN Reply


                                                      -.._,.   i_mo hammed
                                                                                                                               0




                                                               5w Reply




                                                      949 likes
                                                      July29



                                                      Q Add a comment...



                                                 90
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 91 of 181 PageID #:130




                         EXHIBIT 23




                                      91
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 92 of 181 PageID #:131




                                                               a1Sactions and 2 others


               Coordinated Economic                            alSactions On Apnl 15th. peopl e from over SO cities around the
              Blockade to Free Palestine                       world will take action to demand a free Palestine.

                                                               Donate to t his support fund to support community members
                                                               who are criminalized in the U.S. for their solidarity with Palestine

                                                               Should t he actions of the state result in the need for 11., these
                                                               funds will be used for ball, legal defense, and support for
                                                               defendants




    United States                                              #a 1Sforpalesime
                                                               ,..
                                                               mffernandokimsantos67       e ia t

     Bail&Legal                                                1-4w Reply


                                                               aniqa_anwar Donated, love and solidarity •
                                                               14w Reply




    Defense Fund                                               quintessentlalquinny I shared this post and the link to my
                                                               story!! PSPSPS
                                                               1-4w 6likes Reply


                                                               quintessentialquinny #freepalest1ne PS •      t..
                                                               14w 6 likes Reply

                                                                      View rcplie, (1)


                                                               collettemtwalker Solidanty
                                                               The people united will never be dMded
                                                               PSPSPSPSPSPS




                                                    1,473 likes
                                                    Ap, 1110
                   A15Action.com
                                                    Q Acid a comment




                                                    1   @ alSactions and 2 others


         SUPPORTA15ARRESTEES                                   alSactions BREAKING: Pro-Palest1man act1Vists have blockaded
                                                               commerce in cities around the world taking action to demand a
                                                               free Palestine.

         IN THE UNITED STATES                                  Donate to this support fund to 100• support community
                                                               members who have been arrested in the U.S. for their solidarity
                                                               with Palestine

                                                               These funds will be used for bai l, legal defense, and support for
                                                               defendants

                                                               #a 1Sforpales1me
                                                               14w


                                                               enayat_ahmed20 Amazing JOb everyone of them! Supportmg                   0

                                                               14w S like$ Reply


                                                               paulischae One two three four five. Boost           •   •
                                                               14w 4hka Reply                                                           "
                                                               the.nesbu Thank you to everyone protesting today •                       o
                                                               141w 11 1,kei Reply


                                                               maymarz_ I second love.hberat10n 's comment. Would love to               0
                                                               see t ransparency of how they funds are used and also would
                                                               love to see that no body's left behmd.
                                                               14w 36 ltkes   Rept-J


                                                               just~add_empat hy You're all domg amazing work!!11 Bless you!!           0
                                                               •
                                                                                                                                      [;;:I




                                           92
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 93 of 181 PageID #:132




                         EXHIBIT 24




                                      93
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 94 of 181 PageID #:133




                             directactions4palest ine
                             Direct Action'.> for Pulc:.tinc



                             uscpr




                                                               "4t        dlrectactions4palestine and 2 ot hers



                                                               •          directactions4palestine • URGENT JAIL SUPPORT NEEDED •

                                                                          40 protestors have been arrested at O'Hare International Airport
                                                                          in IL and are being held in the 25th district police sration.

                                                                          CALL AND DEMA~D THEIR RELEASE: (312) 746- 8605

                                                                          PALESTINE Wil l BE FREE!

                                                                          #A15Action
                                                                          ,ow


                                                                          lemurs_man The ;1uy w ho answered had a very soft voice. He        o
                                                                          asked if there was anything else he could help me with lol
                                                                          20w 30 likes   Rep y


                                                                          rneggriffes l et's confuse the algo ~ describe your                0
                                                                          perfect/ dream pet (whether you have it yet, or not)
                                                                          20W 88 likes   Rep y


                                                                           -     View replies {30)


                                                                          2natown_ I just called and only got a dial tone??? Is that from    0
                                                                          all t he calls or is their line off the hook now?
                                                                          20W 7 likes Reply

                                                                           -     View replies (1)




                                                               8,608 likes
                                                               April 15



                                                               Q Add a comment...




                                                 94
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 95 of 181 PageID #:134




                         EXHIBIT 25




                                      95
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 96 of 181 PageID #:135




         NSJP National Conference, 2018 (UCLA)




                                                                                            WHO ARE WE?

                                            OUR PURPOSE
                                            Our Unique Role wirhin rhe Movemenr

                                            Building on the legacy & impact of the student movement in occupied Turtle Island (U.S. and
                                            Canada), National Students for Justice in Palestine (Na1ional SJP) seeks to empower, unify, and
                                            support student organi zers as they push forward demands for Palestinian liberation & self-
                                            Cletermmatron on thelr campuses.


                                            The student movement for the liberation of Palestine f irst began in the 1950s through the
                                            formation of the General Union of Palestiniar Students (GUPS). From the U.S. to Palestine,
                                            GUPS chapters galvanized thousands of students towards a liberated Palestine. The 90s' wave
                                            of corrupt polilicians and faulty deals changed the l iberation movement as we knew it and
                                            many institutions. including the student movement. collapsed. In the absence of a Palestinan
                                            student movement, organizations such as Students for Justice in Palestine emerged across
                                            occupied Turtle Island (U.S. and Canada) as~ way to educate, advocate, and mobilize in
                                            support for Palestinian liberation.


                                            Nearly two decades after the formation of tht first Students for Justice in Palestine. the
                                            movement for Palestine has taken colleges and universities across North America by storm.
                                            With over 200 campus Palestine solidarity organizations across the continent, students have
                                            been l eaders in uplifting demands for freedom. justice. and equality for the Palestinian people


                                            As momentum for Palestine solidarity builds. the need for organizational cohesion and a shared
                                            political framework is vital to building and sustaining the Palestine solidarity movement on
                                            campus. Combating the increasingly violent attempts to scare Palestine solidarity organizers
                                            inlo silence requires a strong, unified student movement that is able to build and leverage
                                            power in the face of repression and pushbact.




                                            OUR MISSION                                                                                        +


                                            OUR VISION                                                                                         +


                                            OUR VALUES                                                                                         +


                                                                                                          @ 1£1 f




                                                                                        96
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 97 of 181 PageID #:136




                         EXHIBIT 26




                                      97
9/5/24, 11:36 PMCase: 1:24-cv-08209 Document  #: 1-1
                                        SJP National    Filed:–09/09/24
                                                     Convention              Page
                                                                Palestine Program     98US
                                                                                  at the ofSocial
                                                                                            181Forum
                                                                                                  PageID #:137
 The Wayback Machine - https://web.archive.org/web/20111221040517/http://ussf.palestineconference.org:80/sjp-national-conference/

   HOME       ABOUT THE PALESTINE PROGRAM           DONATE       CONTACT US        REGISTER FOR USSF       SJP NATIONAL CONVENTION        USSF BLOG




   Follow the Palestine Program
   online at the USSF Palestine                                             STUDENTS FOR JUSTICE IN PALESTINE
   Program Blog!

   To contribute your experiences
                                                                                      NATIONAL CONVENTION 2010
   and entries to the blog, email
                                                                               Hotel St. Regis - 3071 West Grand Boulevard, Detroit, MI 48202
   ussfblog@
   palestineconference.org.
                                                                                      Wednesday, June 23rd—Thursday, June 24th, 2010
   Follow us on Twitter @uspcn!
                                               American Muslims for Palestine is facilitating the national convening of Students for Justice in Palestine chapters in the US. In
   Also follow Electronic Intifada
                                               the past decade, student activism on Palestine has grown exponentially, and continues to expand and intensify rapidly. The
   @intifadaLive
                                               convention is part of the Palestine Program of the US Social Forum, and as such hopes to facilitate student involvement with
                                               other social justice movements in the US, particularly campus and student organizers and campaigners. This convention aims
   Palestine Program                           to be a convergence of the growing collaborative work across SJP chapters, strengthening our collective organizing, and
                                               offering each other support in local and campus political activism. It will be an interactive and dynamic conversation aimed at
       Workshops                               empowering and building capacities. Together, we can seed divestment on every campus, educate our fellow students, and
       People's Movement                       build meaningful relationships with social justice movements across all our campuses.
       Assemblies
                                               Speakers include Hatem Bazian, Julia Salameh, and student representatives from university divestment campaigns across the
       Plenary Speaker
                                               country.
       Palestine Tent
       SJP National Convention                 ALL SJP members are invited to attend this convention.

       US Assembly of Jews                     Wednesday, June 23, 2010
       Confronting Racism and
       Israeli Apartheid                       11am – 2pm
       Solidarity Mural
                                               Session One- Introduction to SJP work on campuses
       Support the Palestine
       Program                                 a) Forming an SJP and gathering support for your SJP
       Register for Space in
       Palestine Tent                          b) Establishing points of unity

       Sponsors and Donors                     c) Creative tactics for Palestine education on campus
       Links and Resources
                                               d) Solidarity with allies across social justice movements
       USSF Blog
       Downloadable Palestine                  e) The matter of “dialogue”
       Program PDF
       Boycott, Divestment and                 f)    Setting goals and building long-term sustainability
       Sanctions (BDS) FAQ
                                               3:30pm – 6:00 pm
       PDF Poster
       Facebook                                Session Two- Raising Campus Awareness
       USSF main site
                                               a) Alliances and Solidarity-building
       Register for USSF
       USPCN main site                                i. Establishing and initiating alliances with campus organizations and campaigns

   USSF Blog                                          ii. Key organizations and campaigns and “natural” allies

                                               b) Sustaining a critical mass with:
       USSF Synthesis PMA
       supports BDS, condemns                         i.     Student body
       Zionism as racism
       United Against Racism                          ii.    Board members, Faculty, staff, unionized workers
       PMA Resolution from the
       USSF                                           iii.
                                                                                        98
                                                             Alumni, graduate students, professionals

https://web.archive.org/web/20111221040517/http://ussf.palestineconference.org/sjp-national-conference/                                                                            1/2
9/5/24, 11:36 PMCase: 1:24-cv-08209 Document  #: 1-1
                                        SJP National    Filed:–09/09/24
                                                     Convention              Page
                                                                Palestine Program     99US
                                                                                  at the ofSocial
                                                                                            181Forum
                                                                                                  PageID #:138
       BDS Resolution from the                 iv.      Local political and social establishment
       US Social Forum
       USSF People’s Movement             Thursday, June 24th, 2010
       Assembly Video
                                          10:30 am – 1:30 pm
       Interview with Haithem El-
       Zabri of                           Session Three- Experiences in University Divestment
       PalestineOnlineStore at
       USSF                               Student representatives will discuss the lessons learned, and ways forward in their divestment campaigns:
       Arab American News on
                                               a) Hampshire College
       Arab participation and
       joint solidarity
                                               b) University of Michigan-Dearborn
       Report from Palestinian
       Solidarity: Past Present                c) University of California at Berkeley
       and Future workshop
       New Free Speech TV                      d) Evergreen State
       Interviews with Ziad
                                               e) Brown University
       Abbas and Ann Wright
       Jamal Juma’ at Thursday                 f)     University of Arizona
       evening plenary
       New Self-Organized                      g) University of California-San Diego
       Panel on Palestinian
                                          2:30 – 5pm
       Political Prisoners!
                                          Session Four- Launching BDS/divestment campaigns on campus

                                          a) Strategies and tactics for shaping the campaign

                                               i.      Preparations and structures for BDS organizing

                                               ii.     Campus media access and utilization

                                          b)           Strengthening and intensifying connections with student governments and unions

                                          c) Building sustainable divestment campaign infrastructure

                                          d) Developing and implementing a research profile on university investments

                                          Session Five- Establishing and Setting a National Calendar for SJPs

                                               i.      National Coordinated Actions

                                               ii.     Israeli Apartheid Week

                                               iii.     National Support for Divestments

                                               iv.      Expansion and solidifying of Students for Justice in Palestine-National

                                          All SJP National Convention attendees should attend the Thursday, June 24th, 2010 evening plenary, 6:30-9pm at Cobo Hall,
                                          featuring Jamal Juma, BNC co-founder and Palestinian grassroots anti-apartheid wall leader, live from Palestine.

                                          SJP members are strongly encouraged to attend workshops, PMAs, and other events throughout the US Social Forum when
                                          the Convention is not in session. They should especially attend the People’s Movement Assembly on BDS on Friday, June
                                          25th, from 1-5:30pm at Cobo Hall: O3-46. This will be the major session on BDS organizing nationally.

                                          The Program Book for the US Social Forum can be seen here: http://www.ussf2010.org/programbook

                                          For access to any US Social Forum activities, all SJP attendees must register online at http://www.ussf2010.org/register or
                                          onsite in Cobo Hall.

                                          To register and for further questions:

                                          Contact: Awad Hamdan, awad.hamdan@ampalestine.org, 773.951.2020




                                                                                   99
https://web.archive.org/web/20111221040517/http://ussf.palestineconference.org/sjp-national-conference/                                                                 2/2
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 100 of 181 PageID #:139




                                      100
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 101 of 181 PageID #:140




                      A.RTWORK & DESIGN BY


                        { Cover Art-Front & Back}
                           EMILY HENOCHOWICZ
            Emily is a 21-year old art student from. Maryland.
                         thirstypixels.blogspot.com


                                  {Program}
                               NAMIRA ISLAM
          Namira is a 22-y ear old law student from Michigan.
                        namiraislam.daportfolio.com




                          L.S. SOCIAL .FORUM
                                DETROIT, MI
                        June 22 nd-June 26th . 2010




                                      101
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 102 of 181 PageID #:141




          TABLE OF CONTENTS
          Statement from U:SCPN                                      5
          What is a PMA?                                             G
          {PMA} Justice in Palestine                                 7
          {PMA} The Way Forward                                      8
          {PMA} United Against Racism & War                          9
          {USPCN Workshop} International Law & Gaza                  10
          {USPCN Workshop} Labor For Palestine                       11
          {Wednesday} USSF Workshops                                 12
          {Thursday} USSF Workshops                                  16
          {Friday} USSF Workshops                                   24
          Plenary Speaker                                           27
          SJP National Conference                                   28
          Palestine Tent                                            30
          Youth Participation                                       32
          Solidarity Mural                                          33
          Highlighted Organizations                                 34
          Adverts                                                    41
          Acknowledgements                                          42
          PMA & Workshop Locations                                  44
          Notes & Contacts-Space for You                            45




     4




                                       102
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 103 of 181 PageID #:142




       AMP calls on Students for Justice in Palestine chapters to come tcgelnEr as




       SJP NATIONAL
       SJP Natimal s,ee-ks to . ..

       1 I lr it.:i th A \ l od: for F'..lA~tin.:.- ( l:O r-..Tllp l!;A-!; r't'lmnnhr.111 rh-A llnifl:Hi ~1A!o
                           0



       2 011or SUPlOr. to yocr SJP
       ~   .Snar9 re-sou1-.;.;t.s, ~:q:>airEe1ce: cm knr...4\•mj~s
       4 I l.;lp Ylll .i nrg !'lr.u ~ .;,.,');,ffl:, F.rt:1 t::ilr. ~   ;::i;flk'l;r.\
       5 Help tao:Jtat•} ,jl,sostmcnt c,3,rpaJgns <m ;-oLr cam~l<S

       f1lr maa, hl"ormal lon, ~mall l ~Jpnalonal.o, g er c.?I17:18.598.4267 ert :21




                                AM E=ll CM, ML S_l t✓ S FCR PAL=STINE                                            ,,,•..,.,,.a r,1palestine. org




                                                                                                                                                  37



                                                                                         103
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 104 of 181 PageID #:143




                          EXHIBIT 27




                                      104
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 105 of 181 PageID #:144

                 •                                                                                 About AMP "'   I Contact us I 0.

           Q.
            MA        P    American Mu5limti for PaltKtin•
                           .,..,Po..,. ..,,., I f ,,,_,   d~ca, a" ""a ac,
                                                                                              oeoo-
          EDUCATE                                                ORGANIZE               ADVOCATE                        MEDIA




           What is AMP?
                                                                                         +
           When was AMP formed?
                                                                                         +
           What is AMP's mission?
                                                                                         +
           What does AMP do?


           AMP educates the public and the media by holding educational events, such
           as lectures, workshops and trainings. We also publish high-quality educational
           materials. which we distribute for free to politicians,journalists, students and
           the public at large. We also work in broad-based coalitions and support
           campus activism through Students for Justice in Palestine and Muslim
           Student Associations.



           Who fund s AMP?
                                                                                         +
           Are donations to AMP tax exempt?
                                                                                         +
           How can I g et involved with AMP?
                                                                                         +
           Can I open my own AMP c hapter?
                                                                                         +




                                                                             105
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 106 of 181 PageID #:145




                          EXHIBIT 28




                                      106
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 107 of 181 PageID #:146




                                           Collaborators



                        ♦
                            uscpr
                            US Campaign for Palestinian Rights




                       •    ampa lestine



                            pa lesti ni ante m in istcoIlective



                            nationalsjp




                                                 107
   Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 108 of 181 PageID #:147

                                                       "'        usepr and 3 others



                                                       ♦         uscpr STRIKE FOR GAZA! #Strike4Gaza

                                                                 Join us o n Tax Day, April 15th, for a national strike demanding an
                                                                 end to the U.S.-funded genocide in Gaza. We call on all
                                                                 community organizations, places of worship, businesses,
                                                                 students and workers to go on strike on April 15th. Together
                                                                 we"ll demonstrate the power of the masses of people who stand
                                                                 with Palestine, and raise our demands for a permanent ceasefire,
                                                                 an end to all U.S. backing and military fund ing of Israel, and th e
                                                                 total liberation of Palestine with the right of return for all
                                                                 Palestinians.

                                                                 Workers: Call off work! Students: Don"t go to school! Business
                                                                 owners: Close your shops! Join a local action!

                                                                 Learn more at Strike4Gaza.org .

                                                                 11Strike4Gaza #FreePalestine
                                                                 21w


                                                                 _ethan.lin1 I wish I could skip my Calculus final on the 15th          0
                                                                 21w 4 likes     Reply

                                                                 -      View replies (4)




                                                       e         tallteecee For strikes to be impactful, it must last more than
                                                                 one day and be a collective effort.
                                                                 21w 22 l ikes Reply
                                                                                                                                        0




                                                       o av
                                                       3,777 likes
                                                       April 5



                                                       Q Add a comment...

                                                       "'        uscpr and 3 others.



  ENDOASm BY                                           ♦         uscpr STRIKE FOR GAZA! #Strike4Gaza

  AI-Awda, American Muslims for Palestine                        Join us on Tax Day, April 15th, for a national strike demanding an
                                                                 end to the U.S.-funded genocide in Gaza. We call on all
  {AMP), National Students for Justice in                        community organizations, places of worship, businesses,
                                                                 students and worke rs to go on strike on April 15th. Together
  Palestine { NSJP), Palestinian Assembly                        we'll demonstrate the power of the masses of people who stand
                                                                 with Palestine, and raise our demands for a permanent ceasefire,
  for Liberation {PAL), PAL - Alawda NY/ NJ,                     an end to all U.S. backing and military funding of Israel, and the
                                                                 total liberation of Palestine with the right of return for all
  Palestinian Feminist Collective { PFC),                        Palestinians.

  Palestinian Youth Movement {PYM),                              Workers: Call off work! Students: Don't go to school! Business
                                                                 owners: Close your shops! Join a local action!
  Tamkeen, US Campaign for Palestinian
                                                                 Learn more at Strike4Gaza.org.
G Rights (USCPR), Within Our Lifetime
                                                                 #Strike4Gaza #FreePalestine
  {WOL)                                                          21w


                                                                 _ethan.lin1 I wish I could skip my Calculus final on the 15th          0
  ANSWER Coalition, The Council on American-Islamic              21w 4 likes     Reply

  Relations (CAIR), Islamic Circle of North America               -      View replies (4)
  (ICNA), Majlis Ash-Shura of New York, Muslim Legal
  Fund of America, Muslim American Society (MAS),
  MSA National, MSA West, Muslim Ummah of North
                                                       e         tallteecee For strikes to be impactful, it must last more than
                                                                 one day and be a collective effort.
                                                                 21w 22 likes Reply
                                                                                                                                        0



  America (MUNA), The People's Forum, The US Council
  of Muslim Organizations (USCMO), Young Muslims       o av
                                                       3,777 likes
                                                       April 5
                                     #stri k,e 4gaza
 APRll 15            JORGAIA
                        .    strike4gaza.org           Q Add a comment...

                                                 108
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 109 of 181 PageID #:148




                          EXHIBIT 29




                                      109
         Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 110 of 181 PageID #:149



                   As NSJP's main fiscal sponsor, WESPAC is largely responsible for its
                   activities, while providing it with a legitimate fac;ade for its actions.
                   WESPAC serves as a "fiscal sponsor" for the following organizations: 211
                       1. National Students for Justice in Palestine (NSJP)
                       2. US Palestinian Community Network (USPCN)
                       3. Palestinian YoutH Movement (PYM)
                       4. Adalah New York
                       5. International Jewish Anti-Zionist Network (IJAN)
                       6. Palestine Freedom Project (PFP)


                                                               DONATE TO NATIONAL SJP TODAY!



                                           Amount                                NatlonalStuc»ntstor JIJ'§;tico~ ~Suppor1.'5owr two


                                               S20     Ill         S100   ssoo
                                                                                 hundred P.illlffti,,. solidMity or~iu,tions on urwersny campuses
                                                                                 1<1oss occupied Turtle ISlondl (US Ind conodo) ~ prOfflOlle on
                                                                                 aooflda Qrounc!Qd in troodoffl. SOlldatity. OQU&lity. s.tf'Qty. and
                                                                                 h6toncal jusllCo. alld WO s«!k t o ~ tho student m ~ l fOf



                                            $50                                  P•stini.in lbef11tion to a highef leve4 of potitici,I ~ l We
                                                                                 aff 10 dc!YQtop a connQCtQd. dlsclpllnod mowm4!fll C!QJIPPQd Ynth
                                                                                 tho tool!!. nocessa,y to contnbuto to d)Q figh1tor Pak!suo1an
                                                                                 li!K>rlltion.
                                           D MONTHLY                             As ,1 QlafltOOlS. VOU~ff. voliJnlMt411\itlfl OtCPnltal on. WQ ,oty
                                                                                 on community support to conunue out work.

                                           Your lnformc11Uon                     Support the Rllden1 mc,w,ment by donlltinQ locloyi Tbitnk )'0'l

                                                                                 All O'onot!OnS oro taK-doduct~ lbu W1f rocOM> a tollow~p omaU
                                                                                 wrth rekt"OJW mfoonooon. FotonyfurtiNYquestJOm. pteo'5'1 contact
                                                                                 litJOffC.fflMliMOljj().0,0




                                           Payment Information




                   "I'd like to cover the transaction fee so more of my
                   donation goes to WESPAC Foundation Inc. " '212

                   Figure 22: NSJP's donations go to Wespac Foundation Inc. 213



From Institute for the Study of Global Antisemitism & Policy, National Students for Justice in Palestine (NSJP):
Antisemitism, Anti-Americanism, Violent Extremism and the Threat to North American Universities, (2024) (available at
isgap.org/follow-the-money/).




                                                                    110
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 111 of 181 PageID #:150




                          EXHIBIT 30




                                      111
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 112 of 181 PageID #:151




                                            NATIONAL STUDENTS FOR JUSTICE IN
                                                       PALESTINE
                             Supporting over 350 Palestine solidarity organizations across occupied Turtle Island (-North AmericaN). we aim to develop a student
                                           movement that is connected, disciplined, and equipped with the tools necessary achieve Palestinian liberation.




                                             POPULAR UNIVERSITY FOR GAZA SOLIDARITY ENCAMPMENTS
                         _,_,,,


                                      -
                     ....,
                              + ~cryu.i e

                     -       ~J " \{.


                             ~
                     _9               SIC
                                  -    -~:t.--, ._

                     •            ~:Au
                     -          J 'Auf                         r
                                       /                      ./

                     See full screen




                                                                         112
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 113 of 181 PageID #:152




                          EXHIBIT 31




                                      113
     Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 114 of 181 PageID #:153




                                               sj pchicago       l@\i.f:I          M essage


                                               800 p osts        35.4K followers         234 followi ng

                                               SJP Chicago
                                               Cause
                                               A unified front of Chicagoland SJPs, supporting & uplifting one another in the struggle for
                                               Palest inian liberation ... more
                                               0 linlktr.ee/sjpchicago + 2




       7/4os .             -   6/22 .          Buckingham ...          UChi •              5/29/24 PS
                                                                                                               e  PCFP '24              2024




                                                11!1 POSTS         © REELS            ® TAGGED


.U.Y 24 · NA'IDIAL MOIIIJlA1DI FOR pAlESll(,

ti I) ;I;t11Ij~ 111 :j*ff;' QIiI] g CIIICIIO REJECTS
                 1

GEi' ON ntE PAL BUS
TO D.C. FROM (j)
CHICAGO' """"''"'..,  ■
                          0 JULY 23. &00 PM
                           119H H WHwy "1at9
                                                    IETINYIHU




                                                                     114
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 115 of 181 PageID #:154




                          EXHIBIT 32




                                      115
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 116 of 181 PageID #:155




                                chicagodissenters
                                Chicago Dissenters IL


                                sjpchicago



                                directactions4palestine




                                                          $.f l   chicagodissenters and 4 others




   BREAKING:                                              ~ BLOCKING the ENTRANCE to O'Hare International Airport.
                                                                  chicagodissenters • HAPPENING NOW • Chicagoans are

                                                                  bamng flyers from accessmg Terminals 1·3. On this Tax Day,
                                                                  when mdlions are paying taxes which fund the ongoing U.S and
                                                                  Israeli bombardment of Gaza, protestors seek to take dramatK
                                                                  action, alongside other @a1 Sact1ons organizers worldwide

                                                                  O' Hare International Airport is one of the largest in the counIry,
                                                                  and there will be NO busin~ s as usual while Palestinians suffer at
                                                                  the hands of American funded bombing by Israel.

                                                                  #St opArm1ngGenocide
                                                                  #St opArm1nglsrael
                                                                  #ShutltDown4Palestme
                                                                  #OivestFromDeath
                                                                  -'A1 S
                                                                  #EndTheS1ege
                                                                  #StopArm1nglsrael
                                                                  •Boe1ngArmsGenocide
                                                                  #freepalest1ne

                                                                  "·
                                                                  roomforthenight Chicago is very proud or them                         0
                                                                  ,..,., 9 likn Reply


                                                                  shaynesdub Damn!!! I wish I was down there w y'all!!•!                0
                                                                  14w 19 1,kes Reply


                                                                         View replies (1)


                                                                  smush2704 •      • •      •   •   •   No business as usual during     0
                                                                  genocide




                                              116
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 117 of 181 PageID #:156




                                                       chkagodissenters and 4 others



                                                       chicagodissenters • HAPPENING NOW • Chicagoans are
                                                       BLOCKING the ENTRANCE to O'Hare International Airport.
                                                       bamng flyers from accessing Terminals 1·3. On this Tax Day,
                                                       when millions are paying tIDCes which fund the ongoing U.S and
                                                       Israeli bombardment of Gaza, protestors seek to take dramatK
                                                       action, alongside other @al Sact1ons organizers worldwide

                                                       O' Hare International AirPort is one of the largest in the country,
                                                       and there will be NO business as usual while Palestinians suffer at
                                                       the hands of American funded bombmg by Israel.

                                                       #StopArm1n9Genocide
                                                       #StopArm1nglsrael
                                                       •Shutlt0own4Palestme
                                                       #OivestFromOeath
                                                       #A1S
                                                       #EndTheS1ege
                                                       #StopArm1nglsrael
                                                       #Boe1ngArmsGenocide
                                                       #fretpalest1ne

                                                       ""
                                                       roomforthenight Chicago is very proud of them.
                                                       1.Cw 9 li ke, Reply                                                     "
                                                       shaynesclub Oamnlll I wish I was down there w y'all!! 11                0
                                                       ,,Cw   19 l,kes Reply




                                                       smush2704 •             • •   •   •   •   No business as usual during   0
                                                       genocide
                                                       14w    7 lilt...c   Ai-l'YV




                                      117
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 118 of 181 PageID #:157




                          EXHIBIT 33




                                      118
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 119 of 181 PageID #:158




                                                      chicagod!issenters and 4
                                                                                   • Follow
                                                      others
                                                      Original audio


                                            •         chicagodissenters 6w
                                                          HAPPENING NOW          Travelers are
                                                      walking to their gates as drivers are
                                                      prevented from entering the drop-off site
                                                      for all domestic t erminals 1-3 at O'Hare,
                                                      stopping travelers from reaching t heir
                                                      flights.

                                                      ON THIS TAX DAY, THERE Will BE NO
                                                      BUSINESS AS USUAL WHILE GAZANS ARE
                                                      DYING

                                                      -#stoparminggenocide
                                                      lfStopArminglsrael
                                                      #ShutltOown4Palestine
                                                      -#OivestFromDeath
                                                      -#A15
                                                      #EndTheSiege
                                                      #StopArming Israel


                                            o a v
                                            14,911 likes
                                            April H



                                                      Add a com e t ..                     Q

                                      119
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 120 of 181 PageID #:159




                          EXHIBIT 34




                                      120
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 121 of 181 PageID #:160




                                     ~                            16:H:4
                                          chicagodlssenters
                                          Chicago Dissenters C.



                                     ur   sjpcticago
                                                                  -;:;.;;
                                     ~    wearedlssenters         -;;;.;:;
                                          boeingarmsgenoclde      -;;;.;:;




                                                                       •        chkagodissenters • UPDATE • On MONDAY 40 Chicagoans
                                                                                were atrMted after blocking the ttiuance to O'Hare lnttmational
                                                                                Airport for 1 hour and 20 mmutes Most individuals we-re
                                                                                detained fOf al le,sr 12 hou~ .,lnd wme up 18 hwri;. The
                                                                                sign,hcance of the srte of Kt1on cannot be .gnored. for the role
   On Tax Day, Chicagoans took                                                  th.al both Boeing and the U.S. gowmment play Ill the ~noclde
                                                                                of Palestinians
   part in a worldwide economic
                                                                                While protesto.-s at O'Hare ha..,e ~n re5eased, comrades at
   blockade to free Palestine,                                                  another achon that toolc place on Monday are still bemg llek:l.
                                                                                Follow along at Ouspr;:n for updates, demand1,, and ways to
   known as A15, blocking the 1-                                                support.

   190 highway entrance to                                                      •StopArmin~ooctde
                                                                                #StopArminglsriel
   O'Hare International Airport                                                 #Shullt0own4Palestine
                                                                                #Orve-slfromOeath
   for 1 hour and 20 minutes                                                    #AIS
                                                                                •EndThtSttgt
   resulting in 40 arrests.                                                     •StopArm1oglsrael
                                                                                •BoelOQAfmsGe-noctde
                                                                                #FREEPA.USTINE

   Drivers were blocked from                                                         ' J Bw


   entering the drop-off site for                                               subte-xtreadnothingMw Such MTlportant conn«11ons to bring
                                                                                toattenttorn
   all domestic terminals 1-3 at                                                11,. 411ffl Rtply


   O'Hare, preventing travelers                                                 samntalvo •    e
   from reaching their flights.                                                 11 .. R.eply


   Banners dropped at sites                                           ~         ztntm1111 I-le-roes

   across the city, coincided with                                    o av
   the action.                                                        2,4101ilce-s
                                                                      ~·•I 16


                                                                  0   Q Add a com~nt




                                                        121
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 122 of 181 PageID #:161




                                                      chkagodissente!'l • UPDATE • On MONDAY 40 Chicagoans
                                                      ~~ a rre-s:ttd aher blocking the enuance to O'Ha,e lntematk>nal
                                                      Airpo« for 1 hour and 20 minutes. Most indrviduals ~re
                                                      det ained for at ~ ast 12 hours, and some up 18 hours The
                                                      sigl\lfKance of the me of action cannot be tgnored, f« the role
                                                      that both BM1n9 and t~ U.S gowmrN"rtt play 11'1 the genocade
                                                      of Palestinians

                                                      While protestOtS ,u O'Hare have been rete-ased. comr~s at
                                                      another acuon ttiat tool: place on Monday are HIii bemg lleld
                                                      Follow along at Ouspcn for updates, demands, and ways to
                                                      suppOrt.

                                                      •StopArm1ngGenocide
                                                      •StopArmmglsrael
                                                      #Shutlt0own4Palestlf'le
                                                      •~tFromOealh
                                                      JA15
                                                      •EndTheStege
                                                      •StopArm1ng1srael
                                                      •Boe1n9AtmsGenocide
                                                      #FRUPALESTINE
                                                          N;i l~w


                                                      subtextreadnothingnew Such Important connKtions to bnng
                                                      t oattentton!
                                                      1 w "'liltn     II.('~



                                                      Hmf\t ollY<t . . .

                                                      1Jw   ~ply

                                                      ienem1111 Het oes




                                                      chicagodissenters and So thtu
                                                      Oik ago, IH,nols



                                                      chkagodissenters • UPDATE • On MONDAY 40 Chicagoans
                                                      ~ff! atrested aher blocking the entrance to O'Hare lntemation:d
                                                      Airpon: for 1 hour and 20 minutes Most individuals we-re
                                                      detained lor .11 ~ ast 12 hours, and w me up 18 hour5, The
                                                      sig™f,cance of the srte of action cannot be tgnored, f« the role
                                                      tha t both Boeing a nd the U.S. government play ,n the genocide
                                                      of Palestinians

                                                      While protesto,s at O'Hare have been released, comrades at
                                                      another actkm I.hat tool: place on Monday are still bemg lleld
                                                      Follow along a t @uspcn for updat es, demilnds, and ways lo
                                                      support.

                                                      •StopArm1~nocid~
                                                      •StopAnnmglsrae-1
                                                      #Shutll0own4Palest1oe
                                                      J~lfromOealh
                                                      JA15
                                                      •EndTheSttge
                                                      •StopArminglstael
                                                      • BoeingAtmsGeoocide
                                                      tfREEPALESTINE
                                                         ' t 1.tw

                                                      subtextreadnothingnew Such ,mportant conn« hons to bring
                                                      toattentton!




                                                        .
                                                      , ....,
                                                      s.amntalYo • •



                                                      un~1111 Hetoes




                                      122
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 123 of 181 PageID #:162




                                                      chiugodissenters • UPDATE • On MONDAY 40 Chicagoans
                                                      were arre-s:ted after blocking the entrance to O'H&tt International
                                                      Airpon for 1 hour and 20 minutes. Most indrviduals wefe
                                                      det.l1ned for at k:,,)st 12 hours, olnd wme up 18 hour$, The
                                                      sign,h(ance of the srte of a(1Ion e:annot be .gnored, fOI the role
                                                      that both BM1ng and the U.S g~m~nt play m the ~nae.de
                                                      of Palestinians

                                                      While protesto.-s at O'Hare have been reteased, comrades at
                                                      MIOther acbon that took place on Monday are still bemg llekt
                                                      follow along at Ouspe:n !or updates, demand$. and ways to
                                                      support.

                                                      •StopArm1~nocide
                                                      •Stop.ArmingIsrael
                                                      #Sh1,1tlt0own4Palest1oe
                                                      •~1FromOeath
                                                      •AlS
                                                      •EndlhtSttge
                                                      •StopArm,nglsrael
                                                      •8oe1ngtvm~ide
                                                      •fRUPA.LESTlNE
                                                                J ,...


                                                      subtextreadnothingnew Such important connections to bring
                                                      to attenttonl
                                                      llw •lilta         lttply


                                                      samntalYo • •
                                                      1 >w Reply


                                                      zenem1111 tit-roes




                                                      chicagodi$sente1' • UPDATE • On MONDAY 40 Chicagoans
                                                      were arresud after blocking the entrance to O'tiare In1em.at,onal
                                                      Airport for 1 hour and 20 minutes Most indiV'i du.ls wefe
                                                      detained for at ~an 12 hours., and wme up 18 hours. The
                                                      sigrnh(ance of the srte of a(1Ion unnot be .gnored, fo, the role
                                                      that both Boeing and the U.S g~mrT!f"nt play m the genocide
                                                      of Palestinians.

                                                      Whtie protes:to.-s: at o·Hare h.tve been reteased, comrades at
                                                      oilflother acttOn th,itt toot place on Monday ,ue stall betng held
                                                      follow along at @uspcn for updates, demand$, aod ways to
                                                      support.

                                                      •StopArm1ngGtnocide
                                                      •StopArm1nglsrael
                                                      t1Sh1.1tl10own4Palestme
                                                      t10rvn1FromOeoi1th
                                                      •A15
                                                      •EndTheStegt
                                                      •StopArmmglsrael
                                                      # BoetngtvmsGeoocide
                                                      #FREEPAl.£STINE
                                                            "',...
                                                      subtextreadnothingnew Such NTlportant connections to bring
                                                      toattentt0nl
                                                      11w •11kfl;        lttpl)'


                                                      wmntalYo           e•
                                                      1., ...    ~ply

                                                      ztnffl111111-leroes




                                      123
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 124 of 181 PageID #:163



                                                    •
                                                   ~ ~ff: arrested aher blocking tht eouance to O'Ha,e ln1ffi\at10nal
                                                          chicagodissenters • UPDATE • On MONDAY 40 ChicllgOclns

                                                          Airpo« for 1 hour and 20 minutes Most individuals v,,ere
                                                          det;1ined lor al teas, 12 hour}. and wme up 18 houn; Tile
                                                          sig™hcance of the srte of action cannot be tgnored, fQf the role

       Boeing and the U.S. government                     t h.at both Boeing and the U.S g~mment play 1n the genocide-
                                                          of Pa1Mt1n1ans

         must be held accountable for                     While protestOt'S at O'Hare have been re5eased, comradts , 1
                                                          another .x:oon that toot place on Monday are solt being lleld

       their historic role in the genocide                Follow along a t Ouspcn for updates, demands. and ways to
                                                          support.

        and occupation of Palestinians.                   •StopArmmgGenocide
                                                          • StopArmmglsrael
                                                          #S,,1,1tl t0own4P11ln t 1ne
                                                          #OrvesffromOeath
                                                          M lS
                                                          •EndTht~
                                                          •s.top.Arm1nglsrael
                                                          #BoetngAlms~ nocide
                                                          #FREEPALESTlNE
                                                          (   I'd 1,tw


                                                          subtextreadnothingMw Such important connKllOOS to bring            Q
                                                          t oatteottonl
                                                          llw 4 1,kn Reply


                                                          u mntatvo      e•
                                                          lh¥   Reply


                                                          zenttn1111 Heroes


                                                                VJ




                                      124
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 125 of 181 PageID #:164




                          EXHIBIT 35




                                      125
              Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 126 of 181 PageID #:165
Pro-Palestinian Demonstrators Shut Down Airport Highways and Key Bridges in Major US Cities   about:reader?w-l=https%3A%2F%2Fwww.usnews.com%2Fnews%2Fbest-states%2Fi11inois% ..




                                       usnews.com



                                       Pro-Palestinian Demonstrators Shut
                                       Down Airport Highways and Key
                                       Bridges in Major US Cities
                                       Elliott Davis Jr.May 7, 2024

                                       5-6 minutes




I of7                                                                                                                                                         5/17/2024, 1:01 PY!




                                                                                        126
              Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 127 of 181 PageID #:166
Pro-Palestinian Demonstrators Shut Down Airport Highways and Key Bridges in Maj or US Cities   aboutreaderlur1-https%3A%2F%2Fwww.usnews.com%2Fnews%2Fbest-states%2Fi11inois%.




                                            Nam Y. Huh

                                       A passenger walks on the highway as he carries his luggage to at
                                        O'Hare International Airport in Chicago, Monday, April 15, 2024.
                                        Pro-Palestinian demonstrators blocked a freeway leading to three
                                        Chicago O'Hare International Airport terminals Monday morning,
                                       tern porarily stopping vehicle traffic into one of the nation's busiest
                                        airports and causing headaches for travelers. (AP Photo/Nam Y.
                                        Huh)

                                        CHICAGO (AP) -               Pro-Palestinian demonstrators blocked


2 of7                                                                                                                                                        5/17/2024, 101 PM




                                                                                         127
              Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 128 of 181 PageID #:167
Pro-Palestinian Demonstrators Shut Down Airport Highways and Key Bridges in Major US Cities   about:reader?ur)~https%3A%2F%2Fwww.usnews.com%2Fnews%2Fbest-states%2Fillinois% ...



                                       roadways in Illinois, California, New York and the Pacific Northwest
                                       on Monday, temporarily shutting down travel into some of the
                                       nation's most heavily used airports, onto the Golden Gate and
                                       Brooklyn bridges and on a busy West Coast highway.

                                       In Chicago, protesters linked arms and blocked lanes of Interstate
                                       190 leading into O'Hare International Airport around 7 a.m. in a
                                       demonstration they said was part of a global "economic blockade to
                                       free Palestine," according to Rifqa Falaneh, one of the organizers.

                                       Traffic in the San Francisco Bay Area was snarled for hours as
                                       demonstrators shut down all vehicle, pedestrian and bike traffic on
                                       the Golden Gate Bridge and chained themselves to 55-gallon
                                       drums filled with cement across Interstate 880 in Oakland.
                                       Protesters marching into Brooklyn blocked Manhattan-bound traffic
                                       on the Brooklyn Bridge. In Eugene, Oregon , protesters blocked
                                       Interstate 5, shutting down traffic on the major highway for about 45
                                       minutes.

                                       Protesters say they chose O'Hare in part because it is one of the
                                       largest airports. Among other things, they've called for an
                                       immediate cease-fire in the war between Israel and Hamas.

                                       Anti- war protesters have demonstrated in Chicago near daily since
                                       Hamas' Oct. 7 attack on southern Israel that killed around 1,200


3 of7                                                                                                                                                          5/17/2024, 101 PM




                                                                                        128
              Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 129 of 181 PageID #:168
Pro-Palestinian Demonstrators Shut Down Airport Highways and Key Bridges in Major US Cities   about:reader?ur)~https%3A%2F%2Fwww.usnews.com%2Fnews%2Fbest-states%2Fillinois% ...



                                       people. Israeli warplanes and ground troops have since conducted
                                       a scorched-earth campaign on the Gaza Strip.

                                       The Israeli offensive has killed more than 33,700 Palestinians,
                                       according to the Gaza health ministry. The ministry does not
                                       differentiate between civilians and combatants in its count but says
                                       women and children make up two-thirds of the dead.

                                       O'Hare warned travelers on the social platform X to take alternative
                                       forms of transportation with car travel "substantially delayed this
                                       morning due to protest activity."

                                       Some travelers stuck in standstill traffic left their cars and walked
                                       the final leg to the airport along the freeway, trailing their luggage
                                       behind them.

                                       Among them was Madeline Hannan from suburban Chicago. She
                                       was headed to O'Hare for a work trip to Florida when her and her
                                       husband's car ended up stalled for 20 minutes. She got out and
                                       "both ran and speed walked" more than a mile (1.6 kilometers). She
                                       said she made it to the gate on time, but barely.

                                       "This was an inconvenience," she said in a telephone interview
                                       from Florida. "But in the grand scheme of things going on overseas,
                                       it's a minor inconvenience."



4 of7                                                                                                                                                          5/17/2024, 101 PM




                                                                                        129
              Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 130 of 181 PageID #:169
Pro-Palestinian Demonstrators Shut Down Airport Highways and Key Bridges in Major US Cities   about:reader?ur)~https%3A%2F%2Fwww.usnews.com%2Fnews%2Fbest-states%2Fillinois% ...



                                       While individual travelers may have been affected, operations at the
                                       airport appeared near normal with delays of under 15 minutes,
                                       according to the Chicago Department of Aviation.

                                       Inbound traffic toward O'Hare resumed around 9 a.m.

                                       Near Seattle, the Washington State Department of Transportation
                                       said a demonstration closed the main road to Seattle-Tacoma
                                       International Airport. Social media posts showed people holding a
                                       banner and waving Palestinian flags while standing on the highway,
                                       which reopened about three hours later.

                                       About 20 protesters were arrested at the Golden Gate Bridge
                                       demonstration and traffic resumed shortly after noon, according to
                                       the California Highway Patrol. The agency said officers were
                                       making arrests at two points on the interstate, including one spot
                                       where roughly 300 protesters refused orders to disperse,

                                       "Attempting to block or shut down a freeway or state highway to
                                       protest is unlawful, dangerous, and prevents motorists from safely
                                       reaching their destinations," the agency said in a statement.

                                       Oregon State Police said 52 protestors were were arrested for
                                       disorderly conduct following the Interstate 5 protest in Eugene,
                                       Oregon, about 110 miles (177 kilometers) south of Portland. Six



5 of7                                                                                                                                                          5/17/2024, 101 PM




                                                                                        130
              Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 131 of 181 PageID #:170
Pro-Palestinian Demonstrators Shut Down Airport Highways and Key Bridges in Major US Cities   about:reader?ur)~https%3A%2F%2Fwww.usnews.com%2Fnews%2Fbest-states%2Fillinois% ...



                                       vehicles were towed from the scene.

                                       New York Police made numerous arrests, saying 150 protesters
                                       were initially involved in the march around 3: 15 p.m., but that
                                       number quickly grew. The bridge was fully reopened by 5 p.m.

                                       In Chicago, dozens of protesters were arrested, according to
                                       Falaneh. Chicago police said Monday that "multiple people" were
                                       taken into custody after a protest where people obstructed traffic,
                                       but they did not have a detailed count.



                                       Associated Press writers Janie Har in San Francisco, Claire Rush
                                       in Portland, Oregon; Pat Eaton-Robb in Hartford, Connecticut and
                                       Audrey McAvoy in Honolulu contributed to this report.

                                       Copyright 2024 The Associated Press . All rights reserved. This
                                       material may not be published, broadcast, rewritten or redistributed.

                                       Photos You Should See - May 2024




6 of7                                                                                                                                                          5/17/2024, 101 PM




                                                                                        131
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 132 of 181 PageID #:171




                          EXHIBIT 36




                                      132
   Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 133 of 181 PageID #:172




                        Rifqa Falaneh, Michael Ratner
                        Justice Fellow
                        Rifqa Falaneh is the Michael Ratner Justice Fellow at Palestine
                        Legal where she challenges the censorship, surveillance, and
                        suppression of advocates for Palestinian liberation.

                        Rifqa graduated from the University of Illinois (UIUC) College of
                        Law in 2023. She is the founder of Bar None at UIUC Law, a civil
                        rights organization dedicated to uplifting the legal struggles of
marginalized communities. She also served as the Diversity, Equity, and Inclusion officer
for the Student Bar Association where she surveyed and published a report on the
experiences of diverse students at UIUC Law.

In the summer of 2022, Rifqa was an Ella Baker intern at the Center for Constitutional
Rights where she worked on Palestine solidarity cases, Freedom of Information Act (FOIA)
requests, and research on aiding and abetting a tort in New York for international crimes.
She previously worked in the Emergency Services Division at Ascend Justice, where she
assisted domestic violence survivors in obtaining emergency orders of protection. Rifqa
has also represented parents and children in juvenile abuse and neglect cases as an
Advanced Clinic Student at the UI UC Family Advocacy Clinic.

Most recently, Rifqa interned in Technology and Policy Accountability at Just Futures Law
where she did litigation work on police involvement in federal immigration enforcement
and the fast-developing field of technology-driven immigration enforcement.

Born and raised in Chicago, IL and originally from the Palestinian villages of Saffa and Lifta,
Rifqa has been organizing for Palestine on university campuses for 7 years. She previously
served as President of SJP DePaul and helped re-establish SJP Chicago in 2019.




                                             133
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 134 of 181 PageID #:173




                          EXHIBIT 37




                                      134
              Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 135 of 181 PageID #:174




q~                                                                                                                                                    Jlnanchehade • Follow


                                                                                                                                                      jinanchehade 15w                                              •
(,\)   Hom e                                                                                                                                   •      Yesterday, on tax day. 40 protestors
                                                                                                                                                      including myself were arrested while
                                                                                                                                                      shutting down O'Hare International
                                                                                                                                                                                                                    I
                                                                                                                                                      airport as part of the wortd-wide call to
Q Search                                                                                                                                              disrupt Boeing operations and demand
                                                                                                                                                      an end to U.S. government's arming of
                                                                                                                                                      the Israeli regime.
© Explore
                                                                                                                                                      CPO's abuse and violations throughout
                                                                                                                                                      over 15 hours of detenuon is a
® Reels                                                                                                                                               reflection that the police do not serve
                                                                                                                                                      the people, but function to ma1ma1n

e Messages                                                                                                                                            U.S. empire and its agenda. Their
                                                                                                                                                      violent crackdown on actions and
                                                                                                                                                      protests yesterday ,s because these
                                                                                                                                                      protest are working - we are winning.
Q      Notifications
                                                                                                                                                      As a lawyer people alwaY5 ask me how
                                                                                                                                                      rnu ..+i I ~"" uJill,nl"I t l"I rid• f,.., I:~,~ . t ~o       •
(±) Create
                                                                                                                                                               '?/                                              ~
       Profile


       More                                                                                                                                            Add a comment...                                    Q



                              M ore Posts rrom Jlnanchehade




                                    BEING 0
                                     FOR PA




                            Meta   About   B~   Jobs   Help   API   Privacy   Consumef Heatth Privacy   Te-rmi   locahons    tnrtagrarn IJte       Threads    Contact Upk>ading & Non-Users              Meta Venfted

                                                                                          Engl,sh v     Cl 2024 lns~grarn frQm Metai




                                                                                   135
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 136 of 181 PageID #:175




                          EXHIBIT 38




                                      136
9/5/24, 1:42 PMCase: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24
                                                       Jinan Chehade – Page
                                                                       MLFA 137 of 181 PageID #:176

                                                      Donate

                                                                                                                                                  DONATE
                                                        WHO WE ARE         WHAT WE DO         LEGAL ISSUES         RESOURCES




                     JINAN CHEHADE
                       Civil Litigation Junior Staff Attorney



                          /Jinan Chehade


                     Jinan Chehade graduated from Georgetown University Law Center in 2023, building her experience in civil litigation
                     and advocacy along the way. Jinan worked at the Department of Justice Civil Rights Special Litigation Division while
                     attending Georgetown Law, and strategically analyzed cases on the intersection of policy and litigation. Jinan also
                     represented refugees seeking asylum through the Center for Applied Legal Studies, where she successfully litigated
                     and achieved asylum for her client. And as a legal intern at the Council on American Islamic Relations (CAIR), Jinan
                     honed her litigatory skills on issues of religious freedom in the workplace and in schools. Jinan also worked as an intern
                     at the American Civil Liberties Union (ACLU) on landmark cases of government accountability, free speech, and criminal
                     justice reform.
                                                                               137
https://mlfa.org/teams/jinan-chehade/                                                                                                                      1/3
9/5/24, 1:42 PMCase: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24
                                                       Jinan Chehade – Page
                                                                       MLFA 138 of 181 PageID #:177




                     Jinan also developed her leadership skills while doing all the above. At Georgetown Law, Jinan co-founded Law
                     Students for Justice in Palestine. She also served as president of the Muslim Law Students Association (MLSA) and
                     Program Chair of the National Muslims Law Students Association (NMLSA).


                     Prior to law school, Jinan studied Public Policy, Arabic, and Islamic World Studies at DePaul University. Born and raised
                     in the Bridgeview (Little Palestine) area of Chicagoland, Jinan credits much of her drive for civil rights to the sense of
                     purpose her community instilled in her at a young age. Jinan now has over eight years of experience organizing and
                     working for civil rights in the community and on campuses. Jinan founded a national non-profit campaign that raised
                     over $1,000,000 for humanitarian causes around the world, including Yemen, Rohingya, and also for asylum seekers.




                                                                                138
https://mlfa.org/teams/jinan-chehade/                                                                                                             2/3
9/5/24, 1:42 PMCase: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24
                                                       Jinan Chehade – Page
                                                                       MLFA 139 of 181 PageID #:178




                                                 Quick Links                        Contact Us


                                                 Home                                   Address
                                                                                        100 N. Central Expy,
        MLFA is a 501(c)(3) nonprofit            Our Story
                                                                                        Suite 1010 Richardson,
        organization (EIN: XX-XXXXXXX) with
        top rated standards of transparency                                             TX 75080
                                                 Our Mission
        and certified zakat eligible.
                                                                                        Email
                                                 Our Cases
                                                                                        info@mlfa.org
                                                 Apply for Help
                                                                                        Phone

                                                 Resources                              (972) 331-9021



                                                 News & Commentary                               DONATE TODAY

                                                 Videos


                                                 Bookclub


                                                 List of issues


                                                 No Fly Lists


                                                 FBI Sting Ops.


                                                 SSSS/Watchlist


                                                 Denied/Delayed Immigration


                                                 FBI Informants



                                                       Search …




        Copyright © 2023 MLFA - All Rights Reserved




                                                                         139
https://mlfa.org/teams/jinan-chehade/                                                                            3/3
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 140 of 181 PageID #:179




                          EXHIBIT 39




                                      140
  Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 141 of 181 PageID #:180

~ ~ JEWISH
       VOICE!                 TAKE ACTION          THE WIRE      ABOUT          JOIN US                 CONTRIBUTE
~~ PEACE




                                                   NEWS FEED




    Every life is precious.      Media Roundup: To be         A brief guide to Israel's   Thousands march on

<   September 3, 2024            silent is to be
                                 complicit.
                                                              cultural genocide.
                                                              August 28, 2024
                                                                                          the DNC.
                                                                                          August 20, 2024
                                                                                                                     >
                                 August 28, 2024




                                                     • ••••••
                                                    READ MORE




                                                        141
    Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 142 of 181 PageID #:181




                                                                THE WIRE




                                  CAMPAIGNS
     Fight antisemitism, reject
              theADL.




<                                                                                      >


                                    Not On Our Dime          No Tech for Apartheid




                                    ALL CAMPAIGNS




                                          142
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 143 of 181 PageID #:182




   @ @                                                ~ff:
                                                                            0                           tj




 747,803                       83                  2.64m                    2.13m                    $60
Members & Supporters   Local Organizing Groups   Digital Actions Taken   Social Media Followers   Average Donation




                                                     JOIN US




                                                         143
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 144 of 181 PageID #:183




                          EXHIBIT 40




                                      144
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 145 of 181 PageID #:184




                                      145
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 146 of 181 PageID #:185




                          EXHIBIT 41




                                      146
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 147 of 181 PageID #:186

                                                                                  J<)ON     N<)M f      UCfHf f VfNU           "'"-"'Wf(><)   Wfhl1NfW$lf1'0   ~




                                     Jewish Voice for Peacc~Chicago organi1.cs for
                                    Human Rights and Equaliry for Palcsrinians and
                                                      All People
                                  kw1 h Voi<.e for PeAce-Chiu~•o if J hnn~h of the n.:ili<>nal Of);Jni1.11ion
                                  Jtwbh Vo...e fur l'c:a,cc. We are l).Jrt of• j:1,>h..J movemror Je111J11J in1t Jn
                                  en..l m !s,,..;l'I oc..:up.lti<'ll nf fh~ \\'~r \\..ink a,1J hl<Kb,k <ill (;11~
                                  ..qu~lif~• fur P..Jt-,riniJI! ,itil<'.11> ut" l.r.M,la and lh., im1,lerllent.,1iun ol ch,·
                                  right> uf P.i.leS!ini an refu~=~ w remrn 1u 1he home,, .mJ prupeni..,, from
                                  whid, the~ lu,e b.,en di>rl,-.-.1 1in~e ]') 18

                                  J,.,.i,h Voi<, for l't-~,.-oppo><.,1,11i Mu,lim, ~"" Anh. aMi Bl.~1-.. anri
                                  imm1t1r•m. mti-LGBTQIA. mli wunun and •mi Pen<m uf<...olor
                                  b,gotr,,· anJ >!ate violenc·e


                                  Alw tNJ [\'P's An•=h to Lioni>rn 10 darih whne we •t~nd. Thi, will
                                  L..- 1he ,.,hju«.1 o/ mu,h tho<.,ght pro,x,IJni; di..._u.,ion


                                          Help Support O ur Chapter through your
                                                        Donations
                                                              GET INVOLVED!
                       TO SIGN U P FOR M A ILI NGS FROM THE CHAPTER AN D NATIONAL, GO TO THE
                                                     NATIONAL !'ACE




                                                                        147
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 148 of 181 PageID #:187




                                      148
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 149 of 181 PageID #:188




                          EXHIBIT 42




                                      149
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 150 of 181 PageID #:189

                                              (;i';;\ jvpchicago • Follow
                                              ~ O'H,1nlnlffn.itionalMport


                                                      jvpchk.lgo BREAKING: As part of the #A 1SForPalestme
                                                      mt«nallonal day of action, protesters shut down traffic mto thrtt
                                                      O'Hare international airport terminals for two hours this
                                                      mommg! No business as usual during a genocide!
                                                      #CeaseF1reNow •FreePalest1ne roayOfAction

                                                      @chKagodissenters @sJpchKago @alSacllons
                                                      @d1rectactionS4pales11ne
                                                      [d,t~    .......



                                                      rodentfairy I feel like this would only make ppl look at the
                                                      protesls and situation 1n gaza m a ~alive light. anti-oil
                                                      protestors did s1mil11r 1hmgs and it JUSt caused ppl to hate
                                                      them because they were inconvfflH!ncing 1he gerlffal publK 1s
                                                      th,s not JUU causing possible financial harm to regular people
                                                      and makmg them hate the protr,stors?
                                                      14,., 81iUs

                                                               v-~t6l



                                                      14w 41,kes


                                                      nedineyveltre Heck ytah!      • •    •
                                                      u,.,    Slikes


                                                      pimtiaboob Man making ordinary people miss their flights is
                                                      of s1gn11kant monetary loss to those ordinary people and no
                                                      one ehe
                                                      14w lliUs




                                                      jvpchk.190 BREAKING: As part of the #A I SForPalest1ne
                                                      international day of action, protesters shut down traffic mto thrtt
                                                      O'Hare international airport terminals for two hours this
                                                      morn,ng! No business as usual during a genocides
                                                      #CeaseF1reNow aFreePalest1ne •OayOfAct1on

                                                      @ch1<agod1ssenters @sJpchKago @alSactions
                                                      @d1rectactionS4pale-st,ne
                                                      [d,t~    14w


                                                      rodentfairy I feel like this would only make ppl look at the
                                                      protests and s1tuat1on 1n gaza 1n a ~ative light. ant1-oil
                                                      protesters did similar things and 1t JUSt caused ppl to hate
                                                      them beuuse they were inconvernencing the ge-neul public. 1s
                                                      this not Just causing possible financial harm to regular people
                                                      and mak,ng 1hem hate the pro1es1ors?
                                                      14.w 81,kes




                                                      nedineywltre Heck yeah! e •      • •

                                                      pimtiaboob Man making ordinary people miss their flights is           0
                                                      of s1grnlkant monetary loss to those ordinary people and no
                                                      one else
                                                      14,., l~Us




                                      150
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 151 of 181 PageID #:190



                                                 jvpchk.lgo BREAKING: As part of the #A1SForPalestme
                                                 mt«nallonal day of action, protesters shut down traffic mto thrtt
                                                 O'Hare international airport terminals for two hours this
                                                 mommg! No business as usual during a genocide!
                                                 #CeaseFireNow • FreePalest1ne roayOfActlon

                                                 @chKagodissenters @sJpchKago @alSacllons
                                                 @d1rectactionS4palest,ne
                                                 [d,t~    .......



                                                 rodentfairy I feel like this would only make ppl look at the
                                                 protesls and situation In gaza ma ~alive light. anti-oil
                                                 protestors did s1mil11r 1hmgs and it JUSt caused ppl to hate
                                                 them because they were inconvmH!ndng 1he gerlffal publK Is
                                                 th,s not JUSt causing possible financial harm to regular people
                                                 and makmg them hate the prote,sto rs?
                                                 14,.,   lliUs

                                                          v-~t6l



                                                 14w     4 hkH


                                                 nedineyveltre Heck ytah!      • •    •
                                                 14,., SlikH


                                                 pimtiaboob Man making ordinary people miss their flights is
                                                 of s1gn11kant monetary loss to those ordinary people and no
                                                 one ehe
                                                 14w     lliUs




                                                 jvpchk.lgo BREAKING: As part of the #A I SForPalest1ne
                                                 international day of action, protesters shut down traffic mto thrtt
                                                 O'Hare international airport terminals for two hours this
                                                 mornmg! No business as usual during a genocides
                                                  #CeaseF1reNow aFreePalest1ne •OayOfAct1on

                                                 @chKagod1ssenters @sJpchKago @alSactions
                                                 @d1rectactionS4pale-st,ne
                                                 [d,t~    , .....



                                                 rodentfairy I feel like this would only make ppl look at the
                                                 protests and sItuatIon In gaza In a ~ative light. ant1-oil
                                                 protesters did similar things and It JUSt caused ppl to hate
                                                 them because they were inconvm1encing the ge-ne-ral public. Is
                                                 this not Just causing possible financial harm to regular people
                                                 and mak,ng 1hem hate the pro1es1o rs?
                                                 14."' 11,kH

                                                          Viewl'tp!H(6)




                                                 nedineywltre Heck ytah! e •      • •

                                                 pimtiaboob Man malong ordinary people miss their flights is           0
                                                 of s19rnlkant monetary loss to those- ordinary people and no
                                                 one else
                                                 14,.,   lliUs




                                      151
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 152 of 181 PageID #:191

                                              (;i';;\ jvpchicago • Follow
              Qthicago <tribune               ~ O'H,1n lnlffn.tbonal Mport


                                                      jvpchk.lgo BREAKING: As part of t he #A 1SForPalcstmc
        ~ ----=~~-..-..-- ., --.,-- - - @             mt«natJonal day of action, protHters shut down traffic mto thrtt

         Protesters oc e                              O 'Hare mtematiorl<II airport terminals for two hours this
                                                      mommg! No business as usual during a genocide!
                                                      #Cea~ FireNow • FreePa!Mt1ne roayOfAction


         highway entering O'Hare                      @chKagodisse-nt ers @sJpchKago @alSactJons
                                                      @d1rectactionS4palestine


         airport
                                                      fd,t~     .......



                                                      rodentfairy I fttl like this would only make ppl look at the
                                                      prote-sts a nd s1tuat1on 1n gaza in a ~ alive light anti-oil
                                                      protH tors did s1mil11r thmgs and 11 JUSt caused ppl to hate
                                                      them because they were inconvfflH!ncing the gerlffal publK 1s
                                                      th,s not JUU causing possible financial harm to r~ular people
                                                      and makmg them hate the protr,sto rs?
                                                      14w 81,Us


                                                                v-~t6l



                                                      14w 41,kes


                                                      nedineyveltre Heck ytah!       •   •   •
                                                      Uw       Slikes


                                                      pimtiaboob Man making ordinary people miss their flights is
                                                      of s19n1fkant monetary l oss to those ordinary people and no
                                                      one ehe
                                                      14w llikts




                                                      jvpchic.ago BREAKING: As part of t he #A I SForPalest1ne
                                                      international day of action, protest ers shut down traffic mto thrtt
                                                      O 'Hare international airport terminals for two hours this
                                                      morn,ng! No business as usual during a 9enoctde1
                                                       #Ceas,eF1reNow #FretPalest1ne •OayOfAct1on

                                                      @ch1eagochssent ers @sJpchicago @alSactions
                                                      @d1re<tact10nS4pale-st,ne
                                                      [d,ttd    14w


                                                      rodentfairy I fttl like thi s would only make ppl look at the
                                                      protests and s1tuat1on 1n gaza 1n a negative light. ant1•oil
                                                      protestors did similar things and 11 JUSt caused ppl to hate
                                                      them be<::;,use t hey were inconvernencing the ge-neral public. 1s
                                                      this not Just causing possible financial harm l o regular people
                                                      and mak,ng 1hem hate the protesto rs?
                                                      U,w   11,ku




                                                      nedineyveltre Heck yeah!    e• • •

                                                      pimtiaboob Man malong ordinary people miss their flights is            0
                                                      of s19rnfkant monetary l oss to those- ordinary people and no
                                                      one else
                                                      14w llihs




                                      152
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 153 of 181 PageID #:192




                          EXHIBIT 43




                                      153
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 154 of 181 PageID #:193




      54 arrested after protest blocks 1-190 near
      Chicago O'Hare Airport, Loop march stops
      traffic




      Dozens were arrested after pro-Palestinian protesters blocked the roadway entering into Terminal 1 at
      O'Hare and later halted traffic downtown.

      CHICAGO (WLS) --Dozens were arrested Monday after pro-Palestinian protesters blocked the
      roadway entering into Terminal 1 at O'Hare Airport and Iater halted traffic downtown.

      Friends and supporters waited outside Area Five police headquarters later Monday for the 40 people
      arrested to be released.


      ABC7 a,icago is now streaming 24/7. Click here to watch
      Those arrested included 31 women and nine men, ages 19-43, according to Chicago police.

      At one point Monday morning, the pro-Palestinian protesters completely blocked access to Terminal 1
      at the airport, and they blocked all Ianes on westbound Interstate 190.

      Traffic came to a complete standstill right in the middle of rush hour at one of the busiest airports in
      the country. Chopper 7 flew above a miles-long backup for people heading into O'Hare.




                                                         154
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 155 of 181 PageID #:194


      "Enough is enough. The U.S. government has given us no choice but to disrupt business as usual,"
      Simone Tucker said.

      The demonstrators chose April 15 because it's tax day in the U.S. Their objective is to bring attention
      to the war in Gaza and support Palestinians.

      For hundreds of air travelers, however, the point of the protest was lost amid their frustration with
      trying to catch their flights.

      LIVE TRAFFIC: Check out the latest conditions on our live traffic map

      Several spoke as they got out and walked from the interstate to their terminals, luggage in hand.

      "I understand people have the freedom to do what they want, but, when it starts impacting me
      personally, it's kind of an issue," fmstrated traveler Mike said.

      One woman walked, carrying her child.

      "This is the last thing we wanna be doing," she said.




                                                        155
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 156 of 181 PageID #:195


      In Chicago, the protesters spent a few hours in a police vehicle, hands bound together with plastic ties,
      before being processed and released.

      "We made our point. We stood in solidarity with our comrades in Palestine, and we disrupted business
      as usual," Tucker said.

      Those arrested were expected to be released soon, and were charged with misdemeanors. They're due
      in court at a later date.

      On Monday afternoon, another pro-Palestinian protest happened downtown.

      "Injustice! Injustice all over the world. Everyone deserves to be free," said demonstrator Amna Hassan.

      Dozens were near Clark and Adams streets about 4:30 p.m. in the Loop. They said they would not
      move from the roadway until all of those arrested earlier Monday were released.

      As the large group carved a flag-led course through city streets, police cut them off at the pass,
      blocking protesters along Adams Street.

      "It's terrible the way the cops are blocking us off from marching. We haven't had this issue before.
      We're out here every weekend. This is the fist time they've reacted like this," said demonstrator Javiar
      Vinuela.

      Passionate calls for freedom devolved into chaos as police clashed with protesters and punches were
      thrown as the crowd shoved and wrestled in streets.

      Commuter traffic screeched to a halt along Wacker Drive, first for prayers and as demonstrators
      refused to cede the intersection at rush hour, officers seized their speakers and physical scuffles ensued.

      There appeared to be some heated exchanges between protesters and police, and some people were
      seen being taken away in handcuffs.

      By about 6 p.m., protesters had shut down Upper Wacker Drive in both directions at LaSalle Street.

      Police said 14 people were arrested during the Loop protest.

      Among other things, protesters have called for an immediate cease-fire in the war between Israel and
      Hamas.

      "Our families are dying. Our people are dying. Our families have been displaced multiple times," said
      Deanna Othman with American Muslims for Palestine Chicago. "We will not stop until there is a
      permanent, unconditional cease-fire, until the United States halts military funding to Israel."

      Anti-war protesters have demonstrated in Chicago near daily since Hamas' Oct. 7 attack on southern
      Israel that killed around 1,200 people. Israeli warplanes and ground troops have conducted a scorched-
      earth campaign on the Gaza Strip.

      The Israeli offensive has killed more than 33,700 Palestinians, according to the Gaza health ministry.
      The ministry does not differentiate between civilians and combatants in its count but says women and
      children make up two-thirds of the dead.

      Sarah van Loon, regional director of the American Jewish Committee (AJC) Chicago, said in a
      statement, "Whatever point these p rotesters were trying to make was lost on the thousands ofpeople
      massively inconvenienced by this woefully misguided demonstration. There is a time and p lace for




                                                        156
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 157 of 181 PageID #:196


      everything, including a ceasefire. That can happen in Gaza once Hamas releases all the hostages, lays
      down its arms, and is prevented from having a role determining the future ofGaza. Perhaps these
      protesters should direct their frustration at Hamas, for rejecting yet another proposal that could lead
      to a ceasefire. Performative charades like this do nothing to advance the cause ofpeace."

      While the Monday morning protest was going on, a United Airlines spokesperson said a flight from
      Chicago to Washington, "returned safely to Chicago, after a non-credible threat was found written on a
      lavatory mirror."

      The Chicago protests on Monday were some of dozens in several countries around the world.

      Pro-Palestinian protesters also shut down the Golden Gate Bridge Monday morning.

      There were similar protests in places like Philadelphia, San Antonio and Oregon.

      The Associated Press contributed to this report.




      Get ABC7 breaking news delivered to your in box

      Sign up for our breaking newsletter
      Email Address*


      Yes! I would like to receive the Breaking News Newsletter. By creating an account, you agree to our
      Te1ms of Use and acknowledge that you have read our Privacy Policy and US State Privacy Rights
      Notice.
      *Required Fields




                                                         157
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 158 of 181 PageID #:197




                          EXHIBIT 44




                                      158
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 159 of 181 PageID #:198



                                                            fa,            .,,                      cr..1            .e.
                                                            Home
                                                                           ••
                                                                     My Network       Jobs       Messaging      Notificat ions   For Business ,..




                                                                                                            #WtTogether




                     Simone Pass Tucker (They/Them) · 3rd
                     Organizer versed in relational communications and political strategy

                 •   ~~;:.i Jewish Vo ice for Peace

                 • .          Willi am & Mary

                     Chicago, Illinois, United States· Contact info
                     124 connecti ans

                       Message          (   + Follow) ~


                     About
                     I am passionate about equity, diversity, social}ustice, politics, international affairs,
                     urban planning, and law. Experience with politica l st rategy, cross-d epartmental
                     collaboration. commu nity and issue-based organizing, leadership development,
                     volunteer management. recruitment, data management, relationship builc .. see more




                     Featured

                       Link                                         Link                                          Link




                       In Falls Church, candidate wants             Letter Supporting F.C. Council                Washi
                       to make hometown more livable                Candidate Simone Pass Tucker                  Simo
                       Washington Jewish Week                       Falls Ch urch News-Press Online               h1sto




                     Activity
                     128 followers

                       Posts       ( Comments)

                     Simone Pass Tucker posted this • 2mo

                                    I'm so excited to announce that I have accepted a new position as
                                 4 Student Org anizer at Jewish Voice for Peace!

                     CCfl ,1                                                                          S comments




                                                                   159
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 160 of 181 PageID #:199



                                                      Show all posts ➔



                   Experience
                   ~►i= Student Organizer
                   "'t►'" ""' Jewish Voice for Peace • Full time
                            Apr 2024 - Present · 3 mos

                            ~ Leadership Development, Nonprofit Organizations and +2 skills



                            Public Relations Manager
                            Metro Area Modern Reproducf1ve Care· Part-time
                            Sep 2023 Prese11t • 10 mos
                            Washington, District of Columbia, United States• Remote

                            Social media content and brand identity creation and management, press
                            relations, Spanish translation

                            ~ Public Affairs, Online PR and +4 skills



                            Board Member
                            Charlene Eisenberg Reproductive Health Collaborative • Part-time
                            Feb 2023 - Present • 1 yr 5 mos
                            Washington, DC Hybrid

                            Fundraising, planning and attending events, recruitment, advocacy for
                            abortion and gender-affi rming care, engagement of d o nors and public...


                            ~ Community Engagement, Policy Advocacy and +6 skills



                            Field Director
                            Community for Kina Collins • Part-time
                            Nov 2023 Mar 2024 • S mos
                            Chicago, Illinois, United States • Remote

                            Co-director of field strategy and operations for prog ressive candidate for
                            Illinois· 7th Congressional district

                            ~ Field Coordination, Relational Organizing and +4 skills



                   ~ Steward
                   "~:'.'.'.f Nonprofit Professional Employees Union · Full-time
                            Mar 2023 - Dec 2023 • 10 mos

                            Elected to the Nonprofit Professional Employees Union, Local 70 of the
                            International Federation of Professiona l and Technical Engineers, AFL CIO....

                            ~ Negotiation, Teamwork and + 2 skills



                                                Show all 12 experiences ➔



                   Education
                   ■ William & Mary
                            Sociology
                            2018 2020
                            Activities and societies: J Street U, Students for Justice in Palestine, Sunrise
                            Movement


                            ~ Legal Research, Skilled Multi-tasker and +13 skills



                   ■ North Carolina State University
                            Political Science and Government
                            2016 - 2018
                            Activities and societies: Founding member and Preside nt of Arabic Club,
                            AMTA Mock Trial, Senator for Student Government 97th session, ...see more

                            Transferred to The College of Wi lliam and Mary in 2018




                                                             160
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 161 of 181 PageID #:200



                             ~ Legal Research, Skilled Multi-tasker and +12 skills




                   Volunteering
                             Member
                             lfNotNow
                             Jul 2022 Present • 2 yrs
                             Human Rights

                             Pa rticipati ng member and volunteer with the Chicago chapte r


                             'Let Our People Know' Trip Participant
                             J Street U
                             Jun 2019 • 1 mo
                             Politics

                             A 10-day, one-time pol"1tical and human-rights. centered trip to Israel-
                             Palestine for college students. We met witl1 Knesset members, Pl ...see more

                                          Show all 10 volunteer experiences ➔



                   Skills
                   Training
                   J():W Student Organizer at Jewish Voice for Peace



                   Data Management

                                                    Show all 52 skills ➔



                   Publications
                   What I saw after Israel's highlight reel
                   Washington Jewish Week •Ju I 31, 2019

                   ( Show publication rl1 )


                   We Went To See The Occupation. We Came Back More Connected To
                   Israel.
                   The Forward· Jul 24, 2019

                   ( Show publication rl1 )

                   Other aut hors




                                                 Show all 4 publications ➔



                   Languages
                   Arabic- Palestinian Dialect
                   Limited working proficiency


                   Modern Standard Arabic
                   Limited working proficiency


                                                 Show all 3 languages ➔



                   Interests




                                                            161
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 162 of 181 PageID #:201




                          EXHIBIT 45




                                      162
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 163 of 181 PageID #:202

             l ll lllnat




           Dissenters is leading a new generation of
          young people to reclaim our resources from
             the war industry, reinvest in life-giving
         services, and repair collaborative relationships
          with the earth and people around the world.
                                     4@411·-




         DISSENTERS                                               @ ,,.   ll

                                      163
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 164 of 181 PageID #:203




                          EXHIBIT 46




                                      164
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 165 of 181 PageID #:204




                                      165
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 166 of 181 PageID #:205




                                      166
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 167 of 181 PageID #:206




                          EXHIBIT 47




                                      167
   Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 168 of 181 PageID #:207

~ Dissenters , 0
~ @wearedissenters
UPDATE: All 40 prot esters arrested have been released~

This was possible because of our community who consistently cal led
and advocated for their release. #WeKeepUsSafe

 ~
 ~Dissenters ,       0 @wearedissenters • Apr 15
 BREAKING: Organizers are blockading the road entering O' Hare Airport in
 Chicago I I I I

 NO business as usual while the US green lights the genocide of Palestinians X




1:33 PM • Apr 16, 2024 • 45.SK Views


Q s3                ti. 298              0 913
                                         168
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 169 of 181 PageID #:208




                                      169
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 170 of 181 PageID #:209




                          EXHIBIT 48




                                      170
    Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 171 of 181 PageID #:210




                                                  Collaborators

                           9           chicagodissenters
                            ;::::::.,~ Chicago Dissenters C.
                                                                              11;;,4
                                                                              __ ,. -


                           •         directactions4palestine                  1¥ii•M
                                                                              1¥ii·M




                                                                      ~ chicagodissenters and 3 others

     ~rL ~~@ffl~M                                                             -     View replies (3)




        m lL~rn@                                                  0           richienough •
                                                                              16w 2 likes Reply
                                                                                                  •   6


                                                                              shannon_sullivan0728 •      •   •   Q

     ALL 40 PROTESTERS                                                        16w 1 like Reply



    ARRESTED AT O'HARE                                            -           edgewatermutualaid
                                                                              16w 1 like Reply

    HAVE BEEN RELEASED.                                                   ~   ashleymska • • • • • • • • •        Q
                                                                              16w 1 like Reply


     THANK YOU TO OUR                                                 •
                                                                          -
                                                                              jjvagabond •
                                                                              16w 1 like Reply
                                                                                              "       e
      COMMUNITY FOR
     YOUR SUPPORT, WE                                                 Q       O 1"
       KEEP US SAFE!                                                  5,269 likes
                                                                      April 16



e                                                                     Q Add a comment...




                                                       171
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 172 of 181 PageID #:211




                          EXHIBIT 49




                                      172
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 173 of 181 PageID #:212




                                 directactions4pa1estine
                                 Direct Actions for Palestine




                                 remikanazi



                                 a15actio ns




                                                            directact ions4palest ine and 4 others
                                                            Macklemore • HINO'S HALL




                                                     •      directactions4palestine a BREAKI NG: CHICAGO ACTIVISTS
                                                            have disrupted NASCAR for 40 minutes by locking themselves on
                                                            t he fence. Act iv ists demand not only a ceasefire, but for Illinois to
                                                            divest from genocide and prisons.
                                                            8w


                                                            danielle.doporto If t his causes even just one person to become            0
                                                            curious about the issues being protested and beg in their
                                                            learning & unlearning j ourney, it is wort h it 9
                                                            8w 105 likes    Reply


                                                            k5chaz Yessss, I love th is!!!   PS

                                                            8w 16 likes Reply

                                                                -   View replies {1)


                                                            j aysherrie Well done comrades!! PSPS .,.
                                                            8w 88 likes Reply

                                                                -   View replies (1)


                                                            le.c.ea Let's gooo! l!
                                                            8w 32 likes Reply


                                                            myby03 Keep the pressure up ·• • ·• well done to all
                                                            protesters around the world you are a real ummah Q g g

                                                     Q QV
                                                     Liked by docarnot and others




                                                     Q Add a comment...


                                               173
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 174 of 181 PageID #:213




                          EXHIBIT 50




                                      174
    Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 175 of 181 PageID #:214

•
T
     US CAMPAIGN FOR
     PALESTINIAN RIGHTS
                            ABOUT   RESOURCES   CAMPAIGNS   NETWORKS        GIVE     CONTACT      USCPR ACTION~        ~
                                                                                                                                      E+IM:IM




                                                      USCPR is a political home for all who believe that freedom for the

                          WHO                         Palestinian people is an integral part of achieving our collective Liberation
                                                      We provide resources and strategic support to the U.S.-based Palestine
                                                      so.1darity movement. channeling grassroots power into positive change in
                                                      US policy and public opinion. We work with local organizers and activists

                          WEARE                       policymakers. movement leaders. media, and advocacy organizations to
                                                      advance a nghts-based. accountability and justice-oriented framework
                                                      frcm the US to Palestine



                                                      EHME




                                                                  175
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 176 of 181 PageID #:215


U.S. MILITARY FUNDING TO ISRAEL MAP




                                                                     LEARN MORE




STAY UP TO DATE ON THE LATEST NEWS
                                                                                           NOT MY TAX DDllARS                    NOT MY TAX DOllARS



                                                                             I DON'T WANT MY                      DEAR CONGRESS,
                                      ~ US CAMPAIGN Fl                       TAX DOLLARS TO                      WHY ARE MY TAX
                                      ~ PALESTINIAN RU                       FUND GENOCIDE.                      DOLLARS FUNDING
                                                                                                                 A GENOCIDE?
                                                                                      STOP ARMING ISRAH NOW

                                                                                                                          STOP ARMING ISRAEL NOW


August 11, 2024                       May 23, 2024                         April 5, 2024                        M· ch 27, 2024
March on the DNC with us for a free   STATEMENT: Biden Should Oppose US    Stop Arming Israel: 5 Ways to Take   Your activist toolbox to stop arming
Palestine                             Sanctions on ICC                     Action for Tax Day                   Israel
READMORE          0                   READ MORE      0                     READ MORE         0                  READMORE           0

                                                                     READ MORE




                      GET INVOLVED AND
                      DISCOVER HOW
                      YOU CAN HELP
                      E!iHia:HF -=:a:1111

                                                                          176
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 177 of 181 PageID #:216



                     OUR IMPACT


                                  3.434 olive saplings planted in
                                  Palestine in 2021. thanks to
                                  1.134 donors and 20 peer-to-
                                  peer fundraisers




    --
    WAYS TO GIVE
    GIVE MONTHLY

    PLANT AN OLIVE TREE

    STOCK GIFTS

    BEQUESTS

    GIVE BY MAIL OR PHONE

    GIVENOW C)




                                              177
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 178 of 181 PageID #:217




                          EXHIBIT 51




                                      178
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 179 of 181 PageID #:218

        0 8 https://www.instagram.com/p/C5ok53eszqM/                                                              Isl *


                                                                                 uscpr • Follow



                                                                                 uscpr t, # STRIKE4GAZA SOCIAL M EDIA STORM t,

                                                                                 On this upcoming Tax Day, Monday, April 15 j oin the
                                                                                 #Strike4Gaza by flooding so cial media all day for Gaza.

                                                                                 Share t his graphic to let people know:

                                                                                 NO WORK
                                                                                 NO SCHOOL
                                                                                 NO SHOPPING
                                                                                 KEEP POSTING ABOUT PALESTINE

                                                                                 Until there is a permanent ceasefire and end to the occupation
                                                                                 NOW!

                                                                                 Find the toolkit and g raphics for the storm at uscpr.org/
                                                                                 Strike4Gaza o r at the link in bio.

                                                                                 KEASEFIRENOW # STOPARMINGISRAEL #STRIKE4GAZA




                                                                         1,750 likes

     USCPR.ORG/STRIKE4GAZA                                               April 11


                                                                         Q       dd c1 c rT' ent.




        0 8 https://www.instagram.com/p/C5yKHwPM9Mz/?img_index 5
                                                             0
                                                                                                                  Isl *


                                                                                 uscpr • Follow



                                                                                 uscpr t, #STRIKE4GAZA SOCIAL M EDIA STORM t,

                                                                                 Join t he HStrike4Gaza by flooding social media all day for Gaza.

                                                                                 Share and use these graphics to let people know how y ou will be




     I PLEDGE TO
                                                                                 striking today! Keep up the pressure until t here is a permanent
                                                                                 ceasefire and end to t he occupat ion NOW!

                                                                                 Find the toolkit and these graphics for t he storm at uscpr.o rg/
                                                                                 Strike4Gaza or at the link in bio.




   , STRIKE BY                                                                   #CEASEFIRENOW # STOPARMINGISRAEL HSTRIKE4GAZA
                                                                                 16w


                                                                                 mohamedalanqer •
                                                                                 1Sw Reply
                                                                                                       •   .,                                          Q


      P(U:,TESTIN6 ♦ t>l'Sl.tJFITINe.
                                                                         ~       noorieml From the river to the sea Palestine will be free.C           0


                                                                         o a 'i't'                                                                   l::;J


     STRIKE4GAZA.ORG
                                                                         4,413 likes
                                                                         April 1S


                                                                         Q       dd    corn ent




                                                                   179
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 180 of 181 PageID #:219




                          EXHIBIT 52




                                      180
Case: 1:24-cv-08209 Document #: 1-1 Filed: 09/09/24 Page 181 of 181 PageID #:220




                                               redhornwoman
                                                and 3 o thers

           SUPPORTA15ARRESTEES
           IN THE UNITED STATES                redhornwoman @a1 Sactions BREAKING: Pro-Palestinian activists
                                               have blockaded commerce in cities around the wor1d taking
                                               action to demand a free Palestine.

                                               Donate to t his support fund to 100+ support community
                                               m embers who have been ar rested in the U.S. for their solidarity
                                               w ith Palestine.

                                               These funds will be used for bail, legal defense, and support for
                                               defendants.

                                               fa 1 Sforpalestine
                                               6w


                                               thesanabelteam Please share our page and the work we have           Q
                                               been doing. Everyday our team is feeding many families in Gaza
                                               and need donations to sustain t hese efforts ••
                                               6w 1 lilce Reply




                                      181
